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                    EXHIBIT D
Case 6:20-cv-00831-RBD-GJK Document 110-4 Filed 10/01/20 Page 2 of 79 PageID 18545
                              Bruce Rosenzweig, M.D.

        1              IN THE UNITED STATES DISTRICT COURT
        2                     MIDDLE DISTRICT OF FLORIDA
        3                           ORLANDO DIVISION
        4

        5    RAEANN BAYLESS,                    )
        6                       Plaintiff,      )
        7            -vs-                       ) Case No.
        8    BOSTON SCIENTIFIC CORP.            ) 6:20-cv-00831-RBD-GHK
        9    and COLOPLAST CORP.,               )
       10                       Defendants. )
       11

       12                           August 17, 2020
       13              DEPOSITION OF BRUCE ROSENZWEIG, M.D.
       14

       15                   Remote oral deposition of
       16    BRUCE ROSENZWEIG, M.D., conducted at the location
       17    of the witness in Chicago, Illinois, commencing at
       18    9:04 a.m., on the above date, before CORINNE T.
       19    MARUT, C.S.R. No. 84-1968, Registered Professional
       20    Reporter, Certified Realtime Reporter and Notary
       21    Public.
       22

       23                     GOLKOW LITIGATION SERVICES

                       877.370.3377 ph / 917.591.5672 fax
       24                             deps@golkow.com

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                                           Bruce Rosenzweig, M.D.
                                                          Page 2                                                         Page 4
       1 APPEARANCES VIA VIDEOCONFERENCE:                             1           EXHIBITS
       2 ON BEHALF OF THE PLAINTIFF AND THE DEPONENT:                 2 ROSENZWEIG DEPOSITION EXHIBIT              MARKED FOR ID
       3   SCHLESINGER LAW OFFICES, P.A.                              3 No. 8 Consent Form, "Informed          124
           1212 S.E. 3rd Avenue                                               Consent and Request for Repair
                                                                      4       of Relaxation of Pelvic Organs
       4   Fort Lauderdale, FL 33316                                          and/or Urinary Incontinence";
           954-467-8800                                               5       COL-RBAYLESS-ORLANDO-000021
       5   BY: JEFFREY L. HABERMAN, ESQ.                                      and 000022
              jhaberman@schlesingerlaw.com                            6
       6                                                                No. 9 8/9/13 Operative Report;       134
       7                                                              7       COL PLTF 000066 RBAYLESS -
                                                                              COL PLTF 000070 RBAYLESS
       8 ON BEHALF OF DEFENDANT BOSTON SCIENTIFIC CORP.:              8
       9   FAEGRE DRINKER BIDDLE & REATH LLP                            No. 10 9/24/13 medical record;        140
           2200 Wells Fargo Center                                    9       COL-RBAYLESS-ORLANDO-000013 -
      10   90 South 7th Street                                                000015
           Minneapolis, Minnesota 55402                              10
      11   612-766-7000                                                 No. 11 3/7/14 medical record;        158
                                                                     11       COL PLTF 000019 RBAYLESS -
           BY: DANIEL J. CONNOLLY, ESQ.                                       COL PLTF 000022 RBAYLESS
      12      daniel.connolly@faegredrinker.com                      12
      13                                                                No. 12 7/24/14 medical record;        166
      14 ON BEHALF OF DEFENDANT COLOPLAST CORP.                      13       COL PLTF 000008 RBAYLESS -
      15   KING & SPALDING LLP                                                COL PLTF 000011 RBAYLESS
           1180 Peachtree Street, NE, Suite 1600                     14
                                                                        No. 13 9/5/14 medical record;        173
      16   Atlanta, Georgia 30309                                    15       COL PLTF 000376 RBAYLESS -
           404-572-4600                                                       COL PLTF 000379 RBAYLESS
      17   BY: W. RAY PERSONS, ESQ.                                  16
              rpersons@kslaw.com                                        No. 14 5/22/15 medical record;        185
      18                                                             17       COL PLTF 000014 RBAYLESS -
                 -and-                                                        COL PLTF 000017 RBAYLESS
                                                                     18
      19                                                                No. 15 6/11/15 medical record;        187
           KING & SPALDING LLP                                       19       COL PLTF 000244 RBAYLESS -
      20   500 West 2nd Street, Suite 1800                                    COL PLTF 000250 RBAYLESS
           Austin, Texas 78701                                       20
      21   512-457-2000                                                 No. 16 6/18/15 "Cumulative Discharge      199
           BY: ZACHARY C. BURNETT, ESQ.                              21       Summary Report";
              zburnett@kslaw.com                                              COL PLTF 000270 RBAYLESS
      22                                                             22
      23                                                             23
      24 REPORTED BY: CORINNE T. MARUT, C.S.R. No. 84-1968           24

                                                          Page 3                                                           Page 5
       1            INDEX                                             1       MR. PERSONS: This is a virtual deposition
       2 BRUCE ROSENZWEIG, M.D.               EXAMINATION
       3   BY MR. PERSONS................ 9
                                                                      2   taken in accordance with Federal Rules of Civil
           BY MR. CONNOLLY............... 249                         3   Procedure, specifically Rule 30.
       4   BY MR. HABERMAN............... 301
       5
                                                                      4           The deponent, Court Reporter, Counsel
       6                                                              5   examining the deponent and Counsel representing the
       7          EXHIBITS                                            6   deponent shall be visible to all participants and
       8 ROSENZWEIG DEPOSITION EXHIBIT               MARKED FOR ID
       9 No. 1 5/7/12 medical record;         58                      7   their statements shall be audible to all
              COL PLTF 000460 RBAYLESS -                              8   participants at all times while on the record.
      10      COL PLTF 000463 RBAYLESS
      11 No. 2 5/31/2012 medical record;        73                    9           All other persons attending the
              COL-RBAYLESS-ORLANDO-000033                            10   deposition shall make their presence known to all
      12      and 000034
      13 No. 3 12/10/12 medical record;        79                    11   other participants and they shall keep their
              COL-RBAYLESS-BREVARD-000004 -                          12   microphones on mute unless and until they wish to
      14      000006
      15 No. 4 5/28/13 medical record;         86
                                                                     13   speak and after having spoken, they shall go back
              COL-RBAYLESS-ORLANDO-000015 -                          14   on mute.
      16      000018
      17 No. 5 Consent Form, "Procedure:        102
                                                                     15           Under no circumstances may a person
              Anterior and/or Posterior                              16   attend the deposition remotely in any manner
      18      Colporrhaphy";
              COL-RBAYLESS-ORLANDO-000024
                                                                     17   without identifying themselves on the record at the
      19                                                             18   commencement of the deposition.
         No. 6 Consent Form, "Augmentation         113               19           Each individual participating in the
      20      Graft Consent Form";
              COL-RBAYLESS-ORLANDO-000026                            20   deposition, whether participating in person or
      21                                                             21   remotely, must use an active video stream and phone
         No. 7 Consent Form, "Hysterectomy        118
      22      Surgical Consent Form";                                22   line for the duration of the deposition.
              COL-RBAYLESS-ORLANDO-000023                            23           Recognizing that depositions may cover
      23
      24
                                                                     24   confidential material, each participant shall

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       1   attend from a quiet, private location with a               1 the witness.
       2   neutral background.                                        2     MR. PERSONS: Ray Persons. I'm sorry. Go
       3           No counsel shall engage in any form of             3 ahead.
       4   private communication with any deponent while the          4     MR. HABERMAN: Sorry. Jeffrey Haberman from
       5   deposition is on the record, including, but not            5 Schlesinger Law Offices on behalf of the Plaintiff
       6   limited to, SMS, text messages, electronic mails or        6 and the witness.
       7   messages sent through any chat feature that may be         7       MR. PERSONS: Ray Persons from King & Spalding
       8   available through the videoconferencing system used        8   on behalf of Defendant Coloplast. I agree to the
       9   to conduct the deposition remotely.                        9   stipulation.
      10           In the event Counsel intends to initiate          10       MR. BURNETT: Zach Burnett of King & Spalding
      11   a private communication with any deponent for             11   on behalf of Coloplast. I also agree to the
      12   purposes of determining whether a privilege should        12   stipulation.
      13   be asserted, Counsel shall state his or her               13       MR. CONNOLLY: Dan Connolly on behalf of
      14   intention on the record before initiating such            14   Boston Scientific, and I also agree to the
      15   communication.                                            15   stipulation.
      16           And nothing that I have said is intended          16       THE REPORTER: Mr. Haberman, do you also agree
      17   to alter any local rules governing communications         17   to the remote swearing in of the witness?
      18   with witnesses during a deposition.                       18       MR. HABERMAN: Yes.
      19           I just thought I'd put that on there.             19       THE REPORTER: Thank you.
      20           Another thing I'd like to put on the              20
      21   record is any objection by any party is preserved         21
      22   for all other parties on the same side without the        22
      23   need to join in the same. So, while any party may         23
      24   assert an objection that the defending counsel does       24

                                                          Page 7                                                         Page 9
       1   not assert, Counsel need to -- can obviate the need        1             BRUCE ROSENZWEIG, M.D.,
       2   to repeat or join an objection already made by             2   called as a witness herein, having been first duly
       3   another lawyer.                                            3   sworn, was examined and testified as follows:
       4          And, so, I just wanted to put that.                 4                 EXAMINATION
       5   That's just from the proposed protocol that we had         5   BY MR. PERSONS:
       6   circulated earlier, but I just wanted to have that         6      Q. Okay. Dr. Rosenzweig, again, good
       7   for the record.                                            7   morning. My name is Ray Persons, and I represent
       8          Is there anything anyone else would like            8   Coloplast. You and I just met this morning, and I
       9   to put on the record before we get underway with           9   will have some questions for you.
      10   the examination of this witness?                          10           Now, you're familiar with the ground
      11          All right. Has the witness been sworn?             11   rules for giving a deposition because you've done
      12       THE REPORTER: No.                                     12   over 100 depositions I understand.
      13       MR. PERSONS: Will you swear the witness,              13      A. Correct.
      14   please, ma'am.                                            14      Q. What year did you start getting paid to
      15             (WHEREUPON, the witness was duly                15   write litigation reports in lawsuits against mesh
      16              sworn.)                                        16   manufacturers?
      17       THE REPORTER: All parties to this deposition          17      A. 2012.
      18   are appearing remotely and have agreed to the             18      Q. All right, sir. Approximately how many
      19   witness being sworn in remotely.                          19   have you written as of today?
      20          Due to the nature of remote reporting,             20      A. I don't think I can give you an accurate
      21   please pause briefly before speaking to ensure all        21   number.
      22   parties are heard completely.                             22      Q. Is it more than 50?
      23          Counsel, please state your appearance              23      A. Yes.
      24   and your stipulation to the remote swearing in of         24      Q. It would probably be more than 100,

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                                                       Page 10                                                   Page 12
       1   then, wouldn't it?                                      1   Is that the only time you've ever been sued in a
       2      A. Correct.                                          2   professional capacity?
       3      Q. All right. In the mesh litigation,                3       A. Yes. I was named as a respondent in
       4   you've only testified as an expert for Plaintiffs,      4   discovery in two other cases.
       5   correct?                                                5       Q. Do you have your expert report in this
       6      A. Correct.                                          6   case?
       7      Q. Never as an expert for any mesh                   7       A. Yes.
       8   manufacturer?                                           8       Q. The litigation report.
       9      A. Correct.                                          9           And this is a case-specific report that
      10      Q. And never as an expert for Coloplast?            10   you prepared in the Raeann Bayless case. Yes?
      11      A. Correct.                                         11       A. Correct.
      12      Q. Have you ever given a deposition as a            12       Q. And if you would, sir -- let's see.
      13   Defendant in a case?                                   13   Turn to the last page.
      14      A. Regarding mesh?                                  14           This says it was signed on the 4th day
      15      Q. No, more broadly. Regarding anything.            15   of June 2018?
      16      A. Yes.                                             16       A. Correct.
      17      Q. And what circumstances were those?               17       Q. Is that your signature at the bottom?
      18      A. That was a med mal case.                         18       A. Yes.
      19      Q. Was that just on one occasion?                   19       Q. All right. Have you made any changes to
      20      A. Yes.                                             20   this report since you signed it on that date?
      21      Q. And were you the treating physician?             21       A. No, I have not.
      22      A. Yes.                                             22       Q. All right, sir.
      23      Q. I assumed as much, but I'd thought I'd           23           You have a list of materials I believe
      24   ask.                                                   24   as Exhibit C, which is the very last page of this
                                                        Page 11                                                  Page 13
       1          Have you ever given a deposition as an           1   document?
       2   expert in any other kind of case, in a non-mesh         2       A. Yes.
       3   context?                                                3       Q. And it says "Materials Reviewed." Do
       4      A. Yes.                                              4   you see that?
       5      Q. What other kinds of cases have you given          5       A. Yes.
       6   a deposition as an expert in?                           6       Q. And you list medical and billing
       7      A. Med mal, wrongful death, workmen's comp.          7   records, Brevard Health Alliance, Florida Hospital,
       8      Q. All right. What about trial testimony?            8   Orange County Medical Center, Orlando
       9   Have you ever testified in trial?                       9   Urogynecology, Dr. Kathy Jones.
      10      A. Yes.                                             10           And you understand Dr. Kathy Jones was
      11      Q. Approximately how many times?                    11   the surgeon who performed Ms. Bayless' August 9,
      12      A. In mesh or non-mesh litigation?                  12   2013 hysterectomy and implant procedures?
      13      Q. Both, and then we'll break it out.               13       A. Correct.
      14      A. Probably 30 to 35 times.                         14       Q. And you also list Parrish Hospital.
      15      Q. All right, sir. And how many of those            15           Is that a complete listing?
      16   were mesh cases?                                       16       A. Yes.
      17      A. Approximately 20.                                17       Q. Is it fair to say, sir, that if a record
      18      Q. All right. And what other kinds of               18   or document isn't discussed in your report, you
      19   cases were they?                                       19   didn't rely on it to reach your case-specific
      20      A. Med mal, wrongful death and workmen's            20   litigation opinions?
      21   comp.                                                  21       MR. HABERMAN: Objection.
      22      Q. Okay. All right.                                 22   BY THE WITNESS:
      23          Now, you mentioned you testified in a           23       A. At the time that I authored the report.
      24   case, a med mal case where you were a Defendant.       24   Subsequently I've reviewed both Dr. Jones' and

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                                                     Page 14                                                    Page 16
       1   Ms. Bayless' deposition and the exhibits that were     1       Q. I want to ask you some questions now
       2   attached to those depositions.                         2   that pertain to both vaginal pain and dyspareunia.
       3   BY MR. PERSONS:                                        3          To assess or understand a patient's
       4       Q. All right. So, you're aware that                4   complaints of either vaginal pain or dyspareunia,
       5   Ms. Bayless' deposition -- well, it was given after    5   you'd need to know the following things: You'd
       6   you wrote your report?                                 6   need to know how long she's been experiencing that
       7       A. Correct. I think it was June 6, 2018.           7   vaginal pain or dyspareunia, wouldn't you?
       8       Q. All right. So, it's fair to say you             8       MR. HABERMAN: Objection.
       9   couldn't have relied on Ms. Bayless' deposition        9   BY THE WITNESS:
      10   testimony to reach any of the opinions contained in   10       A. That would be a salient factor in the
      11   your litigation report. Fair?                         11   discussion of pain complaint.
      12       A. Correct.                                       12   BY MR. PERSONS:
      13       Q. And you're aware obviously that                13       Q. So, the answer is yes?
      14   Dr. Jones was deposed subsequent to your report.      14       A. Well, yes if the patient is able to
      15   She was deposed on September the 12th, 2018.          15   articulate it.
      16          So, again, you could not have relied on        16       Q. Let's assume the patient is able to talk
      17   Dr. Kathy Jones' testimony to reach any of the        17   and communicate with you. That's something you'd
      18   opinions contained in your litigation report,         18   want to know from the patient, correct?
      19   correct?                                              19       A. Correct, to the best of their
      20       A. Correct.                                       20   recollection.
      21       Q. Is there anything in your litigation           21       Q. All right. You'd need to know where the
      22   report you feel that you need to revise or update     22   vaginal pain or dyspareunia is localized, wouldn't
      23   based on Ms. Bayless' testimony?                      23   you?
      24       A. The only thing would be I would add as         24       A. To the best that the patient can
                                                     Page 15                                                    Page 17
       1   one of her injuries dyspareunia.                       1   articulate that, yes.
       2       Q. And I'll ask the same thing with respect        2       Q. You'd need to know whether it's at the
       3   to Dr. Kathy Jones. Is there anything in your          3   introitus or whether it's with deep thrusting,
       4   litigation report that you feel you need to revise     4   you'd need to know those things?
       5   or update based on Dr. Jones' testimony?               5       A. Again, if the patient can be able to
       6       A. No. I think there are some issues that          6   localize where they have the maximum amount of
       7   I think we'll discuss that were clarified in her       7   pain, yes.
       8   deposition.                                            8       Q. All right. And specifically with
       9       Q. You have not personally examined                9   respect to vaginal pain, you'd want to know whether
      10   Ms. Bayless, have you?                                10   that vaginal pain is associated with any physical
      11       A. I have not.                                    11   activity?
      12       Q. In fact, you've never met her, have you,       12       A. Yes, you would want to know factors that
      13   Doctor?                                               13   worsen the pain or alleviate the pain and what are
      14       A. That is correct.                               14   associated factors. Again, to the best that the
      15       Q. You wouldn't recognize her if she walked       15   patient can articulate that.
      16   into the room right now, would you?                   16       Q. All right. You would need to know
      17       A. Would be unusual. But, yes, that would         17   whether any current diagnoses or conditions might
      18   be correct.                                           18   influence the vaginal pain or dyspareunia, wouldn't
      19       Q. All right. Have you talked to her on           19   you?
      20   the phone?                                            20       A. Well, that would be part of the history
      21       A. No, I have not.                                21   that would be obtained to the best that the patient
      22       Q. All right. Have you spoken with any of         22   can articulate that.
      23   Ms. Bayless' treating physicians?                     23       Q. So, yes?
      24       A. No, I have not.                                24       A. Again, to the best --

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                                             Bruce Rosenzweig, M.D.
                                                             Page 18                                                     Page 20
       1       MR. HABERMAN: Objection.                                 1   infection or pelvic inflammatory disease. Usually
       2   BY THE WITNESS:                                              2   women with a vaginal infection or pelvic
       3       A. -- that the patient can articulate that.              3   inflammatory disease don't want to have intercourse
       4   BY MR. PERSONS:                                              4   because they have -- they're in pain, the majority
       5       Q. Is the answer yes or no?                              5   of them are in pain from that while the disorder is
       6       MR. HABERMAN: Objection; asked and answered.             6   active.
       7   BY MR. PERSONS:                                              7           But, yes, you would want to know if
       8       Q. I'm sorry. Assume -- let's assume the                 8   there was a history of infections that involve the
       9   patient can talk and the patient can tell you her            9   pelvis.
      10   symptoms and describe them.                                 10       Q. All right. You would want to know
      11       A. Well --                                              11   whether any current behaviors might influence -- of
      12       Q. Would you want to know whether the                   12   the patient might influence the patient's vaginal
      13   patient has any current condition that might                13   pain or dyspareunia?
      14   influence, in other words, exacerbate her vaginal           14       A. That I don't understand your question.
      15   pain or her dyspareunia?                                    15   Current behavior. I mean, that would be the
      16       MR. HABERMAN: Objection.                                16   exacerbating or relieving factors that we
      17   BY THE WITNESS:                                             17   discussed.
      18       A. Again, yes, that would be part of the                18       Q. Let me be a little more precise.
      19   history that you obtain and to the best that the            19       A. Okay.
      20   patient can tell you what are those factors that            20       Q. For instance, the frequency of
      21   are associated with her pain complaint.                     21   intercourse, whether that's associated with the
      22   BY MR. PERSONS:                                             22   pain?
      23       Q. All right. You'd want to know whether                23       A. So, the frequency with which intercourse
      24   the patient, for instance, whether the patient has          24   causes pain or the frequency with which she has
                                                          Page 19                                                         Page 21
       1   menopause, such as menopause, is that associated             1   intercourse, period?
       2   with it, did it have its onset with menopause, for           2      Q. The frequency with which the intercourse
       3   instance. That's something you'd want to know?               3   causes pain. That's what I'm trying to get at is
       4       A. If the pain started with menopause?                   4   things that are related to pain, whether it's
       5       Q. Yes.                                                  5   dyspareunia or pelvic pain. That's something you'd
       6       A. Well, yes, that would be, you know, the               6   want to know?
       7   question that you asked before, the timing.                  7      A. Well, with -- again, this would be the
       8       Q. Right. And, of course, menopause, that                8   frequency of intercourse that causes pain with
       9   can lead to pain with intercourse, can't it?                 9   intercourse, that would just be the dyspareunia.
      10       A. Menopause in and of itself, no. The                  10      Q. Okay.
      11   associated -- the genitourinary symptoms of                 11      A. Because the pelvic pain would be
      12   menopause can be.                                           12   something that, you know, if a woman says, "Well, I
      13           And we're talking about dyspareunia, not            13   have intercourse and it exacerbates my pelvic
      14   pelvic pain?                                                14   pain," that's dyspareunia.
      15       Q. That's right. That's what we are                     15      Q. That's fine. But that's something you'd
      16   talking about, pain with intercourse, dyspareunia.          16   want to know?
      17       A. Okay.                                                17      A. Again, I don't think you clarified the
      18       Q. Yes. Vaginal infections, you'd want to               18   question of whether it's the frequency with which
      19   know whether the patient has suffered from vaginal          19   the intercourse causes pain or just the frequency
      20   infections?                                                 20   with which she has intercourse, period.
      21       A. Suffered from or is currently suffering?             21      Q. We're talking about things that are
      22       Q. Suffering from and that suffering was                22   pain-related. The frequency with which intercourse
      23   associated with the vaginal pain or dyspareunia.            23   causes pain.
      24       A. Correct, if they had either a vaginal                24      A. Okay. Yes.

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                                         Bruce Rosenzweig, M.D.
                                                      Page 22                                                    Page 24
       1      Q. That's something you'd -- I'm sorry. I           1   conditions, you'd want to know about those, for
       2   didn't mean to talk over you.                          2   instance, vaginal stenosis?
       3           That's something you'd want to know?           3      A. Correct.
       4      A. Correct.                                         4      Q. Reduced vaginal length is something
       5      Q. Okay. You'd want to know the number of           5   you'd be interested in knowing about, wouldn't it?
       6   partners with whom she's engaging in sexual            6      A. Well, that would be based on, you know,
       7   activity or intercourse, wouldn't you, as it           7   again, prior exams. If it was noted to be quite
       8   relates to dyspareunia?                                8   short and the patient states that because of the
       9      MR. HABERMAN: Objection.                            9   shortness of her vagina, that's what leads to pain.
      10   BY THE WITNESS:                                       10      Q. So, yes?
      11      A. The number of sexual partners I don't           11      A. Again, if that's a salient feature.
      12   think is really as salient. I mean, there -- a        12      Q. Reduced vaginal caliber is something
      13   woman could have a lot of sexual partners but have    13   that would be important to know in taking a
      14   very infrequent intercourse or just have one sexual   14   patient's medical history for assessing vaginal
      15   partner and be having intercourse five times a day.   15   pain or dyspareunia. Yes?
      16           So, it would be the frequency -- again,       16      A. Well, vaginal caliber, vaginal stenosis
      17   that would go back to your past question -- the       17   and vaginal length don't lead to vaginal pain
      18   frequency with which intercourse causes pain and      18   unless there's a corollary associated with that.
      19   the frequency that she's having intercourse.          19   But that would be more important for looking at
      20           If a woman is having intercourse once a       20   dyspareunia if that is part of their complaint.
      21   month and that always causes pain, that's different   21      Q. And vaginal atrophy would be something
      22   from someone that has intercourse three times a       22   that you would want to take into account in
      23   week and has this pain once a month. So, they both    23   assessing a patient's complaints of dyspareunia?
      24   say I have pain with intercourse once a month, but    24      A. Particularly the degree of vaginal
                                                      Page 23                                                    Page 25
       1   there are different corollaries associated with it.    1   atrophy.
       2   BY MR. PERSONS:                                        2       Q. And the same would go -- would be true
       3       Q. You would review previous medical               3   for vaginal dryness, would it not?
       4   records of the patient?                                4       A. Well, vaginal dryness is a symptom, you
       5       A. If they're available, yes.                      5   know, a genitourinary symptom of menopause. Not
       6       Q. Okay. To assess the cause of a                  6   all patients with atrophy have dryness. Not all
       7   patient's vaginal pain complaints or complaints,       7   patients that have dryness have atrophy. So...
       8   painful intercourse or dyspareunia, you'd agree        8           But, yes, dryness can be a -- you know,
       9   that it's important to consider a patient's medical    9   that could be one of the symptoms of a sexual
      10   history, correct?                                     10   dysfunction, lack of arousal, which would then lead
      11       A. Correct.                                       11   to diminished lubrication.
      12       Q. Any history of preexisting vaginal pain        12       Q. You would consider a patient's recurrent
      13   or dyspareunia. Yes?                                  13   vaginal infections in assessing the cause of a
      14       A. Well, that's a difficult question to           14   patient's vaginal pain for complaints of
      15   answer because, again, if you're looking at remote    15   dyspareunia. Yes?
      16   causes that are no longer active, sure, you would     16       A. Well, again, that would be one of the
      17   want to get that in the history as best as you can.   17   corollaries. Most patients do not engage in
      18            But as far as a remote event that more       18   intercourse with an active vaginal infection and
      19   likely than not had a very acute onset and an acute   19   the type of vaginal infection, whether it's a
      20   resolution, I mean, it would be important to know,    20   bacterial vaginosis, which does not lead to
      21   it would be part of your differential but, you        21   inflammation like candidiasis does. But that would
      22   know, again, looking at the current complaint, that   22   be part of the historical factors.
      23   wouldn't be nearly as salient.                        23       Q. Okay. Another historical factor would
      24       Q. The patient's other diagnosed medical          24   be a history of sexually transmitted diseases or

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       1   disease or infections. Yes?                               1   have episiotomies with their first delivery is over
       2       A. Correct, if there were sequelae from               2   60%, so you would want to see the sequelae from it
       3   that. If it was an acute infection that resolved          3   on a pelvic exam.
       4   without leading to any upper tract disorders, then        4      Q. Okay. Whether the patient has had a
       5   it would be an historical factor. But for current         5   total hysterectomy would be something that would be
       6   complaints, if they don't have an active sexually         6   worthy of note in assessing the cause of a
       7   transmitted disease, it wouldn't be as relevant.          7   patient's pelvic pain or dyspareunia, wouldn't it?
       8       Q. But it would be relevant if they had an            8      A. Correct.
       9   active sexually transmitted disease such as               9      Q. A total hysterectomy in which the cervix
      10   gonorrhea or chlamydia?                                  10   was also removed can result in reduced vaginal
      11       A. Correct.                                          11   length, can't it, Doctor?
      12       Q. You would want to know about the                  12      MR. HABERMAN: Objection.
      13   patient's past surgical history, for instance,           13   BY THE WITNESS:
      14   whether they had prior pelvic surgeries like a           14      A. Not a routine hysterectomy. Radical
      15   tubal ligation. Yes?                                     15   hysterectomies can, if there is a reason for taking
      16       A. Well, tubal ligation wouldn't                     16   off part of the apex of the vagina, aside from a
      17   necessarily be considered a pelvic surgery but it        17   radical hysterectomy for cervical cancer, such as
      18   would be an organ of the pelvis since the, you           18   endometriosis that's present on the apex of the
      19   know, the tubes are technically higher than the          19   vagina.
      20   pelvis.                                                  20          But the vast majority of hysterectomies,
      21           But a tubal ligation history would be            21   abdominal, laparoscopic or vaginal, don't decrease
      22   important. There's something called a post-tubal         22   the vaginal length, because the cervix does come
      23   ligation syndrome where women get cysts and those        23   down about 1 to 2 centimeters inside the vagina and
      24   can be painful while the cysts are active.               24   when you cut the cervix off at what becomes the

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       1       Q. So, that's something you'd want to know            1   cuff, then that is 1 or 2 centimeters higher than
       2   about?                                                    2   where the cervix was.
       3       A. Correct.                                           3           So, the length that the patient
       4       Q. And you'd want to know about previous              4   perceives is fairly equal unless you do a more,
       5   abdominal surgeries such as gallbladder removal.          5   again, radical hysterectomy or if there is a
       6   Yes?                                                      6   specific reason for taking off top of the cuff.
       7       A. That would be an important -- obtaining            7   BY MR. PERSONS:
       8   a surgical history is important. Again, that              8       Q. And if the top of the cuff is taken off,
       9   wouldn't be relevant in the differential diagnosis        9   it can result in reduced vaginal length, correct?
      10   of pelvic pain or dyspareunia.                           10       A. If it is -- if there is part of the cuff
      11       Q. You'd want to know about surgical                 11   removed, yes. But, again, that's not -- but that's
      12   procedures related to childbirth such as an              12   not standard for a routine hysterectomy.
      13   episiotomy?                                              13       Q. And a shortened vagina can result in
      14       A. Again, that would be an important -- or           14   dyspareunia? I think we discussed that earlier.
      15   it would be something to obtain in the history.          15       A. Significantly shortened, yes.
      16   Importance to pelvic pain and dyspareunia, unless        16       Q. Hysterectomies can also lead to scar
      17   there was a significantly difficult repair, which        17   tissue that forms at the cuff of the vagina, can't
      18   led to some degree of mutilation of the perineum or      18   they?
      19   the vaginal introitus, then it wouldn't be as            19       A. It can.
      20   relevant, no.                                            20       Q. And that can elicit pain during
      21       Q. But in order to determine those things,           21   intercourse, correct?
      22   you'd want to know about whether there had been a        22       A. It can.
      23   previous episiotomy, wouldn't you?                       23       Q. And that scar tissue can also elicit
      24       A. Well, again, the number of women that             24   pain during physical activity, giving the sensation

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        1   of a stretching or pulling?                               1 occasionally Botox injections.
        2       A. Well, so, adhesions are scarification              2          Again, if you can target something, you
        3   that is between two exposed serosal surfaces. So,         3 know, you see, again, a shortened vagina, I mean, I
        4   it depends on what surface that the adhesions are         4 wouldn't go to like a Z-plasty or a neovaginal
        5   attached to.                                              5 procedure early on in the treatment modalities
        6           The vast majority of adhesions, unless            6 because those don't usually work very well except
        7   they're put on stretch, so like bowel adhesions,          7 if someone is of a young age. It's important, but
        8   something is going through the bowel, that can lead       8 there are corollaries associated with it.
        9   to expansion and contraction and that can cause           9      MR. PERSONS: Well, with all due respect, move
       10   pain.                                                    10 to strike as non-responsive.
       11           Pain -- adhesions at the vaginal cuff            11 BY MR. PERSONS:
       12   being put on stretch during activity is a very           12      Q. My question was whether you'd want to
       13   unlikely cause of pain because it wouldn't be            13 know the medical history that we discussed, when we
       14   stretching from a fixed structure unless the bowel       14 discussed the things that could occasion vaginal
       15   is fairly fixed inside the pelvis, and that would        15 pain or dyspareunia, you'd want to know those
       16   be something like, you know, a severe endometriosis      16 things in order to prescribe a mode of treatment
       17   or someone that's had severe pelvic inflammatory         17 for the patient. Yes or no.
       18   disease. So, not really.                                 18      MR. HABERMAN: Objection; asked and answered.
       19       Q. Okay. But you'd agree that scar tissue            19 BY THE WITNESS:
       20   can under certain circumstances elicit pain during       20      A. Well, yes, you get a history and you do
       21   physical activity?                                       21   a physical exam. But, again, the treatment for
       22       A. Abdominal adhesions, yes, because your            22   those entities, there aren't a significant number
       23   abdominal wall could be -- could be fixed.               23   that are readily available.
       24       Q. So, to treat a patient's vaginal pain or          24   BY MR. PERSONS:

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        1   dyspareunia, you'd want to know about the things we       1       Q. Okay. Let's talk about vaginal
        2   just discussed?                                           2   infections.
        3      A. To treat it?                                        3           To assess the cause of a patient's
        4      Q. To treat, yes, the patient's vaginal                4   recurrent vaginal infection, such as bacterial
        5   pain or dyspareunia, you'd want to know the medical       5   vaginosis, you'd agree that it's important to
        6   history that we've just talked about?                     6   consider a patient's medical history, including how
        7      A. Well, again, before you treat any                   7   frequent the patient experiences or contracts an
        8   patient, you want to get a medical history. You           8   infection? Yes or no.
        9   want to do a physical exam.                               9       A. To diagnose it?
       10           Now, treatment, unfortunately there              10       Q. To assess it, yes. To evaluate it.
       11   aren't that many treatment options that you have         11       A. I mean, to diagnose it, you'd use a
       12   available. And, again, you'd start with the least        12   culture, and we have very good cultures available
       13   invasive and move up to the most invasive.               13   that can tell you whether your -- a discharge is
       14           So, you know, it is -- I mean, if your           14   associated with gonorrhea, chlamydia,
       15   exam and your history lead to one most likely            15   trichomoniasis, mycoplasma, ureaplasma, candidiasis
       16   etiology, then, yes, you can focus on that.              16   or bacterial vaginosis.
       17           But if it -- if you -- let's say you             17           To determine the length of therapy, it
       18   don't see severe vulvovaginal atrophy, which would       18   would -- you know, the frequency becomes important.
       19   be treated with an intravaginal hormone                  19   So, if a woman is getting frequent bacterial
       20   preparation.                                             20   vaginosis or frequent candidal infections, you
       21           Most of vaginal pain I treat with a              21   wouldn't just treat a one- or two-day for Candida
       22   topical insertion of a Valium preparation. So, I         22   or a seven-day for bacterial vaginosis. You would
       23   mean, the treatments non-surgical are fairly             23   give them a longer, you know, treatment like
       24   limited, physical therapy, Valium suppositories,         24   once-a-month therapy or four-week therapy.

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        1          So, frequency will tell you how it's               1   infections, that would be something that you would
        2   best to, you know, treat that. But the diagnosis          2   look at, does she have diabetes that is not very
        3   is made on a culture.                                     3   well controlled, does she have poor hygiene.
        4      Q. My question was a little different.                 4           Mycoplasma and ureaplasma, there is
        5          My question was: To assess the cause of            5   really no good evidence of an etiologic factor.
        6   recurrent vaginal infections, such as bacterial           6           So, the assessment, yes, is based -- how
        7   vaginosis, you would want to know how frequent the        7   you treat it is based on the history but what you
        8   patient experiences or contracted these infections.       8   treat is based on culture.
        9   We are talking about recurrent infections is what I       9       Q. Let's put aside treatment. We are just
       10   was asking you about.                                    10   talking about assessing.
       11      A. So, you know that the cause of bacterial           11           The patient comes in and has recurrent
       12   vaginosis, bacterial vaginosis is an entity that is      12   vaginal infections. And wouldn't it be important
       13   an overgrowth of the normal bacteria inside the          13   to consider how frequent the patient experiences or
       14   vagina.                                                  14   contracts the vaginal infections in assessing the
       15      Q. Yes.                                               15   condition?
       16      A. It's caused by the pH of the vagina                16       A. Yes, but that is more based on how
       17   getting elevated. That leads to the overgrowth of        17   you're going to treat it and maybe how you prevent
       18   the bacteria.                                            18   it.
       19          Now, there are reasons why the pH of the          19           Now, again, not all, you know,
       20   vagina could go up or the good bacteria, the             20   discharges are the same. So, that's why culture
       21   lactobacillus, which makes hydrogen peroxide, goes       21   becomes important. And most people don't do a very
       22   down. And that could be related to the semen in          22   good job of doing a culture on what's, you know --
       23   the ejaculate. That can be related to using              23   I mean, there are certain characteristics that, you
       24   condoms that are lubricated because lubricant is         24   know -- like a mucopurulent discharge is --

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        1   the nonoxynol-9.                                          1            (WHEREUPON, Zoom videoconference
        2            So, yes, there -- I mean, what -- what           2             unexpectedly terminated.
        3   causes a candidal infection versus what causes            3             Recess was had from
        4   bacterial vaginosis or mycoplasma or a gonorrhea          4             9:45 to 9:50 a.m.)
        5   infection, I mean, gonorrhea and chlamydia are            5            (WHEREUPON, the record was read
        6   sexually transmitted. Bacterial vaginosis is              6             by the reporter as follows:
        7   associated with sexual intercourse because of the         7             A. Yes, but that is more based on
        8   rise of pH. Candida is -- there is some anecdotal         8             how you're going to treat it and
        9   evidence that it could be transmitted sexually.           9             maybe how you prevent it.
       10   Trichomoniasis, there is weak evidence that it's         10                 Now, again, not all, you know,
       11   sexually transmitted.                                    11             discharges are the same. So,
       12            I mean, that's why it's -- your question        12             that's why culture becomes
       13   is -- yeah, it's easy for me to diagnose it by           13             important. And most people don't
       14   doing a culture. A woman comes in and says, "I           14             do a very good job of doing a
       15   have a discharge." I do a vaginal culture, wait          15             culture on what's, you know -- I
       16   for it to come back and then I treat the patient         16             mean, there are certain
       17   appropriately.                                           17             characteristics that, you know --
       18            If she says, I'm getting this," you             18             like a mucopurulent discharge
       19   know, "every month," then I would talk to her            19             is --)
       20   about, you know, is she cleaning her vagina after        20   BY THE WITNESS:
       21   intercourse, getting rid of the semen inside of her      21      A. Like a mucopurulent discharge is
       22   vagina, is she using a condom that's lubricated and      22   associated with chlamydia. White homogeneous
       23   use a non-lubricated condom with a lubricant.            23   discharge is associated with bacterial vaginosis.
       24            If she is getting frequent candidal             24   A cheesy discharge is associated with Candida.

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        1           So, I mean, someone says, "I get               1      A. Again, if the -- I would say that is
        2   frequent vaginal infections," that doesn't really      2   important for the timing of the mesh erosion.
        3   give you an idea of what they are unless she says,     3      Q. Okay. You'd also want to perform a
        4   yes, they were proven to be, all be BV or Candida      4   physical examination of the patient, wouldn't you?
        5   or I had, you know, one chlamydial infection and       5      A. Well, that would tell you where the mesh
        6   then it turned out to be BV.                           6   erosion is.
        7           So, yes, it's a -- the frequency is            7      Q. So, yes?
        8   important but also, you know, what it actually         8      A. Yes.
        9   turned out to be is equally important, and that's      9      Q. You would want to review -- medical
       10   where culture becomes important.                      10   records?
       11   BY MR. PERSONS:                                       11      A. Can I --
       12       Q. You'd agree that the cause of bacterial        12             (Simultaneous crosstalk.)
       13   vaginosis is often -- recurrent bacterial vaginosis   13   BY MR. PERSONS:
       14   is often unclear?                                     14      Q. I'm sorry?
       15       A. No, it is pretty clear that it's an            15      A. Yes. Because the medical records, if
       16   overgrowth of the normal bacteria of the vagina       16   the erosion happened prior, you would look at the
       17   that is due to an elevated vaginal pH.                17   medical records to see what other people have
       18       Q. But that can be occasioned by many             18   found.
       19   different things; not just one thing that can cause   19      Q. You'd also want to know all those things
       20   the elevated pH in the vagina?                        20   before you rendered an opinion about the cause of
       21       A. Well, that would be the normal -- either       21   the exposure, extrusion, erosion of the mesh?
       22   an external source of an alkaline pH or a             22      MR. HABERMAN: Objection.
       23   diminution in the good bacteria, the lactobacillus    23   BY THE WITNESS:
       24   that is creating an acidic environment.               24      A. I don't understand your question.
                                                       Page 39                                                   Page 41
        1      Q. And that can be caused by more than one          1   BY MR. PERSONS:
        2   thing?                                                 2       Q. Well, you'd want to know about the
        3      A. Correct.                                         3   things we just talked about. You'd want to know
        4      Q. You'd want to know about the patient's           4   where the exposure is?
        5   social behaviors, whether the patient has engaged      5       A. Correct.
        6   in unprotected sex. Yes?                               6       MR. HABERMAN: Objection.
        7      A. Yes. The mode of contraception does              7   BY MR. PERSONS:
        8   become important.                                      8       Q. You'd want to know about the history of
        9      Q. You'd want to know the number of sexual          9   estrogen use. I think you answered yes to that
       10   partners that the patient has?                        10   question.
       11      A. Again, that is a -- the increase in the         11          You'd want to know whether the patient
       12   number of sexual partners just increases your odds    12   was compliant with post-op instructions, and the
       13   of being exposed to something that can cause an       13   example we used was refraining from engaging in
       14   infection.                                            14   sexual intercourse. I think you told us you'd want
       15      Q. Right. To assess or understand a                15   to know that.
       16   patient's complaints of mesh exposure, you'd need     16       A. Correct.
       17   to know where the exposure is. Yes?                   17       Q. You'd want to know about the previous
       18      A. Yes.                                            18   medical records.
       19      Q. You'd want to know the patient's history        19          And my question was, you'd want to know
       20   of estrogen use?                                      20   about those things before you rendered an opinion
       21      A. If they're menopausal.                          21   about the cause of the erosion, exposure or
       22      Q. Yes. Whether the patient complied with          22   intrusion? Yes or no.
       23   post-op restrictions concerning vaginal               23       MR. HABERMAN: Objection.
       24   intercourse, you'd want to know that?                 24   BY THE WITNESS:

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        1       A. Again, the cause is the mesh. You're               1      A. In and of itself, no.
        2   talking about corollaries that can make an                2      MR. HABERMAN: Objection.
        3   exposure, erosion or extrusion more likely.               3   BY MR. PERSONS:
        4   BY MR. PERSONS:                                           4      Q. Combined with other factors it could, it
        5       Q. Yes.                                               5   could contribute to it?
        6       A. Okay.                                              6      MR. HABERMAN: Objection; vague.
        7       Q. So, you agree, you'd need to know these            7   BY THE WITNESS:
        8   things that we talked about that I just enumerated?       8      A. Now, we are --
        9       MR. HABERMAN: Asked and answered.                     9      MR. HABERMAN: What other factors?
       10   BY THE WITNESS:                                          10   BY THE WITNESS:
       11       A. As a corollary, correct.                          11      A. Right. I would need to know like what
       12   BY MR. PERSONS:                                          12   other factors you're talking about.
       13       Q. Now, when discussing surgical options             13   BY MR. PERSONS:
       14   for treatment of prolapse with a patient, you agree      14      Q. All right. Well, for instance --
       15   you should advise the patient that each subsequent       15      A. First of all, how -- is the hypertension
       16   surgery can lead to increased complications. Yes?        16   controlled or uncontrolled.
       17       MR. HABERMAN: Objection.                             17      Q. No. Let's --
       18   BY THE WITNESS:                                          18      A. What medications the patient is taking
       19       A. I -- again, that question is so broad.            19   for the hypertension, you know. So, again --
       20   It really would be very difficult to answer in a         20      Q. Sir.
       21   yes-or-no fashion.                                       21      A. Yes, sir.
       22   BY MR. PERSONS:                                          22      Q. Go ahead. Go ahead.
       23       Q. Well, would you agree that if you                 23          Let's say the patient has uncontrolled
       24   undertook surgical treatment, treatment of               24   hypertension and the patient is a heavy smoker.
                                                           Page 43                                                       Page 45
        1   prolapse, that each subsequent surgery could lead         1   Couldn't that affect the healing?
        2   to increased complications, as a general                  2       A. An uncontrolled hypertension, patient
        3   proposition?                                              3   wouldn't get in the operating room because they are
        4       A. Again, it all depends on what -- you               4   at risk for anesthesia.
        5   know, if you do an abdominal procedure and then you       5           So, I mean, there is really an
        6   followed it up with a Le Fort, no, that really            6   exceedingly rare number of emergent prolapse cases
        7   wouldn't increase your risk of surgical                   7   that you would operate on someone who is not well
        8   complications.                                            8   controlled, such as with, you know, pulmonary
        9           If you do an abdominal procedure and you          9   issues, hypertension, uncontrolled diabetes.
       10   follow that up with an abdominal procedure, then,        10           So, you know, I mean, I understand what
       11   yes, there could be an increased risk of                 11   you're saying, yes. Someone that has got
       12   complications.                                           12   uncontrolled medical issues would be at risk for
       13           So, again, it's not -- in a general              13   surgery, which is why you don't take someone with
       14   sense, I would tend to agree with you. In a              14   uncontrolled issues to the operating room. You get
       15   specific sense, I would need -- it would be              15   them -- you get them maximized so that they can
       16   important to know exactly what, you know, the            16   tolerate being asleep for the length of time that
       17   subsequent procedures are going to be.                   17   you need to keep them asleep and then you would
       18       Q. Okay. Chronic hypertension can increase           18   monitor their medical conditions to keep them under
       19   the risk of surgery, can't it?                           19   control during the postoperative period. So...
       20       A. Would increase the risk of anesthesia.            20       Q. All right. Vaginal atrophy, menopause,
       21       Q. And chronic hypertension can impact               21   can increase the risk of pelvic reconstructive
       22   wound healing, can't it?                                 22   surgeries, can't it?
       23       A. In and of itself, no.                             23       MR. HABERMAN: Objection.
       24       Q. But it can?                                       24   BY THE WITNESS:

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        1       A. Depends on the severity and underlying               1      Q. Does the effect of nicotine on the
        2   cause of the atrophy. Is it medically induced or            2   circulatory system and the 80 compounds in tobacco
        3   is it a natural menopause or a surgically induced           3   smoke inhibit wound healing?
        4   menopause?                                                  4      A. For all --
        5            A natural menopause, no, we operate on             5      MR. HABERMAN: Objection; asked and answered.
        6   women that are menopausal all the time. Someone             6   BY THE WITNESS:
        7   that is a surgically induced menopause or a                 7      A. For all surgical wounds it can, yes.
        8   medically induced menopause such as a woman with            8   BY MR. PERSONS:
        9   breast cancer who's on an aromatase inhibitor,              9      Q. That was the question.
       10   those are women, yes, I definitely advise them             10      A. Okay.
       11   against having surgical procedures on the vagina           11      Q. Using illicit drugs can affect
       12   because of the risk of poor healing.                       12   cardiovascular health and can also raise the risk
       13            But those are -- you know, I've got               13   of a poor surgical outcome, can it not?
       14   maybe a half a dozen women like that in my practice        14      MR. HABERMAN: Objection; vague.
       15   right now that have a surgical condition that I            15   BY THE WITNESS:
       16   warn against doing surgery because they are on an          16      A. The poor surgical outcome meaning that
       17   aromatase inhibitor, which essentially drops their         17   they can have an event, you know, cardiovascular
       18   estrogen level down to zero, and you can't treat           18   event, during the surgery.
       19   them with estrogen to try to build up their vaginal        19   BY MR. PERSONS:
       20   tissue or to treat them postoperatively.                   20      Q. Right.
       21   BY MR. PERSONS:                                            21      A. So, you know, yes. I would prefer to
       22       Q. Do you agree that smoking tobacco can               22   make sure that if I'm going to operate on someone
       23   raise the risk of a poor surgical outcome because          23   with a history of significant drug use, such as
       24   it contributes to poor wound healing?                      24   cocaine, that I have a negative tox screen before I

                                                             Page 47                                                       Page 49
        1      A. It can also lead to upper respiratory                 1   would operate on that patient.
        2   problems due to intubation and can lead to                  2       Q. You'd also advise that patient of the
        3   pneumonia. But, yes, it can be associated with              3   importance of disclosing all health-related issues
        4   poor wound healing.                                         4   prior to surgery?
        5          But you would see a general wound                    5       A. Correct.
        6   healing. You wouldn't see just a poor wound                 6       Q. Now, on page 3 of your report, under
        7   healing in one location if someone was a smoker.            7   III, "Findings Related to Raeann Bayless."
        8   So, I mean, if they had poor healing, they would            8           Do you have your report in front of you?
        9   have poor healing generally, not locally.                   9       A. Yes.
       10      MR. PERSONS: Move to strike the                         10       Q. Starting there, you go on and you list
       11   non-responsive portion of that answer.                     11   roughly 12 medical records on pages 3 through 7?
       12   BY THE WITNESS:                                            12       A. Correct.
       13      A. Well, sir, you asked me about wound                  13       Q. Now, you reviewed these records for the
       14   healing and I was explaining to you that, yes, if          14   purpose of writing your report, correct?
       15   you're going to have poor wound healing from               15       A. I reviewed the records, yes, to provide
       16   smoking, it would be on all the surgical wounds,           16   opinions in Ms. Bayless' case, yes.
       17   not just one surgical wound. So, I mean, that's an         17       Q. Was this the totality of the records
       18   important part of my answer.                               18   that you had in your possession at that time?
       19   BY MR. PERSONS:                                            19       A. No.
       20      Q. Well, you might think it's important.                20       Q. How did you go about selecting these
       21   You answered the question. Generally speaking,             21   records or determining that these records were
       22   does smoking contribute to poor wound healing?             22   pertinent to your opinions and others were not,
       23      MR. HABERMAN: Objection; asked and answered.            23   just generally speaking?
       24   BY MR. PERSONS:                                            24       A. Well, this is just a summary of her

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        1   medical treatment.                                     1      A. That was disclosed in the medical
        2       Q. All right. Have you requested                   2   records, correct.
        3   additional medical records?                            3      Q. But that was medical history prior to
        4       A. If there are new medical records that           4   the time she underwent the August 9, 2013 surgical
        5   are obtained, I hope that I get sent new medical       5   procedure. Yes?
        6   records. If new medical records are obtained and       6      A. As I state on page 4, she also has a
        7   they impact my opinion, I would be happy to give       7   history of drug abuse.
        8   you the opportunity to come back and see how any       8      Q. All of these things predated the
        9   new medical records changed my opinions.               9   surgery? Yes or no.
       10       Q. We'd reserve the right to reopen and           10      A. Correct.
       11   conduct another deposition.                           11      Q. Okay. You'd agree that understanding a
       12          All right. Is it fair to say that if           12   patient's medical history is critical to a sound
       13   you didn't include a record, a medical record, on     13   differential diagnosis, as a general proposition?
       14   pages 3 through 7, that you didn't think that         14      A. Correct.
       15   particular record was pertinent to your opinions?     15      Q. And that's why you included this
       16       A. No.                                            16   paragraph about Ms. Bayless' past medical history
       17       MR. HABERMAN: Objection.                          17   in your report?
       18   BY THE WITNESS:                                       18      A. And also throughout the rest of my
       19       A. That's not correct. All the medical            19   report, correct.
       20   records are pertinent to my opinions. This is a       20      Q. Do you recall, in terms of the smoking,
       21   summary of the medical records I reviewed and         21   do you recall for how long Ms. Bayless has been a
       22   relied upon, all the medical records that are on my   22   smoker? That's not mentioned here in your report.
       23   reliance list, and I subsequently reviewed and        23      A. As she stated in her deposition, if I
       24   relied upon the depositions that we discussed         24   recall, she smoked for approximately 30 years.
                                                       Page 51                                                         Page 53
        1   earlier and the exhibits associated with those.        1      Q. All right.
        2   BY MR. PERSONS:                                        2      MR. HABERMAN: You know, Ray, can we take a
        3       Q. All right. Now, you understand to the           3   five-minute break? We have been going for about an
        4   extent you relied on a medical record, it should       4   hour.
        5   have been delineated or set forth in your report.      5      MR. PERSONS: Sure. Absolutely. Okay. How
        6   You understand that?                                   6   long?
        7       A. No, this is a summary of the medical            7      MR. HABERMAN: Five, ten minutes. Just have
        8   treatment. If I was to add all the medical             8   to use the restroom.
        9   records, that would be the -- my report would be as    9      MR. PERSONS: Sure. We can do that. That's
       10   long as the medical records are.                      10   fine with everybody?
       11       Q. On page 3 of your litigation report,           11      THE WITNESS: Sure, five minutes is great.
       12   under III, you write, "Ms. Bayless is a current       12      MR. PERSONS: All right. We'll take five.
       13   smoker."                                              13   Thank you.
       14           Do you see that?                              14             (WHEREUPON, a recess was had
       15       A. Right.                                         15              from 10:09 to 10:17 a.m.)
       16       Q. And then she has a medical history that        16   BY MR. PERSONS:
       17   includes hepatitis C, heart murmur, gonorrhea,        17      Q. Doctor, you'd agree that the longer a
       18   trichomonas and hypertension.                         18   patient smokes, the more negatively it affects the
       19           Do you see that?                              19   patient's health?
       20       A. Correct.                                       20      A. Correct.
       21       Q. Now, that's Ms. Bayless' medical history       21      Q. And those negative effects include
       22   prior to her August 9, 2013 implantation surgery      22   things like --
       23   involving the Advantage Fit and the Restorelle Y,     23      MR. HABERMAN: Objection.
       24   correct?                                              24   BY MR. PERSONS:

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                                                           Page 54                                                  Page 56
        1       Q. -- poor wound healing?                             1       Q. Do you know how Ms. Bayless' abortions
        2       MR. HABERMAN: Been over this already.                 2   were performed, whether they were transvaginal?
        3   BY THE WITNESS:                                           3       A. Well, that would be -- the vast majority
        4       A. I don't think there is a very good                 4   of an abortion would be surgical. I mean, it would
        5   degree of evidence on a cumulative effect on wound        5   have been in the record that she would have had a
        6   healing like there is a cumulative effect on              6   hysterotomy if the termination was done later in
        7   pulmonary function, the risk of lung cancer.              7   the pregnancy for a very specific reason like, you
        8           So, the fact that a person is a smoker            8   know, severe eclampsia or a uterine infection or,
        9   can lead to, you know, microcirculatory factors.          9   you know, some other obstetrical emergency.
       10   But the effect on the lungs would be more of a           10       Q. All right. Other than those three
       11   cumulative effect.                                       11   abortions, Ms. Bayless' surgeries were all
       12       Q. Okay. Well, setting aside the lungs               12   performed transabdominally, correct?
       13   since this isn't a lung case, poor circulation           13       A. Yes.
       14   could be a consequence of long-term cigarette            14       Q. And you'd agree that multiple abdominal
       15   smoking?                                                 15   surgeries can increase the risk for adhesions?
       16       A. Cigarette smoking in general, correct.            16       A. Well, if they're open procedures, there
       17       Q. And worsening hypertension could be one           17   is some limited data on the degree of adhesions
       18   of the long-term effects of cigarette smoking?           18   that multiple surgeries caused. But with
       19       A. Hypertension, yes. The hypertension,              19   laparoscopic procedures, the amount of adhesions
       20   diabetes, smoking go hand in hand.                       20   would be limited.
       21       Q. You would agree that if a patient didn't          21          Now, the gallbladder surgery, it depends
       22   have wound healing issues when they started              22   on the severity of the gallbladder disorder and,
       23   smoking, they may have experienced those issues          23   you know, if there was a preceding infection,
       24   after continuing to smoke for a long time, a long        24   severe infection, or a postceding infection.
                                                          Page 55                                                   Page 57
        1   time being 20, 30 years?                                  1           But, no, a laparoscopic surgery, even
        2       A. It would -- you know, one would need to            2   multiple laparoscopic surgeries, I wouldn't
        3   look at what the event was, you know, earlier in          3   anticipate that there would be a significant risk
        4   life to see what that was associated with.                4   of adhesion formation.
        5       Q. But you would agree that smoking,                  5       Q. All right. Adhesions can be treated
        6   long-term smoking, adversely affects the                  6   surgically, right?
        7   microcirculatory system; that can impact wound            7       A. Correct.
        8   healing?                                                  8       Q. And if they aren't treated, they can
        9       A. As I state in my report, yes.                      9   become painful. Yes?
       10       Q. Now, in addition to past medical                  10       A. Not always but they can.
       11   history, you'd also consider a patient's past            11       Q. They can and they can feel like
       12   surgical history to be critical to any differential      12   stretching or pulling inside the abdomen, can't
       13   diagnosis. Yes?                                          13   they?
       14       A. Correct.                                          14       A. We already had that discussion
       15       Q. So, in the next sentence in this                  15   previously.
       16   paragraph in your report you point out that              16       Q. So, yes?
       17   Ms. Bayless' surgical history is remarkable for          17       A. Well, all depends on what organs are
       18   tubal ligation, three abortions,                         18   adhesed to what.
       19   gallbladder/stones, robotic-assisted total               19       Q. So, yes, it can feel like stretching or
       20   laparoscopic hysterectomy, abdominal sacral              20   pulling?
       21   colpopexy, retropubic midurethral sling using the        21       A. Again, that is such a broad question
       22   Advantage Fit and cystoscopy.                            22   that would -- the simple answer is there can be a
       23           Do you see that?                                 23   stretch sensation, particularly with adhesions that
       24       A. Yes.                                              24   are to an abdominal wall incision, not a

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        1   laparoscopic incision.                                     1   it in my chat.
        2          So, in a very broad and general sense,              2       MR. BURNETT: Can we go off the record for one
        3   yes.                                                       3   moment.
        4       Q. All right. Now, your litigation report              4       MR. PERSONS: Sure.
        5   goes on to provide a summary of Ms. Bayless'               5             (WHEREUPON, discussion was had off
        6   medical care starting on March 7, 2012 and ending          6              the record.)
        7   June 11, 2015.                                             7   BY MR. PERSONS:
        8       A. May 7, 2012, but yes.                               8       Q. All right. Did you review any records
        9       Q. I know. I think it's a typo. It said                9   related to Ms. Bayless' medical treatment that
       10   2014 in here, but the records say 2012.                   10   predate May 7, 2012, Doctor?
       11          You'd agree with that?                             11       A. Not that I specifically recall.
       12       A. No. The first record is May 7, 2012                12       Q. Okay. To the extent any medical
       13   through June 2015.                                        13   treatment or condition is not discussed in the
       14       Q. Right. Okay. So, let's go to the --                14   records that you did review, is it fair to say that
       15   those records.                                            15   your opinions in this case could not have accounted
       16       MR. PERSONS: And if we could, Zach, go to tab         16   for any medical treatment or condition Ms. Bayless
       17   1, please.                                                17   may have had prior to May 7, 2012?
       18   BY MR. PERSONS:                                           18       MR. HABERMAN: Objection.
       19       Q. And this is -- the first record noted in           19   BY THE WITNESS:
       20   your report is from May 7, 2012, and let's mark           20       A. Unless it was discussed in her
       21   that Exhibit 1.                                           21   deposition.
       22              (WHEREUPON, Rosenzweig Deposition              22   BY MR. PERSONS:
       23               Exhibit No. 1 was marked for                  23       Q. Okay. Now, this record reflects that
       24               identification: 5/7/12 medical                24   Ms. Bayless' visit to Orlando Health was due to

                                                           Page 59                                                         Page 61
        1              record; COL PLTF 000460 RBAYLESS -              1   complaints of vaginal prolapse and urinary
        2              COL PLTF 000463 RBAYLESS.)                      2   incontinence. Do you see that?
        3   BY MR. PERSONS:                                            3       A. Yes.
        4      Q. Do you recognize this as a copy of that              4       Q. And it indicates that Ms. Bayless has
        5   record?                                                    5   been dealing with this for over seven years.
        6      A. As soon as Zach gets it up, I will.                  6           Do you see that?
        7      MR. BURNETT: It should be marked now. Just              7       A. Correct.
        8   as a reminder, once I introduce a new exhibit, if          8       Q. And having read her deposition, you're
        9   you all just hit refresh on your browser, it should        9   aware that Ms. Bayless testified that she began
       10   pop up. So, if you have the link open already, hit        10   experiencing symptoms of prolapse after the birth
       11   refresh, you should see Exhibit 001.                      11   of her second child?
       12      THE WITNESS: Now, I've got it.                         12       A. Correct.
       13   BY THE WITNESS:                                           13       Q. Are you aware that she testified that
       14      A. Yes.                                                14   she was able to see her bladder at the opening of
       15   BY MR. PERSONS:                                           15   the vagina?
       16      Q. Did you receive this record in its                  16       A. Correct.
       17   entirety?                                                 17       Q. All right. Now, in the last line of the
       18      MR. HABERMAN: I'm sorry. I'm trying to                 18   first paragraph of Exhibit 1, the provider, I want
       19   locate it.                                                19   to say Dr. Bukkapatnam, also noted Ms. Bayless
       20      MR. BURNETT: The link is in the chat, in the           20   stated that she had some dyspareunia lately?
       21   Zoom chat, if you look at the window. I sent the          21       A. Correct.
       22   link out. It may have been right before you               22       Q. And it goes on to describe her OB
       23   joined.                                                   23   history. Do you see that?
       24      MR. HABERMAN: I don't see the -- I don't have          24       A. Yes.

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        1           And if we can go back to this last line.       1       A. Correct.
        2   She was asked about that in her deposition and she     2       Q. And abdominal surgeries can lead to
        3   said when the penis hit the cervix, that was what      3   adhesions?
        4   was causing her pain.                                  4       A. Abdominal surgeries can. But, again,
        5       Q. Yes. And she -- in terms of the OB              5   this was more likely than not done laparoscopically
        6   history, it goes through the nine pregnancies, and     6   and the chances of this leading to adhesions is
        7   talks about four full term, three abortions and two    7   very, very rare.
        8   miscarriages. You see that?                            8       Q. But we don't know, do we?
        9       A. Yes.                                            9       A. Yeah, we actually do.
       10       Q. She delivered all four of her children         10       Q. Okay. So, you do know how it was done,
       11   vaginally, correct?                                   11   the tubal ligations?
       12       A. Correct.                                       12       A. Oh, no, that it didn't lead to
       13       Q. And you'd agree that vaginal delivery is       13   adhesions. I mean, if you look at Dr. Jones'
       14   a major risk factor for prolapse?                     14   surgical report, there were some adhesions between
       15       A. And stress incontinence, correct.              15   the left colon and the sidewall, which she stated
       16       Q. You agree that vaginal delivery                16   were more likely than not due to the findings of
       17   requiring an episiotomy can also lead to              17   diverticulosis.
       18   dyspareunia?                                          18       Q. Further down under "Sexual Activity"
       19       A. No.                                            19   next to "Comments," a note that Ms. Bayless
       20       Q. Okay. Under --                                 20   represented that she had over 100 partners
       21       A. I mean, it can be uncomfortable while          21   lifetime. That's noted here.
       22   the episiotomy is healing. But unless there was       22           Do you see that?
       23   some untoward event with the episiotomy or the        23       A. Yes.
       24   repair, no.                                           24       Q. And then you see "STD History" notes
                                                       Page 63                                                      Page 65
        1       Q. So, if there is some untoward event, it         1   gonorrhea?
        2   can lead to dyspareunia. That's your opinion?          2      A. Correct.
        3       A. If there is a poor repair of the                3      Q. The symptoms of gonorrhea can include
        4   episiotomy, it could.                                  4   vaginal discharge, correct?
        5       Q. Okay. Under "Gynecological History,"            5      A. Correct.
        6   this record notes that Ms. Bayless had a tubal         6      Q. And foul odor, correct?
        7   ligation. And you noted that in your litigation        7      A. Usually the gonorrheal discharge is not
        8   report, didn't you?                                    8   associated with odor.
        9       A. Correct.                                        9      Q. Okay. Can also include dysuria?
       10       Q. And that's a procedure that's performed        10      A. Yes.
       11   abdominally, isn't it?                                11      Q. Vaginal itching?
       12       A. It is -- can be done either through a          12      A. No.
       13   telescope. It can be done through what's called a     13      Q. Vaginal burning?
       14   mini-lap immediately postpartum where there's a 3     14      A. Not characteristic with gonorrhea.
       15   or 4 centimeter incision made underneath the          15      Q. Okay. You agree that patients who
       16   bellybutton because the tubes are at that level,      16   engage in sexual intercourse with multiple partners
       17   you know, one to two days after delivery. Can also    17   are at higher risk for contracting STDs?
       18   be done -- years ago we used to do it                 18      A. Correct.
       19   transvaginally.                                       19      Q. Especially if they don't consistently
       20           But the vast majority are done through a      20   use protection?
       21   small bellybutton incision. Almost all of them.       21      A. Well, the only protection would be a
       22       Q. Abdominally?                                   22   condom. I mean, cervical caps, diaphragms don't --
       23       A. Excuse me?                                     23   while they do cover the cervix and do decrease
       24       Q. Abdominally, then, aren't they?                24   transmission of both chlamydia and gonorrhea, which

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        1   live in the columnar epithelial cells of the              1   the sexual abuse, correct.
        2   cervix, it wouldn't do anything to decrease the           2       Q. And they are at a high risk of
        3   transmission of something like human papilloma            3   experiencing chronic dyspareunia, aren't they?
        4   virus and it would not or it could depending on if        4       A. That starts after the sexual abuse,
        5   a nonoxynol-9 preparation increased the risk of           5   correct.
        6   bacterial vaginosis.                                      6       Q. And the relationship between a history
        7      MR. PERSONS: Move to strike as                         7   of sexual abuse and chronic pelvic pain or
        8   non-responsive.                                           8   dyspareunia is unclear, isn't it?
        9   BY MR. PERSONS:                                           9       A. I -- can you repeat the question?
       10      Q. Going back to the tubal ligation, we               10       Q. Yes. The relationship between a history
       11   don't know how Ms. Bayless' tubal ligation was           11   of sexual abuse and pelvic pain and dyspareunia is
       12   performed, do we? Whether it's done                      12   unclear?
       13   laparoscopically or not, we don't know, do we?           13       A. Correct, in the general sense. In
       14      A. It is not described in the records,                14   Ms. Bayless' case, we know how she testified to
       15   correct.                                                 15   that because of the dyspareunia that she was having
       16      Q. Okay. Now, going -- now, coming back to            16   prior to her hysterectomy, which was the penis
       17   the what we were just discussing about the medical       17   hitting the cervix, as she testified to.
       18   record here under "Sexual History," you'd agree          18       Q. But generally it's agreed there's a
       19   that repeated STDs can lead to longer term health        19   psychological component between sexual abuse and
       20   complications?                                           20   dyspareunia and pelvic pain?
       21      A. Repeated STDs of gonorrhea and chlamydia           21       A. There can be if it manifests that way.
       22   can lead to tubal damage, infertility. But at the        22       Q. On the second page of this record under
       23   time of her hysterectomy, that was not noted. It         23   "Past Medical History," it's noted that Ms. Bayless
       24   can lead to endomyometritis, but on the pathology        24   has hypertension and positive for hepatitis C. Do
                                                          Page 67                                                    Page 69
        1   report that was not noted. The only thing that was        1   you see that?
        2   noted on the pathology report for the hysterectomy        2      A. Correct.
        3   was chronic cervicitis.                                   3      Q. And further down under "Psychosocial
        4       MR. PERSONS: Move to strike as unresponsive.          4   History," it describes Ms. Bayless' history of
        5   BY MR. PERSONS:                                           5   smoking and substance abuse?
        6       Q. Repeated STDs can result in a high                 6      A. Correct.
        7   propensity to develop vaginal infections, can't it?       7      Q. She was smoking around a half pack per
        8   Yes or no.                                                8   day at that time and had a history of crack use for
        9       A. I can't answer that question yes or no.            9   25 years, now for clean for two.
       10       Q. Okay. And chronic conditions -- it can            10          Do you see that?
       11   lead to a chronic condition like pelvic                  11      A. Correct.
       12   inflammatory disease, can't it?                          12      Q. Are you aware that she began using crack
       13       A. Yes.                                              13   cocaine around 1999, according to her deposition?
       14       Q. Ms. Bayless' sexual activity also refers          14      A. Yes.
       15   to a history of sexual abuse. Do you see that?           15      Q. And you did not think that was relevant
       16       A. Yes.                                              16   to your opinions?
       17       Q. She was molested at 12 years old by a             17      A. Well, it was in the medical records, so
       18   friend's brothers.                                       18   of course I considered it. But she had been not
       19           Do you see that?                                 19   using it at the present time and it didn't appear
       20       A. Yes.                                              20   again in the records I think until 2014.
       21       Q. Patients who have experienced sexual              21          So, around the time of her surgery she
       22   abuse are at a high risk of experiencing chronic         22   was not using, by what's based on the records,
       23   pelvic pain, aren't they?                                23   using cocaine; and if I recall, she did not state
       24       A. That usually starts in the vicinity of            24   that she was using it at the time of her surgery.

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                                                          Page 70                                                   Page 72
        1      Q. You would agree that long-term crack                 1      Q. Okay. So, that's LSC?
        2   cocaine use impacts circulation, though, don't you?        2      A. Yes.
        3      A. It can while someone is using it.                    3      Q. And then a history of the bilateral
        4      Q. And a long-term crack cocaine use also               4   tubal ligation?
        5   carries other negative health consequences. You'd          5      A. Yes.
        6   agree with that?                                           6      Q. History of drug abuse. You see all of
        7      A. While someone is using it, correct.                  7   that?
        8      Q. Such as worsening hypertension?                      8      A. Yes, correct.
        9      A. While someone is using it, correct.                  9      Q. And underneath that it says "Plan," the
       10      Q. And impaired neurocognitive function.               10   plan was to conduct a urodynamic study?
       11   You'd agree with that?                                    11      A. Correct.
       12      A. While someone is using it, correct.                 12      Q. Urine culture?
       13      Q. So, it's your testimony that if someone             13      A. Correct.
       14   uses cocaine for 20 plus years and stops using it,        14      Q. And that was in regards to Ms. Bayless'
       15   then there are no long-term consequences of the           15   urinary incontinence, correct?
       16   long-term use. That's your testimony?                     16      A. Correct.
       17      A. Well, the acute effects would not be                17      Q. And then she was given a referral to a
       18   manifesting.                                              18   Dr. Kathy Jones for evaluation?
       19      Q. On page 3 of this record, next to                   19      A. Correct.
       20   "Comment," where it says, "Patient has a moderate         20      Q. All right.
       21   cystocele, halfway to the introitus."                     21      MR. PERSONS: Let's go to tab 2, Zach, and
       22          Do you see that?                                   22   that's the May 31, 2012 medical record and let's
       23      A. Yes.                                                23   mark this Exhibit 2.
       24      Q. Now, the severity of Ms. Bayless'                   24              (WHEREUPON, Rosenzweig Deposition
                                                            Page 71                                                 Page 73
        1   prolapse wasn't noted anywhere in your report, was         1               Exhibit No. 2 was marked for
        2   it?                                                        2               identification: 5/31/2012 medical
        3       A. Yes, it was. That at the time of                    3               record; COL-RBAYLESS-ORLANDO-000033
        4   surgery was a stage II. On page 5.                         4               and 000034.)
        5       Q. The severity of the prolapse is relevant            5   BY MR. PERSONS:
        6   to your opinions or is it not relevant to your             6      Q. This particular record is not referenced
        7   opinions?                                                  7   in your report --
        8       A. The severity of the prolapse was an                 8      A. Correct.
        9   indication for the surgery. She had a stage II             9      Q. -- Dr. Rosenzweig, but you did include
       10   prolapse that came down towards the introitus.            10   the August 12 and the August 16, 2012 visits to
       11   According to Dr. Bukkapatnam on May 7, 2012, this         11   Dr. Jones for urodynamic testing.
       12   would be a Baden-Walker classification, which would       12           Is there any reason why you didn't
       13   be a stage I.                                             13   include this one as well?
       14       Q. Are you aware that she testified that              14      A. It's in the medical records. This and I
       15   her bladder prolapse was visible at her introitus?        15   think it's the June 10, 2012, which was a uroflow
       16       A. Yes, she did testify to that, which                16   report, but this just kind of reiterates what the
       17   would be a stage II, which is what Dr. Jones noted        17   previous doctor had found.
       18   at the time of her surgery.                               18      Q. Okay. At this visit Dr. Jones performed
       19       Q. Under -- at the bottom of page 3 under             19   a vaginal exam as reflected under "PE." Yes?
       20   "Assessment/Plans" it says, "Mixed incontinence,          20      A. Correct.
       21   cystocele, hypertension, hep C, a history of ISC,"        21      Q. And next to rectal exam she noted that
       22   I assume that's intermittent self-catheterization?        22   Ms. Bayless had poor tone and weak squeeze all
       23       A. No, no, no. No. That is laparoscopic               23   around?
       24   cholecystectomy.                                          24      A. Correct.

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                                                       Page 74                                                        Page 76
        1       Q. Was that relevant to any of your                1   down to, if you look back at the POP-Q, the lowest
        2   opinions?                                              2   point was point B on the anterior and that came
        3       A. She has no bowel injuries that I am             3   down to 1 centimeter past the introitus, which is
        4   alleging occurred from the -- either of the pelvic     4   stage II. This is not stage III or stage IV. So,
        5   floor mesh implants. So, while it is noted, it is      5   just had an early stage II -- or a stage II
        6   just a finding on medical exam.                        6   prolapse. It's not complete prolapse.
        7       Q. Okay. It's not relevant to any of your          7      Q. Okay. But both the bladder and uterus
        8   opinions, correct?                                     8   were herniating into her vagina?
        9       A. It is not associated with any of the            9      A. Correct.
       10   injuries caused by the pelvic organ -- or the mesh    10      Q. And --
       11   products that were placed.                            11      A. But --
       12       Q. Then it says, "2 centimeter                    12      Q. -- enterocele is the only pelvic organ
       13   rectal/vaginal defect that goes into PB."             13   prolapse diagnosis not included here?
       14           Do you know what that means?                  14      MR. HABERMAN: I'm going to also say I don't
       15       A. No. She had a -- she was able to hold          15   think the doctor finished his answer previously.
       16   for 2 seconds. She had a thin perineal body, and      16   BY THE WITNESS:
       17   there was a finding of the RV defect along -- into    17      A. I did discuss that she had a vault
       18   the perineal body.                                    18   prolapse or a uterine prolapse and a rectocele,
       19       Q. So, that's what that is, the perineal          19   which is described as the prolapse of the vaginal
       20   body, the PB?                                         20   vault, which is -- but her main -- I mean, her
       21       A. Yes.                                           21   posterior wall was barely stage II and her uterus
       22       Q. Okay. On the second page of this               22   was also barely stage II based on the POP-Q that
       23   document, Dr. Jones diagnosed Ms. Bayless with        23   was done that day. Her main prolapse was a
       24   mixed incontinence, rectocele, cystocele midline,     24   cystocele.

                                                       Page 75                                                         Page 77
        1   uterovaginal prolapse incomplete and urinary           1       MR. BURNETT: I think we lost Ray. Can we go
        2   frequency.                                             2   off the record while he gets back on?
        3          Do you see that?                                3             (WHEREUPON, a recess was had
        4      A. Correct.                                         4              from 10:49 to 10:59 a.m.)
        5      Q. Rectocele is where the rectum is                 5   BY MR. PERSONS:
        6   prolapsing into the vagina, also called a posterior    6       Q. Doctor, when I said "complete prolapse,"
        7   defect, correct?                                       7   what I was alluding to was that all of her organs
        8      A. Correct.                                         8   were prolapsing.
        9      Q. And a midline cystocele is where the             9           You have left up here to the rectocele
       10   bladder is prolapsing into the vagina at the apex,    10   and the enterocele and the cystocele?
       11   an anterior defect. Yes?                              11       A. Correct. But when you look at the
       12      A. Correct.                                        12   POP-Q, by far cystocele was at a plus 1. All the
       13      Q. And Ms. Bayless' uterus was also                13   rest were at a minus 1.
       14   prolapsing into her vagina; a vaginal vault or        14       Q. Okay. Let's see. Dr. Jones discussed
       15   apical prolapse, correct?                             15   treatment options with the patient. Do you see
       16      A. Correct.                                        16   that? We are still on the --
       17      Q. Underneath that list of diagnoses               17       A. Page 2, yes.
       18   Dr. Jones wrote, "Stage II pelvic organ               18       Q. Page 2, yes, of this record. Where she
       19   prolapse - leading edge at BA consistent with         19   talks about "Observation, pessary support and
       20   cystocele/uterine prolapse," correct?                 20   surgical intervention." Do you see that?
       21      A. Correct.                                        21       A. Yes.
       22      Q. So, Ms. Bayless had near complete               22       Q. All right. At the bottom of this --
       23   prolapse at that time, didn't she?                    23   well, the last entry on this page or right before
       24      A. No. She had stage II prolapse. It came          24   the last entry, "Patient advised," do you see that

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        1   paragraph, which says, "Patient advised that                 1   procedure, correct?
        2   tobacco use contributes to risk of urinary                   2      A. Correct.
        3   incontinence and pelvic organ prolapse."                     3      Q. And this record states that Ms. Bayless
        4           Do you see that?                                     4   presented with a chief complaint of vaginal
        5       A. Yes.                                                  5   discharge, right?
        6       Q. And says, "It can also affect the                     6      A. With odor, correct.
        7   outcome of the surgical intervention with respect            7      Q. And under "Onset" the provider wrote,
        8   to wound healing and risk of pelvic organ prolapse           8   "Ms. Bayless comes in for evaluation on her vaginal
        9   reoccurrence."                                               9   odor and discharge."
       10           Do you agree with that statement?                   10      A. Correct.
       11       A. Yes. If she develops upper respiratory               11      Q. And then it says that "She did have a
       12   issues, that can increase the risk of recurrent             12   history of gonorrhea in the past on two occasions
       13   prolapse and also can increase the urinary                  13   and wanted to be checked at this time for her
       14   incontinence.                                               14   problems."
       15           There is some data to suggest that all              15      A. Correct.
       16   of the products that you alluded to earlier that            16      Q. Your report doesn't discuss the
       17   are in cigarette smoke can irritate the bladder and         17   frequency with which Ms. Bayless had been diagnosed
       18   so, you know, it's always wise to recommend to our          18   with or treated for gonorrhea, correct?
       19   patients to quit smoking.                                   19      A. I do discuss that she had a history of
       20       Q. Okay. Do you agree that this record                  20   gonorrhea in the past. I didn't review and rely
       21   indicates Dr. Jones counseled Ms. Bayless that she          21   upon this. It is a past history of gonorrhea on
       22   was at a high risk of less than optimal surgical            22   two occasions.
       23   outcome due to her long history of smoking?                 23      Q. All right. And I don't believe your
       24       A. With respect to wound healing and                    24   report discusses any other STD, does it?

                                                              Page 79                                                      Page 81
        1 recurrence.                                                    1       A. No, it does discuss trichomoniasis.
        2     Q.   Okay. Are you aware that -- well,                     2       Q. Okay. Now, the record goes on --
        3 you've read her deposition, so you know that                   3       A. But it is -- it is debated whether
        4 Dr. Jones testified that she thought Ms. Bayless'              4   trichomoniasis is truly a STD.
        5 30-pack-year history of smoking would have delayed             5       Q. Okay. The record goes on to note that
        6 healing or improper wound healing at the time she              6   Ms. Bayless was "mentioning urinary and fecal
        7 underwent the surgical repair for the urinary                  7   incontinence since having her second child 25 years
        8 incontinence and for pelvic organ prolapse. Do you             8   ago without any interventions," correct?
        9 agree with that?                                               9       A. Correct.
       10     A.   That's what she stated in her                        10       Q. Your litigation report doesn't mention
       11 deposition.                                                   11   any history of fecal incontinence, does it?
       12     Q.   All right, sir. Now, let's look at                   12       A. No, that is not in my report.
       13 Tab No. 3, and this is a record dated December the            13       Q. You would agree, though, that even minor
       14 10th of 2012. I will mark this. I think we are up             14   or infrequent fecal incontinence can put a patient
       15 to Exhibit 3. Reflecting a visit Ms. Bayless made             15   at a higher risk of developing bacterial vaginosis?
       16 to the Brevard Health Department.                             16       A. Not -- no. Bacterial vaginosis is the
       17           (WHEREUPON, Rosenzweig Deposition                   17   normal bacteria inside the vagina. Fecal
       18            Exhibit No. 3 was marked for                       18   incontinence can increase the risk of urinary tract
       19            identification: 12/10/12 medical                   19   infection.
       20            record; COL-RBAYLESS-BREVARD-000004                20       Q. All right. On the second page, the
       21            - 000006.)                                         21   provider documented Ms. Bayless admitting to
       22   BY MR. PERSONS:                                             22   "Urination problems - dribbling, foul smell,
       23      Q. That is about nine months before she                  23   urgency."
       24   underwent her hysterectomy and implantation                 24           Do you see that entry?

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        1      A. Correct.                                           1   yellow or green?
        2      Q. So, in addition to urinary incontinence,           2       A. It's usually yellow and green. White
        3   she was complaining of urinary urgency, wasn't she?      3   homogeneous is more bacterial vaginosis.
        4      A. Yes, and that was noted by her previous            4       Q. Trichomonas can also cause vaginal
        5   doctor on May 7, 2012, with diagnosis of mixed           5   itching, can't it?
        6   incontinence.                                            6       A. Not characteristically, but it can.
        7      Q. And also malodorous, that was another              7       Q. It can also cause dysuria?
        8   entry, a thing that she was complaining of?              8       A. Less commonly, but it can.
        9      A. On this date, correct.                             9       Q. Can cause painful urination?
       10      Q. At the bottom of this page under                  10       A. Less commonly, but it can.
       11   "Genitourinary Systems" -- "Genitourinary Female,"      11       Q. And can also cause dyspareunia?
       12   excuse me, the provider also documented, "Anterior      12       A. Most women don't want to have
       13   and posterior pelvic organ prolapse and yellowish       13   intercourse when they have a trichomoniasis
       14   vaginal discharge"?                                     14   infection active. But it can.
       15      A. Correct.                                          15       Q. Okay. Now, patients who have had
       16      Q. At the top of the next page under                 16   trichomonas previously are at a higher risk for
       17   "Rectal," it says, "Fecal incontinence, decrease        17   contracting it again. Yes?
       18   sphincter tone."                                        18       A. Not necessarily.
       19          Do you see that?                                 19       Q. Would you agree that patients who have
       20      A. Yes.                                              20   had a history of other STDs such as gonorrhea are
       21      Q. And you would agree that decreased                21   at a higher risk of contracting trichomonas?
       22   sphincter tone is a symptom of rectocele or             22       A. Not necessarily.
       23   posterior prolapse?                                     23       Q. But they can?
       24      A. No.                                               24       A. Well, you have to be exposed to the
                                                        Page 83                                                    Page 85
        1       Q. Okay. You don't agree with that?                  1   trichomonad. There are a lot of people that feel
        2       A. That is correct. I mean, they are two             2   that it is a contaminant from the stool, so that it
        3   different things.                                        3   wouldn't have any -- sexual intercourse wouldn't
        4       Q. All right. You would agree that                   4   have any impact on getting the trichomonad.
        5   decreased sphincter tone can contribute to fecal         5       Q. Unprotected sex raises the risk of
        6   incontinence?                                            6   contracting trichomonas, doesn't it?
        7       A. That -- yes.                                      7       A. Again, more likely than not, no. It is
        8       Q. All right. Now, further down under                8   more likely than not from a rectal reservoir.
        9   "Assessment and Plan," Ms. Bayless was diagnosed         9       Q. But it can?
       10   with "Vaginitis and vulvovaginitis, unspecified"?       10       A. There is no conclusive data that it is
       11       A. Correct.                                         11   sexually transmitted, but it can.
       12       Q. The comments documented a wet prep for           12       Q. And you're aware that Ms. Bayless
       13   trichomonas was obtained and started on Flagyl 400      13   testified that she had one partner for 15 years,
       14   milligrams orally twice a day for seven days,           14   but a lot of times they didn't use a condom and a
       15   correct?                                                15   lot of times they did?
       16       A. Correct.                                         16       A. Correct.
       17       Q. And trichomonas, you say it's debatable          17       Q. If trichomonas isn't treated properly,
       18   whether it's truly an STD, but there is no debate       18   it can persist for months or even years, can't it?
       19   that it's caused by a parasite, correct?                19       A. It could persist as asymptomatic, but
       20       A. Correct. But -- correct.                         20   she was given the appropriate therapy of Flagyl for
       21       Q. And trichomonas can cause foul-smelling          21   seven days twice a day.
       22   vaginal discharge. Yes?                                 22       Q. But if it's not treated properly, it can
       23       A. Correct.                                         23   persist for months or years?
       24       Q. And the discharge can be white, gray,            24       A. As an asymptomatic harboring, that is

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                                                                 Page 86                                                 Page 88
        1 remotely possible.                                                1      Q. But it's not in your summary of the
        2      Q. Now, let's look at Tab No. 4.                             2   medical record, though, is it, in your report, in
        3          (WHEREUPON, Rosenzweig Deposition                        3   the text of your report?
        4             Exhibit No. 4 was marked for                          4      A. It is a remote history that she had
        5             identification: 5/28/13 medical                       5   prior to the surgery.
        6             record; COL-RBAYLESS-ORLANDO-000015                   6      Q. Okay. Let's go to page 3 under
        7         - 000018.)                                                7   "Discussion," and on that page, Dr. Jones wrote
        8 BY MR. PERSONS:                                                   8   that she and Ms. Bayless discussed "abdominal
        9      Q. This is a May 28, 2013 record from                        9   approach, laparoscopic and vaginal approach or
       10 Dr. Jones' pre-op history and physical, surgical                 10   total vaginal approach," with regard to surgical
       11 plan.                                                            11   treatment of Ms. Bayless' prolapse.
       12         Do you see that?                                         12           Do you see that?
       13      A. Yes.                                                     13      A. Yes.
       14      Q. And it says Ms. Bayless presented to                     14      Q. And she further explained that "Each of
       15 Dr. Jones for follow-up to discuss surgery.                      15   these procedures can be combined with graft
       16          Do you see that?                                        16   augmentation either biologic or synthetic mesh,"
       17      A. Yes.                                                     17   right? That's what she says here?
       18      Q. And under "HPI," "Follow-up to discuss                   18      A. Correct.
       19   surgery."                                                      19      Q. Then she went on to detail each of these
       20          And beneath that, under "Problems,"                     20   procedures, didn't she?
       21   Dr. Jones listed bacterial vaginosis, candidiasis,             21      A. Yes.
       22   midline cystocele, incomplete uterovaginal                     22      Q. No. 1, "Vaginal," options discussed
       23   prolapse, prolapse of vaginal vault after                      23   include total vaginectomy, colpocleisis with
       24   hysterectomy, mixed incontinence.                              24   perineoplasty. Do you see that?
                                                           Page 87                                                       Page 89
        1           Do you see all those?                                   1       A. Yes.
        2       A. Yes.                                                     2       Q. Now, that's not an option for patients
        3       Q. Do you agree that this reflects that                     3   like Ms. Bayless who want to continue having sex,
        4   Ms. Bayless had a history of bacterial vaginosis                4   is it?
        5   prior to undergoing the August 13 -- August 9, 2013             5       A. That would not be a good option for
        6   procedure?                                                      6   someone who wanted to have sexual intercourse.
        7       A. Well, stating the record but, again,                     7       Q. Because it closes the vagina completely,
        8   according to the medical records that we have                   8   doesn't it, permanently?
        9   reviewed, we have documented trichomoniasis. I do               9       A. The intent is that it would be
       10   not specifically recall prior to this record a                 10   completely closed permanently.
       11   positive either culture or PCR for bacterial                   11       Q. The other vaginal --
       12   vaginosis.                                                     12       A. There is a way of doing it that women
       13       Q. But according to this record, this                      13   can continue to have intercourse.
       14   entry, bacterial vaginosis was a problem that was              14       Q. Okay. But the other vaginal options
       15   identified pre-surgery, pre-August 9, 2013 surgery,            15   included a cystocele/rectocele repair with graft,
       16   correct?                                                       16   right?
       17       A. According to this record, correct.                      17       A. Correct.
       18       Q. All right. And this record also                         18       Q. Sacrospinous ligament fixation that
       19   reflects a history of vaginal candidiasis prior to             19   would require a 23-hour hospital stay?
       20   the August 9, 2013 procedure. Yes?                             20       A. Correct.
       21       A. That's what the record states.                          21       Q. And that is a native tissue repair that
       22       Q. All right. And there's no mention of                    22   doesn't use mesh, right?
       23   that anywhere in your summary, is there?                       23       A. Well, when you do the repair with a
       24       A. It's in the medical record.                             24   graft, then it would. But you can do it without.

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                                                       Page 90                                                     Page 92
        1          The way she describes it, it would be            1   that this surgery would be performed via a
        2   with mesh, but it can be done without mesh.             2   robotic-assisted laparoscopic approach, didn't she?
        3       Q. And we'll discuss that later. But one            3      A. Correct.
        4   of the alternatives that you claim would have been      4      Q. And that it would require a 23-hour
        5   a safer option for Ms. Bayless' POP repair or           5   hospital stay?
        6   pelvic organ prolapse repair would have been the        6      A. Correct.
        7   native tissue repair without mesh, right?               7      Q. And that the robotic-assisted
        8       A. Correct.                                         8   laparoscopic approach could be combined with a
        9       Q. Now, Dr. Jones then detailed the                 9   cystocele repair if necessary?
       10   abdominal approach that she says is the "gold          10      A. Correct.
       11   standard for vaginal vault prolapse and uterine        11      Q. And then she, Dr. Jones, went on to
       12   prolapse includes abdominal sacral colpopexy with      12   describe the traditional open surgery.
       13   mesh."                                                 13           Do you see that?
       14          Do you see that?                                14      A. Yes.
       15       A. That's what she states.                         15      Q. When she talks about a sacral colpopexy
       16       Q. Dr. Jones actually referred to the              16   with mesh, cystocele repair with a two-to-three-day
       17   abdominal sacral colpopexy with mesh as the gold       17   hospital stay?
       18   standard for surgical correction of vaginal vault      18      A. Correct.
       19   prolapse and uterine prolapse, didn't she?             19      Q. And that's significantly longer than the
       20       A. That's what the record states.                  20   23-hour stay referenced in regard to the vaginal
       21       Q. And Dr. Jones gave Ms. Bayless an               21   cystocele/rectocele repair with the graft or the
       22   explanation on the use of graft augmentation           22   robotic-assisted laparoscopic approach, correct?
       23   materials and advanced prolapse repair. Yes?           23      A. Correct.
       24       A. Correct.                                        24      Q. And, lastly, Dr. Jones wrote that the
                                                         Page 91                                                   Page 93
        1      Q. Including discussing the possible                 1   recovery period is the same for all reconstructive
        2   complications with hematoma, delayed healing,           2   procedures, about 12 weeks.
        3   exposure and/or extrusion. Yes?                         3          Do you see that?
        4      A. That's what the record states.                    4      A. Yes.
        5      Q. And you'd agree the risk/benefit                  5      Q. And having read her deposition, you are
        6   discussion between Ms. Bayless and Dr. Jones is         6   aware that Dr. Jones testified that she generally
        7   relevant to your opinions?                              7   orders her patients to refrain from physical and
        8      A. Correct.                                          8   sexual activity following surgery for a period of
        9      Q. But that's not noted anywhere in your             9   approximately 12 weeks?
       10   summary of this record, is it?                         10      A. That I don't specifically recall that
       11      MR. HABERMAN: Objection.                            11   she said refrain from physical or sexual activity
       12   BY THE WITNESS:                                        12   for 12 weeks.
       13      A. It is. The doctor discussed abdominal            13          Most of us say after these procedures
       14   approach, laparoscopic approach, vaginal approach.     14   four to six weeks of refraining from sexual
       15   Each of these procedures can be combined with graft    15   activity.
       16   augmentation either biological or synthetic.           16      Q. All right. Well, are you saying you
       17   BY MR. PERSONS:                                        17   don't recall or -- okay.
       18      Q. But you didn't discuss the risk/benefit          18          Even though you don't recall it, do you
       19   discussion?                                            19   dispute that she said that in her deposition?
       20      MR. HABERMAN: Objection.                            20      A. I do have a general recollection of her
       21   BY THE WITNESS:                                        21   discussing the recommendations that she gives to a
       22      A. That was in the medical records.                 22   patient. What she stated in her deposition is what
       23   BY MR. PERSONS:                                        23   she stated.
       24      Q. All right. Now, Dr. Jones explained              24      Q. You don't dispute that her testimony was

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                                                          Page 94                                                   Page 96
        1 that she orders her patients to refrain from               1   for sexual intercourse. I agree with all the
        2 physical and sexual activity following surgery for         2   physical activity. Yeah, I tell my patients the
        3 a period of 12 weeks?                                      3   same thing. But she didn't clarify what her normal
        4     A. I would say physical activity, yes. We              4   is for refraining from sexual intercourse, because
        5 don't want patients to do heavy lifting after              5   12 weeks would be the longest that I've heard of
        6 pelvic organ prolapse surgery.                             6   someone asking a patient to refrain from sexual
        7      Q. Okay.                                              7   intercourse after a pelvic organ prolapse repair.
        8      A. But I don't specifically recall that she           8           So, I will agree that that was
        9   had sexual activity for 12 weeks too.                    9   contextually in there, but it could be argued
       10      Q. All right. Let's look at her                      10   whether or not she truly meant 12 weeks. But I
       11   deposition. Starting on page 71, last line.             11   will agree that's what her deposition stated.
       12      MR. PERSONS: Can you put that up, Zach.              12       Q. That's what she said.
       13      MR. BURNETT: I need to switch Zoom back to my        13           And this is a situation where you're
       14   laptop. I switched to my iPad because it's better       14   having the patient not only undergoing the pelvic
       15   connection, but to screen share I need to get back      15   organ prolapse procedure and the stress urinary
       16   to my laptop. I apologize.                              16   incontinence procedure but also a hysterectomy?
       17   BY THE WITNESS:                                         17       A. Correct.
       18      A. If you want to just read it, then I will          18       Q. So, that could account for why she says
       19   agree that that's what that page says.                  19   12 weeks?
       20   BY MR. PERSONS:                                         20       A. No. I think --
       21      Q. All right. Let me just read it into the           21       MR. HABERMAN: Objection; calls for
       22   record.                                                 22   speculation.
       23      A. Okay.                                             23   BY THE WITNESS:
       24      Q. It says:                                          24       A. Again, I have not heard of someone
                                                          Page 95                                                   Page 97
        1          "And it says, briefly discussed                   1   asking a patient to refrain for 12 weeks after a
        2      recovery time of approximately 12                     2   hysterectomy and a prolapse repair.
        3      weeks plus activity restrictions?                     3           But, you know, again, that was added on
        4          "A. Yes.                                          4   at the end of, "And you would give a restriction to
        5          "Q. And what activity                             5   sexual intercourse," and she said, "Yes."
        6      restrictions would you recommend                      6           You're tying that to the 12-week mark.
        7      after surgery?                                        7   She wasn't asked specifically, "At how many weeks
        8          "A. Generally, no heavy                           8   do you ask them to refrain from sexual
        9      lifting, straining, pushing,                          9   intercourse?"
       10      pulling, bending, stooping -- that's                 10           All the other ones, I agree for 12
       11      greater than 10 pounds. We usually                   11   weeks, yes. We don't want them to do any heavy
       12      encourage patients to do their                       12   lifting because that affects the prolapse repair.
       13      grocery shopping with a pulley. Not                  13       Q. All right. Let's look at page 94 of her
       14      to do any housework. That means                      14   deposition.
       15      flipping mattresses, pushing                         15       A. Okay.
       16      furniture around, anything that will                 16       Q. And starting on line 8:
       17      cause any strain on the abdominal                    17           "Q. Your form, your consent
       18      wall.                                                18        form, also notes that physical and
       19          "Q. And I think you said                         19        sexual activity are to be restricted
       20      this, but that would include                         20        for a period of time after surgery,
       21      refraining from sexual intercourse,                  21        right?
       22      right?                                               22           "A. Yes.
       23          "A. Correct."                                    23           "Q. And I think you said your
       24      A. Yes. But she didn't give a time frame             24        general restricted period is

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                                                          Page 98                                                      Page 100
        1        approximately 12 weeks, is that                       1      Q. And she was offered a graft-augmented
        2        right?                                                2   option for each approach, wasn't she?
        3            "A. Yes."                                         3      A. Well, there is no graft option for a
        4            Okay. So we're clear now that she wanted          4   vaginectomy colpocleisis.
        5   the patient, Ms. Bayless, to refrain from sexual           5      Q. Well, setting that aside.
        6   activity for 12 weeks. That's what her testimony           6      A. Okay. Well, yes, it was -- the only
        7   is.                                                        7   option she gave her for all the rest was a graft
        8       MR. HABERMAN: Objection.                               8   augmentation.
        9   BY THE WITNESS:                                            9      Q. She also offered a sacrospinous ligament
       10       A. No. You're still interpreting that.                10   fixation, and that doesn't use mesh, does it?
       11   That is an interpretation because it says                 11      A. No, but the cystocele/rectocele repair
       12   "generally." Okay. You didn't say "specifically."         12   with graft is with graft.
       13   BY MR. PERSONS:                                           13      Q. Under "Surgical Plan," if you'll turn to
       14       Q. You dispute that's what the doctor's               14   that page, it's on the next page, Dr. Jones
       15   testimony says on page --                                 15   recorded that Ms. Bayless opted for
       16       A. I'm not disputing that that -- I'm not             16   robotic-assisted total laparoscopic sacral
       17   disputing that that's what the testimony says.            17   colpopexy with mesh, possible sling, possible
       18   It's just that that's your interpretation of that         18   cystocele repair, cystoscopy.
       19   testimony.                                                19          Do you see that?
       20       Q. Okay. All right. Well, that's your                 20      A. Yes.
       21   testimony.                                                21      Q. And Dr. Jones documented another
       22            Now, Dr. Jones referred to the -- those          22   discussion regarding the risks and benefits of that
       23   postoperative restrictions are intended to                23   procedure, didn't she?
       24   facilitate wound healing after surgery, correct?          24      A. Correct.
                                                            Page 99                                                     Page 101
        1       A. Those restrictions are to prevent --                1      Q. She says, "The patient was informed of
        2   well, sexual intercourse, to allow the vagina to           2   the risks and benefits of the surgical procedure
        3   heal. The restrictions on lifting are to prevent           3   noted above. These risks are noted as but not
        4   recurrence.                                                4   limited to infection, bleeding, damage to
        5       Q. But you would agree that certain                    5   surrounding organs such as bowel, bladder and
        6   physical activities can disrupt the incision site?         6   ureter, prolonged need for urinary catheterization,
        7       A. After the four-week period, more likely             7   incomplete bladder emptying, pain with intercourse,
        8   than not, no, beside sexual activity within the            8   poor wound healing, worsening or no change in
        9   first four to six weeks.                                   9   urinary incontinence and/or recurrence of
       10       Q. That can disrupt the incision site.                10   prolapse." Correct?
       11   Yes?                                                      11      A. Correct.
       12       A. It can, yes.                                       12      Q. And the record says that the patient,
       13       Q. You'd agree this record indicates that             13   Ms. Bayless, voiced an understanding of these risks
       14   Ms. Bayless was offered a non-mesh option for each        14   and elected to proceed with the procedure.
       15   surgical approach, the abdominal, laparoscopic and        15           Do you see that?
       16   vaginal and the total vaginal. Yes?                       16      A. Yes.
       17       A. The only non-mesh approach would be the            17      Q. And Dr. Jones references Ms. Bayless
       18   total vaginectomy colpocleisis, because she says          18   signing written consent forms regarding the risks
       19   cystocele/enterocele repair with mesh; the                19   and benefits.
       20   colposacropexy, mesh; and the traditional open            20           Do you see that?
       21   colposacropexy with mesh.                                 21      A. Yes.
       22           So, the only non-mesh procedure she               22      Q. All right. Now, you didn't reference
       23   offered for the pelvic organ prolapse repair was          23   any of the consent forms in your litigation report,
       24   the vaginectomy colpocleisis.                             24   did you?

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                                          Bruce Rosenzweig, M.D.
                                                    Page 102                                                        Page 104
        1      A. They're in the medical records.                 1   you have a weakness in the wall of your vagina
        2      Q. So, you did review them?                        2   through which the bladder or bowel may protrude and
        3      A. Yes.                                            3   which requires surgical repair. This operation is
        4      Q. All right. Why didn't you summarize             4   called a colporrhaphy, and when both the front and
        5   them in your written report?                          5   back walls of the vagina are repaired, it is
        6      A. They're in the medical records.                 6   commonly known as an 'A and P repair.' The
        7      Q. Okay. So, if something is in the                7   operation involves surgical incisions or 'cuts' in
        8   medical records, you didn't summarize them in your    8   the front and/or back walls of the vagina.
        9   report?                                               9   Complications from this surgery are uncommon but
       10      MR. HABERMAN: Objection.                          10   they do occur."
       11   BY THE WITNESS:                                      11           Do you see that?
       12      A. Well, they're summarized as the doctor         12           Did I read that correctly?
       13   discussed the approach, and those are -- the rest    13       A. Yes, sir.
       14   are in the medical records.                          14       Q. All right. Now, do you agree that this
       15   BY MR. PERSONS:                                      15   consent form is describing a surgical procedure to
       16      Q. All right. Let's look at tab 4-A.              16   treat prolapse that does not use mesh, correct?
       17             (WHEREUPON, Rosenzweig Deposition          17       A. Correct.
       18              Exhibit No. 5 was marked for              18       Q. And a non-mesh or native tissue repair
       19              identification: Consent Form,             19   is one of the surgical alternatives that you
       20              "Procedure: Anterior and/or               20   contend is safer than the Restorelle Y, correct?
       21              Posterior Colporrhaphy";                  21       A. Yes, but we do recall that when
       22              COL-RBAYLESS-ORLANDO-000024.)             22   Dr. Jones was, from the prior record, when
       23   BY MR. PERSONS:                                      23   Dr. Jones was discussing the way the anterior and
       24      Q. This is the first of the consent forms         24   posterior colporrhaphy would be done if she had

                                                    Page 103                                                        Page 105
        1   we're going to discuss, and the heading on this       1   chosen that to be done would be with mesh
        2   one, "Procedure: Anterior and/or Posterior            2   augmentation.
        3   Colporrhaphy." Do you see that at the top?            3      Q. For the purposes of this discussion,
        4      A. Yes.                                            4   we're talking about what's on this form. And you
        5      Q. And at the bottom do you see where this         5   agree that this form, this is describing a surgical
        6   form is signed and dated May 28, 2013?                6   procedure that does not use mesh. You agree with
        7           Do you see that?                              7   that?
        8      A. Yes.                                            8      A. No. It doesn't describe nor does it not
        9      Q. That's a little more than two months            9   describe how the procedure is going to be done.
       10   prior to the August 9, 2013 procedures, right?       10      Q. You would agree that mesh isn't
       11      A. Correct.                                       11   mentioned anywhere in this form, though, wouldn't
       12      Q. And Dr. Jones and the patient, both            12   you?
       13   Dr. Jones and the patient signed the form?           13      A. That is -- that is correct.
       14      A. Correct.                                       14      Q. All right. Now, jump down to the fourth
       15      Q. And I'll represent to you -- well, I           15   sentence in the first paragraph under
       16   don't have to represent to you. You've read the      16   "Complications" -- starting with "Complications."
       17   depositions.                                         17          Do you see that?
       18           Both Dr. Bayless and Dr. Jones -- both       18      A. Yes.
       19   Ms. Bayless and Dr. Jones testified that they        19      Q. "Complications from this procedure."
       20   discussed this form with one another prior to        20   Would you read that into the record.
       21   signing, correct?                                    21      A. "Some of the complications of this
       22      A. Correct.                                       22   operation may require further major surgery; some
       23      Q. Now, let's see. The first three                23   may cause prolonged illness, permanent deformity,
       24   sentences state, "Your doctor has determined that    24   poor healing wounds, scarring; and very rarely some

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                                          Bruce Rosenzweig, M.D.
                                                      Page 106                                                  Page 108
        1   can be fatal. Furthermore, there may be                1   form relates to an anterior and posterior
        2   alternatives to this surgery available to you, such    2   colporrhaphy with mesh.
        3   as other types of surgery or the use of supports.      3      Q. The form doesn't say that, doesn't it?
        4   However, these alternative methods carry their own     4      A. No, but the last note we read said that
        5   risk of complications and varying degrees of           5   that's how she performs her anterior and posterior
        6   success. Therefore, in those patients in whom an       6   colporrhaphies.
        7   A and P repair is indicated, the procedure may         7      Q. I understand that, but we're talking
        8   provide the patient with the best chance of            8   about the form, 4-A. The form does not -- doesn't
        9   successful treatment and the lowest risk of            9   say that?
       10   complications."                                       10      A. Why would Dr. Jones have her sign a form
       11       Q. Now, you see where it says,                    11   for an operation that she wasn't recommending?
       12   "Reoccurrence of the condition occasionally           12      Q. Well, we're not talking about what
       13   happens"?                                             13   Dr. Jones said outside of this form. I'm talking
       14       A. Yes.                                           14   about what's in the body of this form. That's what
       15       Q. Would you read that.                           15   I'm asking you questions about right now.
       16       A. Okay, now, where are we again?                 16      A. But Dr. Jones --
       17       Q. Look up in the first full paragraph and        17      Q. Pre-admitting --
       18   there's a sentence that begins "Reoccurrence."        18      MR. HABERMAN: Objection.
       19       A. Yes.                                           19             (Simultaneous crosstalk.)
       20           "Reoccurrence of the condition                20   BY THE WITNESS:
       21   occasionally happens even after successful repair     21      A. Dr. Jones signed this form, and we saw
       22   of the vaginal walls. It is possible that the         22   from the prior record that Dr. Jones does her
       23   operation may not help. It is even possible that      23   anterior and posterior colporrhaphies with graft
       24   you will be worse after the operation than you are    24   augmentation.
                                                      Page 107                                                  Page 109
        1   right now. Because of these facts, the doctor can      1       MR. PERSONS: Object. Non-responsive.
        2   make no guarantees as to the result that might be      2   BY MR. PERSONS:
        3   obtained from this operation. However, in the vast     3       Q. I'm asking you questions specific about
        4   majority of patients, the result desired is            4   the form. That's all, sir.
        5   achieved."                                             5       MR. HABERMAN: Again, objection.
        6       Q. Now, you agree that this indicates that         6   BY THE WITNESS:
        7   non-mesh pelvic organ prolapse surgeries have          7       A. But it's specific to the way Dr. Jones
        8   risks, don't they?                                     8   does her surgery.
        9       A. Yes.                                            9   BY MR. PERSONS:
       10       Q. There's a risk of recurrence of the            10       Q. This says complications -- a
       11   relapse. Yes?                                         11   complication of a colporrhaphy could be bleeding
       12       A. Of the prolapse, yes.                          12   and infection. Would you agree that that is a risk
       13       Q. Failure of the procedure to treat the          13   associated with surgery?
       14   prolapse, correct?                                    14       A. Yes.
       15       A. Correct.                                       15       Q. And it can damage the urinary system.
       16       Q. And the possibility of worsening               16   Surgery can cause that. A colporrhaphy can cause
       17   prolapse even after the surgery?                      17   that?
       18       A. Correct.                                       18       MR. HABERMAN: Objection.
       19       Q. And it is also noted here that non-mesh        19   BY THE WITNESS:
       20   pelvic prolapse -- pelvic organ prolapse surgeries    20       A. The surgical procedure, correct.
       21   carry the risk of bleeding and infection?             21   BY MR. PERSONS:
       22       A. Again, remember, Dr. Jones in her prior        22       Q. And a colporrhaphy, surgical procedure,
       23   discussion said that this operation would be done     23   it can cause fistulas, can't it?
       24   with mesh. So, we have to assume that this consent    24       A. The surgical procedure, correct.

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                                             Bruce Rosenzweig, M.D.
                                                       Page 110                                                          Page 112
        1       Q. And as a consequence you can -- the                 1   BY MR. PERSONS:
        2   patient could have difficulty controlling                  2       Q. This requires no explanation. That a
        3   urination?                                                 3   complication of a colporrhaphy is that it can
        4       A. From the surgical procedure, correct.               4   rarely but sometimes be fatal.
        5       Q. And from the procedure the patient could            5       MR. HABERMAN: I'm not going to argue with
        6   have dyspareunia. That's a possible complication           6   you. You ask the questions. He answers them.
        7   of a colporrhaphy?                                         7   BY MR. PERSONS:
        8       A. Rarely when an anterior colporrhaphy is             8       Q. Did you hear my question?
        9   done without mesh.                                         9       A. The surgery can be associated with
       10       Q. But it can happen?                                 10   fatality.
       11       A. That's what the data shows.                        11       Q. Thank you. Now, nowhere in this form
       12       Q. The fourth paragraph of this form says             12   does this form indicate that any of the
       13   that some of the complications of a non-mesh pelvic       13   complications discussed here are restricted to the
       14   organ prolapse repair may require further major           14   postoperative period, correct?
       15   surgery.                                                  15       A. No, it says that the surgery. So, yes,
       16           That's one of the potential                       16   it's related to the surgery.
       17   complications, isn't it?                                  17       Q. Right, the surgery.
       18       A. We already discussed this paragraph.               18       A. The surgery, correct.
       19       Q. Whether it's done with or without mesh,            19       Q. And then the last thing we see here
       20   it can result in that, can't it?                          20   under the last paragraph -- not the last thing, but
       21       A. The surgery, correct.                              21   under the last full paragraph is "Cystocele
       22       Q. And may cause prolonged illness?                   22   repair"; and that's written in hand and Dr. Jones
       23       A. The surgery, correct.                              23   testified that this is her handwriting?
       24       Q. May result in permanent deformity?                 24       A. That it's her handwriting?
                                                           Page 111                                                        Page 113
        1      A.    Correct.                                          1       Q. Her handwriting.
        2          I've already read this into the record.             2       A. Correct.
        3   Why -- I mean, we're --                                    3       Q. All right. Now, let's look at the
        4      Q. If you'd just answer my questions, we                4   second form. We've marked this 4-B.
        5   could get through this. I mean, we really could.           5              (WHEREUPON, Rosenzweig Deposition
        6          I'm limited in terms of time. There is              6               Exhibit No. 6 was marked for
        7   a purpose for my questions. I didn't just come up          7               identification: Consent Form,
        8   with these things. I spent a lot of time                   8               "Augmentation Graft Consent Form";
        9   developing this outline, sir.                              9               COL-RBAYLESS-ORLANDO-000026.)
       10          Will you answer the questions?                     10       MR. HABERMAN: You know, I need another break
       11      A. I'm sure you did.                                   11   if that's all right. We've been going quite some
       12      MR. HABERMAN: Objection; argumentative.                12   time.
       13   Argumentative. Come on.                                   13       MR. PERSONS: What do you need?
       14   BY MR. PERSONS:                                           14       MR. HABERMAN: I just need another five
       15      Q. Just answer the question.                           15   minutes or so.
       16      MR. HABERMAN: He is answering the questions.           16       MR. PERSONS: Sure.
       17   You just don't like his answers. He is answering          17       MR. HABERMAN: All right.
       18   the questions. You just don't like them.                  18       MR. PERSONS: We'll go off for five.
       19      MR. PERSONS: That's not true.                          19       MR. HABERMAN: Okay.
       20      MR. HABERMAN: It is.                                   20              (WHEREUPON, a recess was had
       21      MR. PERSONS: If he'd say yes or no, we would           21               from 11:42 to 11:54 a.m.)
       22   move on.                                                  22   BY MR. PERSONS:
       23      MR. HABERMAN: But these are not yes-or-no              23       Q. So, we're back and we're on tab 4-B, and
       24   questions. He is allowed to explain his answers.          24   this is the "Augmentation Graft Consent Form." And

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                                          Bruce Rosenzweig, M.D.
                                                      Page 114                                                        Page 116
        1   at the bottom it's signed and dated by both the        1       A. Correct.
        2   patient and the doctor.                                2       Q. After surgery that the -- there have
        3           Do you see that, Dr. Rosenzweig?               3   been failures of the allograft. Yes?
        4       A. I'm not sure that one -- okay. There's          4       A. That there have been some reports.
        5   6. Great, thank you.                                   5       Q. Okay.
        6           Yes.                                           6       A. But there have been other reports that
        7       Q. Okay. And in the first paragraph, it            7   show there is no difference.
        8   explains that the graft material used to augment a     8       Q. All right. Now we'll discuss more on
        9   pelvic floor reconstructive surgery includes           9   this later, but an allograft is one of the
       10   fascia, pig scan, cow skin, human skin and            10   alternatives that you contend would have been safer
       11   synthetic materials such as mesh.                     11   for the treatment of Ms. Bayless' pelvic organ
       12           Do you see that?                              12   prolapse, correct?
       13       A. Yes.                                           13       A. Correct.
       14       Q. And a graft made from donated human            14       Q. Now, the fourth paragraph of this
       15   tissue is known as an allograft, isn't it?            15   document, 4-B, goes on to explain that "When mesh
       16       A. Correct.                                       16   is used in gynecological surgery, there is a 5 to
       17       Q. And a graft made from pig or cow skin is       17   10% chance that this mesh can cause delayed healing
       18   known as a xenograft?                                 18   and eventually erode into the vagina, requiring a
       19       A. Correct.                                       19   second surgery to remove it."
       20       Q. And I will represent that Dr. Jones drew       20           Do you see that?
       21   a circle around the word "synthetic" and underlined   21       A. Yes.
       22   the words that follow that.                           22       Q. All right. And, again, I'll represent
       23       A. Correct.                                       23   that Dr. Jones testified that she drew the star
       24       Q. Okay. Now, the third paragraph begins,         24   next to the last sentence and the two stars next to

                                                      Page 115                                                      Page 117
        1   "In the last several years, there have been reports    1   the sentence below it that said, "Sling material is
        2   of early surgical failures using donor fascia.         2   made of synthetic material/mesh."
        3   This is believed to be related to the rigorous         3           Do you see that?
        4   treatment process used to prevent any viral            4       A. Yes.
        5   transmission. The failures were noted as early as      5       Q. All right.
        6   six months after surgery. Thus, recently more of       6       A. And, so, just to reiterate, this is
        7   the other materials derived from the pig skin, pig     7   saying that the mesh causes delayed healing.
        8   intestine, cow skin and synthetic mesh have been       8       Q. There was no question pending, so I'd
        9   used in pelvic organ prolapse surgeries."              9   move to strike that comment.
       10           Did I read that correctly, Doctor?            10           Now, the question is: This form
       11       A. Yes.                                           11   disclosed a 5 to 10% risk that synthetic mesh
       12       Q. And, so, this consent form disclosed the       12   would, quote, "erode" into Ms. Bayless' vagina.
       13   risk that human allografts have a high failure        13   Yes?
       14   rate, correct?                                        14       A. Would --
       15       A. No. This consent form highlights that          15       Q. According to this form.
       16   there have been some reports about that. There        16       A. -- cause that, yes.
       17   have been other reports that show that there is no    17       Q. And that if that occurred, that the
       18   failure rate.                                         18   patient may require a second surgery to remove the
       19           So, it's alerting the patient to that         19   mesh?
       20   there is a possibility that the allograft may be      20       A. Correct.
       21   associated in certain situations with an early        21       Q. And you have no reason to think that
       22   recurrence.                                           22   Ms. Bayless did not review this form before signing
       23       Q. But it does say that as early as six           23   it, do you?
       24   months following implant?                             24       MR. HABERMAN: Objection.

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                                          Bruce Rosenzweig, M.D.
                                                      Page 118                                                         Page 120
        1   BY THE WITNESS:                                        1   uterine prolapse anymore.
        2       A. I know she was asked that question at           2       Q. I understand that.
        3   her deposition, and I do not specifically recall       3           Do you disagree that this statement
        4   how she answered that question.                        4   regarding risk, that this is an incorrect statement
        5   BY MR. PERSONS:                                        5   regarding the risk of a hysterectomy?
        6       Q. All right. If she testified she                 6       A. Well, for prolapse because the uterus
        7   wouldn't sign anything without reading it, you have    7   would be gone.
        8   no reason to dispute that testimony, do you?           8       Q. Assume it's not for prolapse. Just
        9       A. Correct.                                        9   confining it to this statement, hysterectomy --
       10       Q. And you don't have any reason to think         10       A. Sure. If you have pelvic pain and the
       11   that Ms. Bayless did not review this form before      11   hysterectomy is for pelvic pain, there's a 25%
       12   signing it -- I asked you that. Strike that.          12   chance that the pelvic pain won't go away.
       13          You have no reason to think that               13       Q. Right. I think that's what this is
       14   Dr. Jones did not discuss this form with              14   talking about.
       15   Ms. Bayless before Ms. Bayless signed it?             15       A. Right, yeah.
       16       A. There might have been a double negative        16       Q. Jump down to the third paragraph, and
       17   in there. But according to her deposition,            17   this is talking about the risks of hysterectomy, if
       18   Dr. Jones stated that she did discuss this with       18   you would, please, sir.
       19   her.                                                  19           It talks about infection. Do you see
       20       Q. Thank you. Now, let's look at the next         20   that?
       21   document we've marked. It's under tab 4-C.            21       A. Yes.
       22             (WHEREUPON, Rosenzweig Deposition           22       Q. Infection, poor healing, formation of
       23              Exhibit No. 7 was marked for               23   adhesions, damage to surrounding areas, nerve
       24              identification: Consent Form,              24   damage causing weakness, numbness and painness --

                                                      Page 119                                                       Page 121
        1              "Hysterectomy Surgical Consent              1   numbness and pain in thighs, legs and feet, blood
        2              Form";                                      2   clots in legs and lungs, shortening of the vagina.
        3              COL-RBAYLESS-ORLANDO-000023.)               3           Do you see those?
        4   BY MR. PERSONS:                                        4       A. Yes. That's from the surgery, correct.
        5       Q. And it says, "Hysterectomy Surgical             5       Q. And this is particularly so when the
        6   Consent Form." And the third-to-last sentence in       6   cervix is also removed, isn't it?
        7   the first paragraph, if you could go there with me,    7       A. Yes, that would be a total hysterectomy.
        8   please, beginning with the words, "It is possible."    8       Q. Right. And shortening of the vagina,
        9           Do you see that?                               9   according to this, can even cause loss of -- not
       10       A. Yes.                                           10   shortening of the vagina. Hysterectomy can also
       11       Q. According to this form, this form says,        11   cause loss of libido, right?
       12   "It is possible that this operation will not help     12       A. Well, that's what this form states.
       13   you. It is even possible that you will be worse       13   Loss of libido hasn't been directly associated with
       14   after the operation than you are now."                14   doing a surgical procedure. It's usually
       15           Do you see that?                              15   associated with medication, psychological
       16       A. Yes, but that wouldn't apply to this           16   dysfunction. I mean, women can lose some sexual
       17   operation because her uterine prolapse wouldn't be    17   desire if they have a concomitant oophorectomy.
       18   worse because her uterus would be gone.               18   So, I mean, it's what this form states.
       19       Q. Well, right now we're just talking about       19           That I might want to challenge a little
       20   a hysterectomy. I mean, I'm just confining my         20   bit on its own. The data shows that a third of
       21   questions to this form.                               21   women that have a hysterectomy have more pleasure
       22       A. Right. But it states that you would be         22   with intercourse, a third of women have decreased
       23   worse from your condition after the operation, but    23   pleasure with intercourse and a third have the
       24   she doesn't have a uterus anymore so she can't have   24   same. So...

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                                                          Page 122                                                    Page 124
        1      Q. All right. But you would agree that the             1       Q. Right. Now, are you aware that
        2   uterus helps regulate hormones?                           2   Ms. Bayless testified that she requested the
        3      A. No.                                                 3   hysterectomy; that she was not advised that she
        4      Q. Okay. You disagree with that?                       4   needed one?
        5      A. Yes. The uterus is the organ that                   5       A. I do have a general recollection of that
        6   hormones respond to.                                      6   testimony.
        7           Now, there is some blood flow that comes          7       Q. All right. You are aware that she
        8   from the uterus to the ovary and sometimes if you         8   wanted her cervix removed in part because it was
        9   disrupt the blood flow to the ovary from the              9   causing her pain during intercourse. You recall
       10   uteroovarian ligament being transected at the time       10   that?
       11   of hysterectomy, you can develop ovarian cysts.          11       A. Yes.
       12   But the uterus doesn't do anything to produce            12       Q. And you're aware also that she testified
       13   hormones.                                                13   that she thought removing her cervix would prevent
       14      Q. You would agree that a hormonal                    14   future prolapse?
       15   imbalance can lead to loss of libido, though?            15       A. That I have a general recollection of
       16      A. If the ovaries are removed, it could.              16   that. That's what she thought. You can't --
       17      Q. Now, the last paragraph, last full                 17       Q. Pardon?
       18   paragraph says, "Finally, I understand that it is        18       A. You can't have prolapse of an organ if
       19   impossible to list every possible undesirable            19   it's not there.
       20   effect that the surgery may have, that the               20       Q. Right. Okay. Let's look at 4-D.
       21   condition for which surgery is done is not always        21              (WHEREUPON, Rosenzweig Deposition
       22   cured or significantly improved, and that in rare        22               Exhibit No. 8 was marked for
       23   cases the condition may even be worse" -- "may even      23               identification: Consent Form,
       24   worsen."                                                 24               "Informed Consent and Request for
                                                        Page 123                                                         Page 125
        1           Did I read that correctly?                        1              Repair of Relaxation of Pelvic
        2       A. Yes.                                               2              Organs and/or Urinary
        3       Q. Do you agree with that statement?                  3              Incontinence";
        4       A. It depends on why the hysterectomy is              4              COL-RBAYLESS-ORLANDO-000021 and
        5   done.                                                     5              000022.)
        6       Q. That it's impossible to list every risk            6   BY MR. PERSONS:
        7   of every surgery. You'd agree with that, wouldn't         7      Q. Now, this consent form, "Informed
        8   you?                                                      8   Consent and Request for Repair of Relaxation of
        9       A. Yes. I mean, the operative light could             9   Pelvic Organs and/or Urinary Incontinence," and the
       10   fall on the patient during the surgical procedure.       10   surgery to which Ms. Bayless was consenting is
       11       Q. And this would be true whether a surgery          11   signified by her signature on the second page of
       12   is done with mesh or without mesh, correct?              12   this document.
       13       A. The risk of surgery, correct, but not             13          Do you see that?
       14   the risk of mesh.                                        14      A. Yes.
       15       Q. We're talking about the risk of surgery.          15      Q. All right. Signed 5/28/13.
       16       A. Correct.                                          16          It describes, and this is in
       17       Q. That's what this form is talking about.           17   handwriting, "Robotic-assisted total laparoscopic
       18       A. Yes.                                              18   hysterectomy, cystocele repair, sacral colpopexy
       19       Q. And, of course, the surgery that this             19   with mesh, sling, cystoscopy repair."
       20   forms pertains to, the hysterectomy, is one that's       20          Do you see that?
       21   not being done -- is one that is not done with           21      A. Yes.
       22   mesh, correct?                                           22      Q. All right. And in paragraph that's
       23       A. You don't need to use mesh to do a                23   numbered 1, there are certain letters that are
       24   hysterectomy.                                            24   circled, A, D, E and F.

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        1           Do you see that?                               1   consent to undergo, right?
        2       A. Yes.                                            2      A. Correct.
        3       Q. Do you agree this accurately describes          3      Q. All right. Now, there are material
        4   the various prolapses that Ms. Bayless was             4   risks listed in Paragraph No. 4, and these are
        5   experiencing at the time?                              5   general surgical risks of any surgical procedure
        6       A. Well, F is incontinence, so that's not          6   performed under anesthesia, correct?
        7   prolapse. But, yes, she had a cystocele, she           7      A. From the surgery, correct.
        8   had -- well, she really didn't have vault prolapse.    8      Q. And you look at the -- several of these
        9   That would mean that the uterus was already gone.      9   risks were listed in the other forms that we
       10           But she did, you know, have what's            10   reviewed just previously, other consent forms, that
       11   described as an enterocele and she did have early     11   are a risk of -- just risks of surgery?
       12   stage II uterine prolapse.                            12      A. Of the surgery, correct.
       13       Q. Okay. And you've read her deposition,          13      Q. Now, let's look at the first --
       14   so you know Dr. Jones testified she circled those     14   there's a -- she's got stars next to some of these
       15   letters herself?                                      15   risks involved in this particular procedure.
       16       A. Correct.                                       16           She said, "Possibly no improvement or
       17       Q. And in Paragraph No. 2 of the form it          17   only temporary improvement in urine control;
       18   says, "The nature of the procedure is to surgically   18   worsening urinary incontinence."
       19   strengthen and repair the supporting tissue of the    19           That's specific to the surgical
       20   vagina." Correct?                                     20   treatment for Ms. Bayless' SUI, isn't it?
       21       A. That's what it states.                         21      A. More so than the abdominal
       22       Q. And you agree with that statement, that        22   colposacropexy.
       23   accurately describes the purpose of a pelvic floor    23      Q. And I mean there is also a risk of
       24   reconstructive surgery?                               24   worsening urinary incontinence when repairing a
                                                     Page 127                                                    Page 129
        1       A. In layman's terms, it's probably as             1   cystocele, right?
        2   close as you get. I mean, you're really not            2       A. Correct. That's why I said more so with
        3   strengthening the tissue that's supporting the         3   the SUI procedure.
        4   vagina. You're creating a fascial bridge to            4       Q. Right. And that risk is present in any
        5   support the structures in the vagina.                  5   cystocele repair surgery with or without mesh,
        6       Q. Okay. But -- and this is written for a          6   isn't it?
        7   lay audience, isn't it?                                7       A. From the surgery, correct.
        8       A. Correct.                                        8       Q. Now, let's look at the next starred
        9       Q. It's eliciting the patient's consent?           9   risk. It says, "Possible prolonged need of a
       10       A. Correct.                                       10   catheter to drain the bladder; incomplete bladder
       11       Q. All right. Now, Paragraph No. 3 says --        11   emptying (urinary retention)."
       12       A. But your question was does it accurately       12            That's also specific to the stress
       13   reflect what's being done. In a layman's sense,       13   urinary incontinence surgery, isn't it?
       14   yes. But, I mean, you know.                           14       A. No. That would be more so for the SUI
       15       Q. Fair enough. Okay.                             15   procedure, but can also be for the prolapse
       16           No. 3, "The purpose of this procedure,"       16   procedure, from the surgery itself.
       17   it goes on to -- it has various letters circled       17       Q. Okay. Now, underneath that star, it
       18   there, doesn't it?                                    18   says, "Possible pain or discomfort with sexual
       19       A. Yes.                                           19   intercourse."
       20       Q. And Dr. Jones testified that she circled       20            Do you see that?
       21   these letters. And you remember that testimony?       21       A. Yes, but that's not starred.
       22       A. Yes.                                           22       Q. No, I said beneath that. I didn't say
       23       Q. And this describes in lay terms the            23   it was starred. I said beneath the last one we
       24   procedures for which Ms. Bayless was giving her       24   discussed is an entry that says, "Possible pain or

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                                                     Page 130                                                    Page 132
        1   discomfort with sexual intercourse." Isn't that on     1   exercises, vaginal weights)."
        2   the form?                                              2      A. Yes.
        3      A. It's on the form, but it's not starred.          3      Q. And you're aware that Ms. Bayless
        4      Q. I didn't say it was starred. I said              4   testified that she was not interested in any of
        5   beneath the last star we discussed is an entry that    5   these alternatives, correct?
        6   says, "Possible pain or discomfort with sexual         6      A. Correct.
        7   intercourse."                                          7      Q. That she wanted surgery to, in her
        8      A. Okay. But, again, it is not starred.             8   words, put everything back in place where it was
        9   But it is on the form.                                 9   supposed to go?
       10      Q. That's the question. It's on the form,          10      A. Correct.
       11   right?                                                11      Q. And that she hoped, and to quote her
       12      A. Correct.                                        12   words, that the surgery would tighten her vagina up
       13      Q. And this was also on the first one of           13   some?
       14   these forms that we looked at, the one for            14      A. I have a general recollection of that.
       15   colporrhaphy. Do you remember that?                   15      Q. Okay. All right. And then there's a
       16      A. From the surgical procedure, correct.           16   paragraph in all caps about halfway down, "By
       17      Q. Right. Now, the last one of these               17   signing this form."
       18   items, and it's starred, says, "Recurrence of         18           Do you see that?
       19   cystocele, rectocele, enterocele or vaginal vault     19      A. Yes.
       20   prolapse."                                            20      Q. And it says, "By signing this form, I
       21           Did I read that correctly?                    21   acknowledge that I have read or had this form read
       22      A. Yes.                                            22   and/or explained to me, that I fully understand its
       23      Q. "Success rate 85%."                             23   contents and that I have been given ample
       24      A. Yes.                                            24   opportunity to ask questions and that any questions
                                                     Page 131                                                    Page 133
        1       Q. So, it's informing the patient of the           1   have been answered satisfactorily. All blanks are
        2   risk of recurrence. Yes?                               2   or statements requiring completion were filled in
        3       A. Correct.                                        3   and all statements I do not approve of were
        4       Q. And the risk of recurrence isn't                4   stricken before I signed this form. I also have
        5   something that's unique to any particular pelvic       5   received additional information, including but not
        6   organ prolapse surgery, is it?                         6   limited to the materials listed below relating to
        7       A. No. From the surgery itself.                    7   the procedure described herein."
        8       Q. Right. That can happen with any                 8           Did I read that correctly?
        9   prolapse, POP surgery?                                 9       A. Yes.
       10       A. From the surgery, correct.                     10       Q. All right. And you're aware that this
       11       Q. And then you have got the patient's            11   patient testified that she reviewed this form
       12   initials at the bottom of this page we just           12   before signing it and that she reviewed all the
       13   discussed?                                            13   other consents before signing. Yes?
       14       A. Yes.                                           14       A. I have a general recollection of that,
       15       Q. And let's go to the next page. On              15   yes.
       16   page 2, it says, "The alternative" -- "Practical      16       Q. All right, sir. And you're also aware
       17   alternatives to this procedure include."              17   that Dr. Jones testified that she or someone in her
       18           Do you see that language?                     18   office reviewed all of these forms in detail with
       19       A. Yes.                                           19   Ms. Bayless before they were signed?
       20       Q. "Do nothing and accept the consequences        20       MR. HABERMAN: Objection.
       21   of the patient's condition. Use of artificial         21   BY MR. PERSONS:
       22   supports (pessaries)." Right?                         22       Q. Yes?
       23       A. Yes.                                           23       A. Correct.
       24       Q. And then it has, "Exercise (Kegel              24       Q. On this form, before we leave it, this

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        1   Exhibit 4-D, at the bottom, there's a "Coloplast         1      A. Correct.
        2   Restorelle Y-mesh" is specifically listed here,          2      Q. And when symptomatic, the patient might
        3   isn't it?                                                3   experience chronic pelvic pain. Yes?
        4      A. As additional materials used during the            4      A. Where these adhesions were found were
        5   consent process.                                         5   not in the pelvis.
        6      Q. Right.                                             6      Q. But setting that aside, just generally
        7      A. So, this would imply that she was given            7   speaking, when symptomatic, pelvic adhesions can
        8   product-specific information about the Restorelle        8   cause chronic pelvic pain?
        9   Y-mesh and the Advantage Fit as well.                    9      A. In a general sense, yes. But these were
       10      Q. Right. Okay. Let's go to Tab No. 5.               10   adhesions from the sigmoid colon due to
       11              (WHEREUPON, Rosenzweig Deposition            11   diverticular disease, and that would lead more to
       12               Exhibit No. 9 was marked for                12   bowel irritation.
       13               identification: 8/9/13 Operative            13      MR. PERSONS: Move to strike everything after
       14               Report; COL PLTF 000066 RBAYLESS -          14   the word "yes."
       15               COL PLTF 000070 RBAYLESS.)                  15   BY MR. PERSONS:
       16   BY MR. PERSONS:                                         16      Q. Pelvic adhesions --
       17      Q. This is the operative report. Do you              17      MR. HABERMAN: That's uncalled for.
       18   see that record?                                        18      MR. PERSONS: Go ahead.
       19      A. Yes.                                              19      MR. HABERMAN: I said that's uncalled for. I
       20      Q. And this is referenced in your report,            20   disagree. The doctor is allowed to answer the way
       21   isn't it, Doctor?                                       21   he sees fit.
       22      A. Yes.                                              22      MR. PERSONS: That's not my question.
       23      Q. Now, you don't offer any criticism of             23   BY MR. PERSONS:
       24   Dr. Jones' implantation technique, do you?              24      Q. My question is, generally speaking,

                                                       Page 135                                                     Page 137
        1       A. No, I do not.                                     1 pelvic adhesions can cause bowel obstruction, can't
        2       Q. Nor do you plan to offer any criticism            2 they?
        3   of Dr. Jones' implantation technique, correct?           3      MR. HABERMAN: Objection; asked and answered.
        4       A. Correct.                                          4   BY THE WITNESS:
        5       Q. You also don't have any critique of               5      A. They can, but there is no evidence in
        6   Dr. Jones' decision to perform a hysterectomy prior      6   this case that they were.
        7   to the mesh implantation procedures, correct?            7   BY MR. PERSONS:
        8       A. Correct.                                          8      Q. They can cause an inability to pass gas?
        9       Q. And you don't plan to offer any such              9      A. Well, that would be if there is an
       10   criticism?                                              10   obstruction.
       11       A. Correct.                                         11      Q. Right. And they can cause pain with
       12       Q. Now, the postoperative diagnoses listed          12   bowel movements or difficulty with bowel movements,
       13   are the same as the preoperative diagnoses with one     13   can't they?
       14   exception, isn't it?                                    14      A. Pain with bowel movements? No.
       15       A. Yes.                                             15   Difficulty with bowel movements, if there's an
       16       Q. And that being No. 4 under                       16   obstruction.
       17   "Postoperative Diagnoses," pelvic adhesions, right?     17      Q. All right. Pelvic adhesions can cause
       18       A. Yes. Left pelvic sidewall adhesions.             18   urinary dysfunction?
       19       Q. And under "Findings," Dr. Jones                  19      A. No.
       20   describes them, doesn't she?                            20      Q. They can cause bladder dysfunction?
       21       A. Yes.                                             21      A. No.
       22       Q. Now, pelvic adhesions are fibrous bands          22      Q. Okay. They can cause pain with walking?
       23   of scar tissue that form between the internal           23      A. Not necessarily.
       24   organs and tissues in the pelvic region, correct?       24      Q. But they can?

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        1      A. Not necessarily.                                1     A.   Yes.
        2      Q. They can cause pain when lying down in          2     Q.   All right. Let's go to Tab No. 7.
        3   certain positions?                                    3           (WHEREUPON, Rosenzweig Deposition
        4      A. Possibly.                                       4            Exhibit No. 10 was marked for
        5      Q. And they can cause pain with intercourse        5            identification: 9/24/13 medical
        6   under certain circumstances?                          6            record; COL-RBAYLESS-ORLANDO-000013
        7      A. Correct.                                        7         - 000015.)
        8      Q. Now, pelvic adhesions can result -- can         8 BY MR. PERSONS:
        9   develop as a result of any surgery in the pelvic      9     Q.   And this is a medical record from
       10   region, can't they?                                  10 September 24, 2013, and under "History" it has,
       11      A. Yes.                                           11 "Six weeks three days post-op."
       12      Q. And that would include surgeries that          12        Do you see that?
       13   don't involve mesh at all?                           13     A. Yes.
       14      A. Correct.                                       14     Q.   So, this is six weeks three days after
       15      Q. In fact, that's what we see here with          15 her status post sacral colpopexy with mesh,
       16   Ms. Bayless, that she had these adhesions that       16 cystocele repair with mesh, right?
       17   existed pre-op, correct?                             17     A.   It was an abdominal colposacropexy with
       18      A. Correct.                                       18 mesh. There was no specific cystocele repair.
       19      Q. Now, also under "Findings," Dr. Jones          19     Q.   But according to this record, it just
       20   documented evidence of diverticular disease in the   20 says -- this record is what I'm reading from.
       21   sigmoid colon. I believe you referenced that         21     A.   Right. But we know from the surgical
       22   earlier?                                             22 procedure that the mesh was an abdominal sacral
       23      A. Correct.                                       23 colpopexy. There was no specific mesh that was
       24      Q. And you noted that in your report on           24 placed specifically to treat a cystocele.

                                                     Page 139                                                         Page 141
        1   page 5, didn't you?                                   1      Q. I see. All right.
        2       A. Correct.                                       2            But, in any event, Ms. Bayless is noted
        3       Q. Now, diverticular disease can be painful       3   to be "doing well except for occasional discomfort
        4   if it isn't treated, can't it?                        4   in pelvic and mood swings."
        5       A. It can lead to painful bowel movements,        5            Do you see that?
        6   correct.                                              6      A. Yes.
        7       Q. It can lead to diverticulitis, can't it?       7      Q. And occasional pelvic discomfort in six
        8       A. If there is inflammation of the                8   weeks after pelvic surgery, that's to be expected,
        9   diverticular disease, yes.                            9   isn't it?
       10       Q. And diverticulitis, as it progresses,         10      A. Correct.
       11   the symptoms can include abdominal pain?             11      MR. HABERMAN: Objection.
       12       A. Yes.                                          12   BY MR. PERSONS:
       13       Q. Abdominal tenderness?                         13      Q. And mood swings are also not unusual in
       14       A. Yes.                                          14   a patient who has just undergone hysterectomy,
       15       Q. Nausea, especially after eating?              15   right?
       16       A. Yes.                                          16      A. Not necessarily.
       17       Q. Or engaging in physical activity, you         17      Q. On page 2 under "Social History,"
       18   can have nausea if you've got diverticulitis?        18   Ms. Bayless was noted to still be smoking five to
       19       A. Correct.                                      19   ten cigarettes per day. Yes?
       20       Q. Vomiting?                                     20      A. That's what the record states, but she
       21       A. Yes.                                          21   stated in her deposition that she had quit smoking
       22       Q. Constipation?                                 22   for two to three months after surgery.
       23       A. Yes.                                          23      Q. All right. And then this record,
       24       Q. And other bowel discomfort?                   24   according to this record, Ms. Bayless reported that

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        1   she wasn't using illicit drugs at that time?           1   decreased libido or orgasmic dysfunction prior to
        2      A. Correct.                                         2   her August 9, 2013 surgery, had she?
        3      Q. But if I represent to you that                   3       A. Not that I specifically recall from the
        4   Ms. Bayless reported to other providers around this    4   medical records.
        5   time that she was still using crack cocaine, would     5       Q. All right. You agree that the tab 4-C
        6   you have any reason to disagree with that?             6   that we discussed earlier, that form discussed loss
        7      MR. HABERMAN: Objection.                            7   of libido, didn't it?
        8   BY THE WITNESS:                                        8       A. And what's the exhibit number for that
        9      A. I don't specifically recall that she was         9   again?
       10   asked if she was using crack cocaine around the       10       Q. It's 4-C.
       11   time of her surgery at her deposition.                11       A. Oh, the consent form.
       12   BY MR. PERSONS:                                       12       Q. Yes. The consent form. I'm sorry.
       13      Q. But if some other medical record                13       A. Okay.
       14   indicated that she was, you wouldn't have any --      14       Q. It mentioned loss of libido.
       15   you wouldn't be in a position to disagree with that   15       A. As of -- again, I think we had a
       16   medical record?                                       16   discussion about that.
       17      A. But we could discuss that medical               17       Q. Problems associated with surgery is the
       18   record. It could just be that she has a history,      18   way it's described on the form?
       19   which I saw in other medical records, of crack        19       A. Correct.
       20   cocaine use. And I do recall that in 2014 there       20       Q. And you would agree that the only way
       21   are records that state that she was using crack       21   that Ms. Bayless could have reported orgasmic
       22   cocaine again, but around the time of her surgery     22   dysfunction is if she had engaged in some sort of
       23   she wasn't.                                           23   sexual activity following her operation?
       24      Q. All right. Under "Review of Systems,"           24       A. That would be an implication, but that
                                                      Page 143                                                   Page 145
        1   ROS, this record states that she was complaining of    1   doesn't mean that she had intravaginal penetration.
        2   abdominal pain, change in appetite, heartburn,         2      Q. But she had some sexual activity.
        3   difficulty swallowing, nausea and bowel movement       3   Otherwise, I mean -- if you're having orgasmic
        4   changes.                                               4   dysfunction, I mean, that portends some kind of
        5          Do you see that?                                5   sexual activity?
        6      A. Yes.                                             6      A. That would be the implication. I don't
        7      Q. Those aren't unusual symptoms following          7   specifically recall when Ms. Bayless testified in
        8   a hysterectomy and major pelvic floor                  8   her deposition that she resumed sexual intercourse.
        9   reconstructive surgery, are they?                      9   I have a general recollection that she stated that
       10      A. Correct.                                        10   she resumed sexual intercourse at the time that her
       11      Q. She's also reporting discharge, vaginal         11   doctor told her that she could.
       12   odor, vaginal itching, but no abnormal bleeding, no   12      Q. And I want you to assume that Dr. Jones
       13   flank pain, no rash and no lesion.                    13   testified that she ordered Ms. Bayless to refrain
       14          Do you see that?                               14   from any sexual activity for 12 weeks following her
       15      A. Correct.                                        15   surgery?
       16      Q. And she reported dry vaginal mucosa and         16      A. We've had that discussion earlier about
       17   decreased libido and orgasmic dysfunction.            17   that.
       18          Do you see that?                               18      Q. If that's the case, then this record
       19      A. Yes.                                            19   would suggest or confirm that Ms. Bayless was
       20      Q. Now, you referenced those symptoms in           20   non-compliant with postoperative restrictions
       21   your summary of this record on page 6 of your         21   regarding sexual activity, correct?
       22   report, didn't you?                                   22      A. If -- now, when we see things going
       23      A. Correct.                                        23   together with an "and," that could be the way the
       24      Q. Now, Ms. Bayless hadn't reported either         24   medical record auto-populates.

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        1           So, if you're clicking off "Decreased              1   have orgasmic dysfunction, if she reported orgasmic
        2   libido," you would get "and orgasmic dysfunction"          2   dysfunction, that would mean that she engaged in
        3   together, which is the way my EMR populates when           3   some kind of sexual activity within the 12-week
        4   you click off one of those entities, you get both.         4   period, correct, following the surgery?
        5   If there's a comma, that would be a separator.             5       A. That hypothetical?
        6           So, we see up above, "Difficulty                   6       Q. Yes.
        7   swallowing, comma, nausea, comma, and bowel                7       A. That's a hypothetical, but that's not
        8   movement changes." When there's a comma, that is a         8   based on what her deposition testimony is.
        9   separate entity.                                           9       Q. What deposition testimony are you
       10           There is no comma here, which would mean          10   talking about now?
       11   that they are an entity together that would               11       A. Ms. Bayless' deposition testimony. She
       12   populate.                                                 12   did -- she didn't say -- she did not affirm that
       13           So, it would depend on how the EMR                13   she had intravaginal penetration prior to
       14   populates which, again, one would make the                14   September 23 -- 24, 2013.
       15   assumption that this saying "orgasmic dysfunction"        15       Q. All right. Is it your testimony if one
       16   means that she had some degree of sexual activity.        16   of your patients reported orgasmic dysfunction
       17   The sexual activity that is -- one needs to refrain       17   within six weeks of a hysterectomy and concomitant
       18   upon is intravaginal penetration.                         18   SUI and POP surgery, you wouldn't raise any
       19           Having other non-intravaginal forms of            19   concerns about non-compliance with post-op
       20   intercourse would not be critical to abstain from         20   restrictions?
       21   in the postoperative period because that has              21       A. I would ask what kind of sexual activity
       22   nothing to do with postoperative recovery.                22   you were having.
       23       Q. Let me ask you this. Where in this                 23       Q. All right. Let me ask you this. Do you
       24   record does it say anything about what type of            24   use Athena?

                                                         Page 147                                                      Page 149
        1   program that this doctor used or that the absence          1      A. Yes.
        2   of a comma signifies that this would somehow               2      Q. Okay. And do you know whether Athena
        3   populate? Where is any of that in this form?               3   auto-populates "orgasmic dysfunction" with
        4      A. It says right up top "Athena." See                   4   "decreased libido"?
        5   right on top of the page.                                  5      A. To my recollection, yes.
        6      Q. Doesn't it say --                                    6      Q. Okay.
        7      A. See it says, "Athena." That's the EMR                7      A. Because we see discussed --
        8   that's used, Athena.                                       8      Q. I don't need anything more than that.
        9      Q. But doesn't this record say, "She," the              9      A. What's that?
       10   patient, "reports dry vaginal mucosa"?                    10      Q. That's your testimony. That's your
       11      A. Yes.                                                11   testimony. That's fine.
       12      Q. "Impaired memory"?                                  12      A. But let's look down at "Discussion."
       13      A. Yes.                                                13   "Discussed postoperative activity and
       14      Q. "And impaired concentration"?                       14   restrictions."
       15      A. Yes.                                                15           We don't see that she -- she says,
       16      Q. "She reports decreased libido and                   16   "Encouraged adherence to stool softener." It
       17   orgasmic dysfunction"?                                    17   doesn't say, "Encouraged adherence to nothing
       18      A. Right. But there are commas after                   18   inside of her vagina."
       19   certain ones and no commas after the other.               19           Dr. Jones must not have felt that there
       20      Q. Okay. All right. Well, if she --                    20   was something placed inside of her vagina, which is
       21      A. But you asked me is there any evidence              21   the restriction that would impact postoperative
       22   what medical record it is. Yes, this is Athena.           22   healing.
       23      Q. Okay. All right.                                    23           So, we see what the discussion is. So,
       24           Now, she did not -- if in fact she did            24   discussed postoperative activity, yes. And

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        1   restrictions, yes. But there's no "Encouraged no         1   foreign body visualized." The foreign body could
        2   intravaginal penetration."                               2   be the V-Loc suture which has -- there are three
        3       MR. PERSONS: Move to strike as unresponsive.         3   different kinds of V-Loc suture. There is a
        4   BY MR. PERSONS:                                          4   permanent, there is a 90-day absorbable and there
        5       Q. Let's go to page 3. Dr. Jones                     5   is 180-day absorbable. In the surgical report it
        6   documented performing a physical examination?            6   didn't say which one was used.
        7       A. Correct.                                          7           So, reading her deposition, she stated
        8       Q. The Words "Physical Examination" appears          8   that she used the 180-day absorbable V-Loc suture
        9   on the previous page, but this is her physical           9   and at her deposition initially she said, yeah,
       10   examination, correct?                                   10   this could have been suture; but when pressed, she
       11       A. Correct.                                         11   said, yeah, this could be the mesh.
       12       Q. And she notes -- let's see.                      12           So, just reading this did not give me
       13           On "Abdomen," it says, "Well-healed,            13   enough information about what she saw. So,
       14   clean dry intact, non-tender, incisions.                14   therefore, I waited to see what she said in her
       15   Laparoscopic incisions well-healed." We see that?       15   deposition.
       16       A. Yes.                                             16       Q. And in her deposition she said it was
       17       Q. We see "No tenderness," right?                   17   mesh, didn't she?
       18       A. Correct.                                         18       A. Well, she said it could be suture too.
       19       Q. She says, "No tenderness."                       19       Q. Now, when two sides of an incision
       20           She did not note any erythema, right?           20   separate postoperatively, that's referred to as a
       21       A. Correct.                                         21   dehiscence, right?
       22       Q. Cystocele, rectocele, abdominal --               22       A. If it separates completely. This is a
       23   abnormal vaginal discharge or vesicles or ulcers,       23   minimal separation with the sutures still present.
       24   right?                                                  24       Q. But a wound dehiscence creates a second
                                                       Page 151                                                       Page 153
        1       A. Correct.                                          1   wound, doesn't it?
        2       Q. But she did, Dr. Jones, find, "Minimal            2      A. But this isn't a wound dehiscence.
        3   separation with foreign body visualized central          3      Q. I'm not asking you that. I asked you a
        4   apical incision."                                        4   simple question.
        5       A. Yes.                                              5           A wound dehiscence creates a separate
        6       Q. Do you see that?                                  6   wound, a second wound? Yes or no.
        7       A. Yes.                                              7      A. No. It's a dehiscence through the
        8       Q. The incision made at the apex of her              8   surgical incision meaning the surgical incision
        9   vagina was made in the course of removing her            9   completely separates.
       10   cervix, wasn't it?                                      10      Q. And if it separates, you've got two
       11       A. Yes.                                             11   wounds?
       12       Q. And the removal of her cervix was part           12      A. No. It's through the -- you -- the
       13   of her hysterectomy, correct?                           13   wound is separated.
       14       A. Correct.                                         14           Now, are you asking me are there two
       15       Q. All right. Now, that's not noted                 15   sides to that wound?
       16   anywhere in your report, though, is it?                 16      Q. Yes.
       17       A. Correct. I mean, the foreign body that           17      A. Ah. So, please --
       18   was visualized could be the V-Loc suture that she       18      Q. Okay.
       19   used at the time of cuff closure.                       19      A. If you have a circular wound and you
       20       Q. You didn't think the fact that the --            20   close it like this and it opens, yeah, you would
       21   that mesh became visible at the apical incision         21   have two sides. But it's one wound. It's not a
       22   site was relevant to any opinion you're offering in     22   second wound.
       23   this case?                                              23      Q. All right. Now, Dr. Jones didn't
       24       A. Well, it says, "Minimal separation with          24   document finding any exposed mesh or other foreign

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        1   body material anywhere else in Ms. Bayless' vagina    1   aren't a significant number of gynecologists in the
        2   at the time of this examination on September the      2   area and -- yeah.
        3   24th of 2013, did she?                                3           No, it doesn't say who was the doctor
        4       A. Correct.                                       4   that referred her.
        5       Q. Now, underneath "Assessment and Plan,"         5       Q. All right. Okay.
        6   Dr. Jones wrote that she "Discussed post-op           6       A. And if I recall her deposition, there
        7   activity and restrictions and encouraged              7   was like a referral letter that she had signed for
        8   adherence."                                           8   the urodynamics, but she said that -- that's how
        9           Do you see that?                              9   Athena populates urodynamics reports, that there is
       10       A. To continue stool softeners.                  10   a referral letter that comes up, but there was
       11           Commas are very important.                   11   nobody that she was sending it to.
       12       Q. And then it talks about --                    12       Q. Now, before we leave this record, is it
       13       A. Laser vaginal rejuvenation.                   13   your testimony that the encouraged adherence just
       14       Q. Right. Now, I'm not going to ask you          14   pertained only to continuing stool softeners?
       15   about that.                                          15       A. Well, yeah, there is no comma after
       16       A. Okay.                                         16   "encouraged adherence."
       17       Q. Are you aware that Dr. Jones testified        17       Q. That it has absolutely -- there is space
       18   that Ms. Bayless did not return for any follow-ups   18   that could have gone to something else. That's not
       19   after the September 24, 2013 visit?                  19   a separate answer.
       20       A. Correct.                                      20           Isn't "Continue stool softener" a
       21       Q. You'd agree, though, that patients            21   separate entry that's on a separate line just like
       22   generally should follow up with their surgeon more   22   "Patient interested in LVR" is?
       23   than once after having sling placement, robotic      23       A. Well, you know, it would be important to
       24   sacral colpopexy and a then current total            24   have asked her that, what she meant by this, so
                                                     Page 155                                                   Page 157
        1   hysterectomy, right?                                  1   that we weren't sitting around trying to interpret
        2       A. It would be -- I mean, that's the way I        2   it after Dr. Jones had two and a half to three
        3   practice. I've seen physicians that give the          3   hours to give a deposition.
        4   go-ahead and return the patient back to the           4       Q. Well, I'm asking you, is it your
        5   referring physician.                                  5   testimony. Not what Dr. Jones said in her
        6       Q. But when a patient -- this would be            6   deposition. I'm asking you.
        7   particularly true where a patient is not seeing a     7           Is it your testimony that when the
        8   primary care physician or an Ob-Gyn for regular       8   patient was encouraged to adhere to the after-care
        9   checkups, right?                                      9   instructions, especially regarding post-op activity
       10       A. Let's go back to her first. I mean, she       10   and restrictions, that this only pertained to the
       11   was referred by -- to Dr. Jones by a doctor, and I   11   continuing use of stool softeners? Is that your
       12   know it was in the first note that we looked at      12   testimony?
       13   from Dr. Jones.                                      13       MR. HABERMAN: Objection.
       14           Sorry. Taking a while for the --             14   BY THE WITNESS:
       15       Q. That's okay.                                  15       A. Again, I don't see a comma after that.
       16       A. But I don't think it specifically stated      16   So, that could be an interpretation. I can see how
       17   the type of doctor that referred her to her. I       17   you could interpret it the way you've interpreted
       18   know that Dr. -- or I think Dr. Bukkapatnam is a     18   it, and there will be other people that will have
       19   primary care doctor.                                 19   the opportunity to interpret it how they want to
       20       Q. All right.                                    20   interpret it.
       21       A. So but, yes, I would agree with you that      21           But I would think -- I would have typed
       22   it is important for someone to have a physician      22   a comma in there if -- or I wouldn't have put a
       23   that the patient can go back to for follow-up.       23   comma in after "restrictions." I probably would
       24   That could be a primary care provider if there       24   have hyphenated it or said, "and encourage

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        1   adherence." But that's how I use grammar. So, I       1       A. Yes, but that's -- that doesn't say a
        2   can only interpret things about how I use grammar.    2   list of active problems. That's a list of the
        3   BY MR. PERSONS:                                       3   problems that she's had in the past. Okay.
        4      Q. All right. Let's look at Tab No. 8.             4       Q. Okay.
        5   I'm going try to move to through this. This           5       A. That's how problem lists are populated.
        6   shouldn't take as much time.                          6       Q. All right. Now, right below that,
        7             (WHEREUPON, Rosenzweig Deposition           7   Dr. Magness wrote, "Uses cocaine, smoker and drinks
        8              Exhibit No. 11 was marked for              8   alcohol socially."
        9              identification: 3/7/14 medical             9           Do you see that?
       10              record; COL PLTF 000019 RBAYLESS -        10       A. Yes.
       11              COL PLTF 000022 RBAYLESS.)                11       Q. You also recall that Ms. Bayless is
       12   BY MR. PERSONS:                                      12   positive for hepatitis C?
       13      Q. Are you with me?                               13       A. Correct.
       14      A. Yes.                                           14       Q. And hep C patients aren't supposed to
       15      Q. All right. So, this is a March 7, 2014         15   drink alcohol at all, are they?
       16   visit by Ms. Bayless to the Brevard Health           16       A. It all depends on if they've recovered
       17   Alliance.                                            17   from it or not, and I think she stated in her
       18      A. Yes.                                           18   deposition that she had recovered from it.
       19      Q. And she is seen by a Dr. David Magness,        19           But I would recommend if you've had a
       20   a Doctor of Osteopathy. He is not a                  20   history of any liver injury to avoid alcohol.
       21   urogynecologist, right?                              21       Q. And at this visit Ms. Bayless requested
       22      A. Well, he's just a DO. But I don't see          22   STD testing as well?
       23   what his specialty is. So, a DO, an M.D., both can   23       A. Correct.
       24   practice any specialty if they've had the proper     24       Q. This would indicate, one could infer

                                                    Page 159                                                        Page 161
        1   training and then credentialing.                      1   from this, that she thought she had been exposed to
        2       Q. All right. It doesn't say here whether         2   an STD at some point?
        3   he's an Ob-Gyn or what specialty, if any, he has?     3       A. That would be an inference.
        4       A. Correct.                                       4       Q. And --
        5       Q. And Ms. Bayless presented to Dr. Magness       5       A. But I don't specifically recall if she
        6   to discuss hypertension. Yes?                         6   was asked at her deposition why she wanted STD
        7       A. Yes. Well, actually, the -- she                7   testing.
        8   presented to establish a PCP. So, if you look at      8       Q. All right. And we've seen in earlier
        9   the very top, that's the reason for the office        9   records that she had been diagnosed with gonorrhea
       10   visit is that she wanted to establish him as a       10   and trichomonas on more than one occasion, right?
       11   primary care provider.                               11       A. We have seen documented in the record
       12       Q. Okay. All right. And, so, in taking           12   that she was treated for trichomonas on one
       13   her history, there is notation here of               13   occasion, and there was reference to her having had
       14   hypertension?                                        14   gonorrhea on two occasions.
       15       A. Yes.                                          15       Q. Correct. And you would agree that
       16       Q. And yeast vaginitis?                          16   recurrent STDs can lead to pelvic inflammatory
       17       A. Yes.                                          17   disease?
       18       Q. And would like to -- and would like           18       A. They could if there's a uterus and
       19   Fluconazole?                                         19   cervix. Once a uterus and cervix is removed,
       20       A. Fluconazole.                                  20   gonorrhea and chlamydia have no place to live.
       21       Q. And we know that Ms. Bayless had a yeast      21   They can live in the rectum. They can live in the
       22   infection prior to her implant procedure because     22   urinary tract and they can live in the oropharynx.
       23   she had -- noted on the problem list was             23   But none of those would lead to pelvic inflammatory
       24   Candidiasis, right?                                  24   disease.

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        1      Q. Now, Dr. Magness also reported                    1       Q. "Sexually transmitted disease, exposure
        2   Ms. Bayless' tobacco and cocaine abuse under "Risk      2   to," and Dr. Magness ordered an HIV and hepatitis
        3   Factors," right?                                        3   screening, correct?
        4      A. Correct.                                          4       A. Yeah, which is really strange because if
        5      Q. And she was counseled to stop smoking?            5   you look up above under "Risk Factors," "HIV
        6      A. Correct.                                          6   high-risk factor behavior, no."
        7      Q. And on page 4 of this record, Problem             7          So, I find that a little bit odd that he
        8   No. 6 says, "Recommend stopping using crack             8   then later on orders an HIV antibody screening,
        9   cocaine," right?                                        9   but...
       10      A. It's No. 5 actually.                             10       Q. But he does?
       11      Q. No. 5. My eyesight is getting poor.              11       A. Correct.
       12   No. 5. Thanks for the correction.                      12       Q. And, also, going over to the top of
       13          "Stop using crack cocaine."                     13   page 4, he also ordered labs for chlamydia and a
       14          Now, crack cocaine can impact wound             14   urinalysis?
       15   healing, can't it?                                     15       A. A urine chlamydia and gonorrhea. As
       16      A. Yes, but we saw that she wasn't using it         16   we've talked about before, chlamydia and gonorrhea
       17   around the time of her surgery.                        17   both live in columnar cells. So, you wouldn't take
       18      Q. And crack cocaine use can influence              18   a vaginal culture for chlamydia and gonorrhea. It
       19   other decisions a patient makes regarding their        19   would always come back negative.
       20   health, can't it?                                      20          So, after a hysterectomy you would
       21      A. Can you repeat that question?                    21   either do an oropharyngeal swab for chlamydia or
       22      Q. Sure. Crack cocaine use can influence a          22   gonorrhea or check a urine or a stool for gonorrhea
       23   patient's decision-making regarding their health?      23   and chlamydia. Those are the only columnar
       24      A. Influence it how?                                24   epithelial areas where you would find it.

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        1       Q. Well, for instance, if a patient is              1       Q. All right. And under "Medications Added
        2   using illicit drugs, especially over a long period      2   to the Medication List At This Visit" is a
        3   of time, it could impact the patient's doctor           3   prescription for Fluconazole?
        4   visits?                                                 4       A. Correct.
        5       A. Impact them how?                                 5       Q. And that's to treat a yeast infection,
        6       Q. Doesn't make visits.                             6   isn't it?
        7       A. Oh, you mean their compliance with               7       A. Correct.
        8   office visits?                                          8       Q. And you'd agree that indicates
        9       Q. With office visits, seeking help,                9   Ms. Bayless was also diagnosed with a yeast
       10   medical help promptly, things of that sort.            10   infection?
       11       A. Boy, you're really asking me to make            11       A. That's not correct.
       12   very sweeping generalizations, which, again, I         12       Q. Okay.
       13   don't know how to answer that question.                13       A. She came in asking for that medication.
       14       Q. Okay.                                           14       Q. All right. In any event, it is for the
       15       A. I've got a number of patients who are           15   treatment of a yeast infection, whether she was
       16   former or current drug abusers that come in to         16   diagnosed with it or not?
       17   every single office and I have patients that do not    17       A. It is used to treat yeast infections. I
       18   use any illicit substances, caffeine, alcohol, that    18   don't see -- yes, the pelvic exam wasn't done to
       19   are rather recalcitrant with their office visits.      19   document whether or not there was a yeast
       20   So, I don't think that that is a generalization I      20   infection.
       21   am willing to make.                                    21       Q. Now, this record doesn't contain any
       22       Q. All right. Now, going back to Page              22   reference to dyspareunia, does it?
       23   No. 3, specifically Problem No. 4.                     23       A. No.
       24       A. Yes.                                            24       Q. Or pelvic pain?

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        1      A.    Correct.                                        1       Q. But even if the diagnosis was for
        2      Q.    Or vaginal pain?                                2   episodic abuse, you'd agree that Dr. Magness'
        3      A.    Correct.                                        3   documentation of daily crack use is equally
        4      Q.    Or abdominal pain?                              4   relevant?
        5      A.    Correct.                                        5       A. On this visit, as of December 3, 2015,
        6      Q.    Or vaginal bleeding?                            6   she is affirming that she is using it on a daily
        7      A.    Correct.                                        7   basis, which we did not see in the last record.
        8      Q.    Now, let's turn to Tab No. 9.                   8       Q. Still using it on a daily basis and
        9             (WHEREUPON, Rosenzweig Deposition              9   still smoking a half pack of cigarettes a day,
       10              Exhibit No. 12 was marked for                10   right?
       11              identification: 7/24/14 medical              11       A. Correct.
       12              record; COL PLTF 000008 RBAYLESS -           12       Q. And on page -- I guess this was
       13              COL PLTF 000011 RBAYLESS.)                   13   page 4 -- we see Ms. Bayless was diagnosed with
       14   BY MR. PERSONS:                                         14   vaginitis?
       15       Q. And this is a record from another visit          15       A. That's what Problem 3 is.
       16   Ms. Bayless had with Dr. David Magness. This one        16       Q. Yes. Vaginitis and she's prescribed
       17   was on July 24, 2014.                                   17   Metronidazole.
       18           Do you recognize this as a copy of that         18       A. Yes.
       19   record?                                                 19       Q. And no etiology is discussed, is there?
       20       A. Yes.                                             20       A. Well, Metronidazole wouldn't treat a
       21       Q. And under "History of Present Illness,"          21   candidal infection. It wouldn't be the treatment
       22   it indicates that the patient presented with            22   of choice for a mycoplasma or ureaplasma infection.
       23   hypertension?                                           23   It would be the treatment of choice for a bacterial
       24       A. Correct.                                         24   vaginosis infection or a trichomonal infection, but

                                                        Page 167                                                       Page 169
        1      Q. And that she had "a foul odor with                 1   there's no exam that was done to determine what the
        2   vaginal discharge"?                                      2   source of her discharge was.
        3      A. Yes.                                               3      Q. We don't know what the etiology is --
        4      Q. "No pelvic pain or burning with                    4      A. Correct.
        5   urination"?                                              5      Q. -- in this case, do we? Yeah.
        6      A. Yes.                                               6           Okay. So, and then we have Problem
        7      Q. "Wants STD testing." Right?                        7   No. 5, Ms. Bayless -- "Sexually transmitted
        8      A. Yes.                                               8   disease, exposure." Do you see that?
        9      Q. And this is the third time we've seen in           9      A. Well, yeah, that's the ICD-10 code to
       10   the records we've reviewed where Ms. Bayless'           10   warrant the labs that are being sent off.
       11   records specifically reference a request for STD        11      Q. And the labs are HIV screening?
       12   testing, correct?                                       12      A. Yes.
       13      A. Correct. But none of those tests came             13      Q. Hepatitis panel?
       14   back positive.                                          14      A. Yes.
       15      Q. Okay. No. 4 on the list, Ms. Bayless              15      Q. And the gonorrhea/chlamydia?
       16   was "still smoking crack on a daily basis."             16      A. And the syphilis test, which is an RPR.
       17          Do you see that?                                 17      Q. Okay. And syphilis. Okay.
       18      A. Yes.                                              18           Now, Ms. Bayless' repeated STD exposures
       19      Q. And "sometimes gets chest pressure after          19   put her at risk of recurring vaginal infections,
       20   she smokes it"?                                         20   correct?
       21      A. Yes.                                              21      A. Remember, none of these tests came back
       22      Q. Now, you only noted in your report                22   positive. So, her request for the test does not
       23   episodic cocaine abuse?                                 23   mean that she had positive tests.
       24      A. Yes.                                              24      Q. That's not my question.

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        1       MR. PERSONS: Move to strike as unresponsive.         1   she was taking the Lisinopril, right?
        2   BY MR. PERSONS:                                          2       A. Correct.
        3       Q. My question has to do with repeated STD           3       Q. But if someone has uncontrolled
        4   exposures put her at a higher risk of recurring          4   hypertension and uses crack cocaine daily, that
        5   vaginal infections?                                      5   could put them at suboptimal -- risk of suboptimal
        6       A. You're -- no, comma, the reason for that          6   wound healing?
        7   is you're taking that it says "STD exposure to,"         7       A. Well, under that hypothetical, yes. But
        8   which is an ICD-10 code which allows you to send         8   that's not the case in Ms. Bayless' case because
        9   off the labs, as her coming in and saying my             9   prior to surgery, we didn't read that into the
       10   partner tested positive for gonorrhea/chlamydia and     10   record, but you saw that Dr. Jones affirmed that
       11   therefore I want to be tested.                          11   she was cleared medically for her surgery.
       12          She came in saying she has a foul odor,          12           So, if her hypertension was
       13   and she's assuming that that's associated with STDs     13   uncontrolled, the doctor wouldn't have cleared her
       14   and says, "Hey, check me for this." But nothing         14   for her surgery. So, your hypothetical is not
       15   came back positive.                                     15   based on the facts of Ms. Bayless' case.
       16       Q. All right. Problem No. 6, "Cocaine               16       MR. PERSONS: Object as unresponsive. Move to
       17   abuse, episodic," and right beneath that, "Smokes       17   strike.
       18   crack daily."                                           18   BY MR. PERSONS:
       19          That's what the doctor wrote, right?             19       Q. Under "Patient Instructions,"
       20       A. Correct.                                         20   Dr. Magness actually referred Ms. Bayless to a case
       21       Q. And, again, you didn't note that in your         21   manager for substance abuse, didn't he?
       22   report, the daily use of crack cocaine?                 22       A. Correct.
       23       A. I noted that she used crack cocaine,             23       Q. And he -- do you have any idea whether
       24   yes.                                                    24   Ms. Bayless ever met with that case manager?

                                                       Page 171                                                        Page 173
        1       Q. But not daily?                                    1      A. Not that I specifically recall from the
        2       A. It's in the medical record.                       2   medical records or her deposition testimony.
        3       Q. And the frequency of cocaine use is               3      Q. All right. Also under "Patient
        4   relevant to whether a patient will have issues with      4   Instructions" Dr. Magness ordered Ms. Bayless to
        5   post-surgical healing, doesn't it?                       5   complete testing, "Please complete testing." And
        6       MR. HABERMAN: Object.                                6   you agree that likely refers to the STD testing
        7   BY THE WITNESS:                                          7   that he ordered?
        8       A. Not two and a half years after the                8      A. Yeah, the HIV and the RPR and hepatitis
        9   surgery.                                                 9   panel are all blood tests.
       10   BY MR. PERSONS:                                         10      Q. Any idea whether Ms. Bayless completed
       11       Q. All right. Dr. Magness also documented           11   that testing?
       12   discussing with Ms. Bayless that she could smoke        12      A. Not that I specifically recall from the
       13   crack and have a vasospasm or a heart attack and        13   medical records.
       14   die, right?                                             14      Q. All right. She was also ordered to
       15       A. That is correct.                                 15   return to the clinic in one month.
       16       Q. And her history of hypertension puts her         16           I'll represent we have no records
       17   at an even higher risk of this, doesn't it?             17   indicating Ms. Bayless followed up with Dr. Magness
       18       A. That is correct.                                 18   in one month. Do you have any such record?
       19       Q. And hypertension combined with daily             19      A. Not that I specifically recall.
       20   crack use could further raise the risk of               20      Q. All right. Let's look at Tab No. 10.
       21   suboptimal wound healing?                               21               (WHEREUPON, Rosenzweig Deposition
       22       A. Well, her blood pressure on this date            22                Exhibit No. 13 was marked for
       23   was 128 over 82, which is in the normal range.          23                identification: 9/5/14 medical
       24       Q. It's was pretty good I guess. I mean,            24                record; COL PLTF 000376 RBAYLESS -

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                                          Bruce Rosenzweig, M.D.
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        1             COL PLTF 000379 RBAYLESS.)                  1       Q. Now, on page 3 under "GU," the provider
        2   BY MR. PERSONS:                                       2   documented performing a speculum exam, right?
        3      Q. This is from a visit of September the           3       A. Correct.
        4   5th, 2014. Do you see that?                           4       Q. And noted visualizing "exposed mesh,
        5      A. Yes.                                            5   slight, with no surrounding erythema or
        6      Q. And this is from Parrish Medical Center.        6   excoriation, no bleeding, OS removed."
        7   And I assume you reviewed this record in full?        7           Did I read that correctly?
        8      A. Yes.                                            8       A. Yes.
        9      Q. On this day, Ms. Bayless came to the ER         9       Q. And erythema is swelling, correct?
       10   complaining of vaginal spotting without pain on      10       A. No. It's redness.
       11   three occasions in the past four months when she's   11       Q. Redness. All right. So, no redness was
       12   had sex, correct?                                    12   noted?
       13      A. Yes.                                           13       A. Correct.
       14      Q. And, so, Ms. Bayless was experiencing          14       Q. And excoriation is abrading or wearing
       15   minor vaginal bleeding or spotting but was not       15   off of skin, is that right?
       16   experiencing any vaginal or pelvic pain, correct?    16       A. Correct.
       17      A. Yes.                                           17       Q. So, it didn't appear that the tissue was
       18      Q. And according to this, the spotting            18   damaged, scraped or abraded, did it?
       19   occurred only after she'd had sex. It wasn't         19       A. The surrounding tissue, correct.
       20   something that was constant, right?                  20       Q. And no bleeding was noted at that time,
       21      A. Yes.                                           21   correct?
       22      Q. And then she states that she can feel          22       A. Correct.
       23   mesh at the back of the vaginal wall?                23       Q. And the provider also noted that there
       24      A. Yes.                                           24   was only slight mesh visualized?
                                                     Page 175                                                  Page 177
        1       Q. And, again, Ms. Bayless denied pain or         1       A. Correct.
        2   dysuria, right?                                       2       Q. And you'd agree that mesh was visualized
        3       A. That's what the record states.                 3   at the apical incision site?
        4       Q. Okay. And she again stated she may have        4       A. Correct.
        5   had HIV and STD exposure?                             5       Q. That's the area that Dr. Jones noted
        6       A. That's what she states.                        6   that had separated at Ms. Bayless' September the
        7       Q. Do you have any idea whether Ms. Bayless       7   24th, 2013 postoperative follow-up visit, isn't it?
        8   ever underwent the STD testing that was ordered by    8       A. Well, this note doesn't say where the
        9   Dr. Magness at her July 24, 2014 visit?               9   exposed mesh was.
       10       A. Not that I specifically recall from           10       Q. But you would agree that Dr. Jones noted
       11   seeing in the medical records.                       11   that there had been this separation visualized at
       12       Q. Now, near the bottom of this list, the        12   the apical incision site when she last saw the
       13   provider noted that Ms. Bayless denied vaginal       13   patient on September 24, 2013?
       14   discharge, abdominal pain, nausea or vomiting,       14       A. That's according to Dr. Jones' record,
       15   fever, chills, headaches, dysuria or shortness of    15   yes.
       16   breath, right?                                       16       Q. If mesh is visualized at the apical
       17       A. Correct.                                      17   site, that would indicate that the wound never
       18       Q. And, so, the only symptoms she's              18   properly healed from the surgery, wouldn't it?
       19   presenting here with on this occasion is spotting    19       A. But we don't know where this exposed
       20   after intercourse?                                   20   mesh is.
       21       A. Correct.                                      21       Q. But if it is at the apical site, it
       22       Q. And she suspected her mesh was visible        22   would so indicate, wouldn't it?
       23   at the back of her vaginal wall?                     23       A. It would so indicate that there was a
       24       A. Correct.                                      24   continuing erosion/exposure of mesh.

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                                              Bruce Rosenzweig, M.D.
                                                             Page 178                                                  Page 180
        1       Q. And mesh can become visible or exposed                1   you're saying that the back wall is the apex.
        2   unrelated to any characteristic or trace of the              2   That's not correct.
        3   mesh itself if a wound doesn't properly heal and             3           If you want to reframe your question,
        4   the mesh is therefore exposed, correct?                      4   then I can answer that question. I'll answer that
        5       A. That's not correct.                                   5   question.
        6       Q. So, a wound cannot properly heal and the              6       Q. According to her testimony, the mesh was
        7   only way the mesh becomes exposed is if there is             7   at the back of her vaginal wall. Isn't that what
        8   some trait or characteristic that's unique to mesh.          8   she testified to?
        9   Is that your testimony?                                      9       A. I have a general recollection of that,
       10       A. Sir, if you could please move into your              10   but that's not the apex of the vagina.
       11   frame.                                                      11       Q. In any event, the -- you're saying the
       12       Q. Oh, I'm sorry.                                       12   only way that mesh can become exposed is due to
       13       A. That's okay.                                         13   something other than the failure of a wound to
       14       Q. You can hear me, can't you?                          14   properly heal?
       15       A. You're breaking in and out.                          15       A. That's not what I testified to.
       16       Q. I'm terribly sorry. I apologize for                  16       Q. Okay. So, you would agree that the
       17   that.                                                       17   failure of a wound to properly heal can cause the
       18           So, is it your testimony that the only              18   mesh to become exposed?
       19   way that mesh can become exposed when a wound does          19       A. Due to the fact that there's mesh there,
       20   not properly heal is -- strike that.                        20   correct.
       21           Is it your testimony that the exposure              21       Q. Right.
       22   of mesh at a -- at the site of a wound that does            22       A. Due to the characteristics of the mesh.
       23   not properly heal is occasioned only by or caused           23           But there's no evidence that this
       24   by some trait or characteristic unique to mesh?             24   incision failed to heal.
                                                           Page 179                                                    Page 181
        1       A. You're asking me a hypothetical right                 1       Q. All right. You don't have any records
        2   now?                                                         2   regarding any follow-up treatment that Ms. Bayless
        3       Q. No. I'm just asking you that question,                3   had for her incisional separation, do you?
        4   yeah, I mean, just -- yeah, just as a general --             4       A. Which incisional separation?
        5   general, yeah, that's what I'm asking you.                   5       Q. Well, the only one that was noted by
        6            Is that your testimony?                             6   Dr. Jones was at the apical site. Do you have any
        7       A. We saw that Dr. Jones affirmed that the               7   record of any treatment that this patient underwent
        8   mesh exposure is caused by the mesh and that would           8   for that wound separation at the apical site noted
        9   be the characteristics of the mesh that led the              9   by Dr. Jones at the September 24, 2013 visit?
       10   mesh to be exposed, correct.                                10       A. No. Dr. Jones did not recommend any
       11            There are things that can contribute to            11   treatment at that point.
       12   it, as I state in my report. But the reason why             12       Q. Have you seen any record of any
       13   the mesh became exposed is because of the mesh.             13   treatment, irrespective of recommendation by
       14       Q. Well, apical incision, that's the back               14   Dr. Jones, but have you seen any record of any
       15   of the vaginal wall and that's where Ms. Bayless            15   treatment for that?
       16   thought that her mesh had become exposed or                 16       A. For the exposure that Dr. Jones noted in
       17   visible, correct?                                           17   September of 2013?
       18       A. Sir, please talk into your microphone.               18       Q. Yes.
       19       Q. Yes. Back of the vaginal wall, that's                19       A. No. But the record that we're looking
       20   the apical site, and that's where Mrs. Bayless,             20   at right now, August of 2014, that does not state
       21   Ms. Bayless thought that or felt that her mesh had          21   that that is in the same location as what Dr. Jones
       22   become exposed?                                             22   saw in 2013.
       23       A. That's not correct. The back wall is                 23              (Simultaneous crosstalk and
       24   the back wall. The apical wall is the top. So,              24               clarification requested by the

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        1              reporter.)                                     1   Ob-Gyn after this visit.
        2      MR. CONNOLLY: I just said the witness                  2           Have you seen such a record?
        3   accidentally mischaracterized the document I trust        3       A. No, I have not. And if I recall,
        4   as August. And it's September of 2014.                    4   Ms. Bayless testified that she doesn't have
        5      THE WITNESS: Thank you. Sorry. September of            5   insurance.
        6   2014.                                                     6       Q. All right. Now, it then says
        7   BY THE WITNESS:                                           7   Ms. Bayless "will treat for GC and test for HIV at
        8      A. So, your question was is there any                  8   her request."
        9   evidence that the wound healed prior to                   9           You'd agree the GC likely refers to
       10   September 2013 -- what is the exact date?                10   gonorrhea/chlamydia?
       11   BY MR. PERSONS:                                          11       A. Correct.
       12      Q. No.                                                12       Q. All right. And as we've seen,
       13      A. September 24, 2013?                                13   Ms. Bayless had been treated for those STDs in the
       14      Q. No. No, that's not my question.                    14   past?
       15      A. Okay.                                              15       A. Are we talking about since we've looked
       16      Q. My question was do you have any evidence           16   at these records or just since 2012?
       17   that the incision healed following her surgery on        17       Q. Yes.
       18   September the 24th, 2013? That was my question.          18       A. No, she hasn't. She's been tested for
       19      A. On September 24 -- oh, prior to                    19   it, but she hasn't been treated. This is the first
       20   September 23?                                            20   one where someone suggests that she get treatment
       21      Q. Let me start over.                                 21   for gonorrhea/chlamydia.
       22      A. Okay.                                              22       Q. Under tab 11.
       23      Q. We're not communicating.                           23              (WHEREUPON, Rosenzweig Deposition
       24           Do you have any evidence that the wound          24               Exhibit No. 14 was marked for
                                                          Page 183                                                     Page 185
        1   that was noted on September the 24th, 2013 that had       1              identification: 5/22/15 medical
        2   not properly healed, do you have any evidence that        2              record; COL PLTF 000014 RBAYLESS -
        3   that wound subsequently healed?                           3              COL PLTF 000017 RBAYLESS.)
        4      A. Not that's documented in the medical                4   BY MR. PERSONS:
        5   records.                                                  5      Q. This is the record of an office visit
        6      Q. All right. That was my question.                    6   from May the 22nd, 2015 to Brevard Health Alliance.
        7      A. Okay.                                               7   And this is more than eight months after the
        8      Q. Now, you would agree that intercourse is            8   September 4, 2014 visit to the Parrish emergency
        9   likely to potentiate spotting if the apical               9   room record that we've looked at earlier, right?
       10   incision related to Ms. Bayless' hysterectomy and        10      A. Correct.
       11   pelvic organ prolapse repair never properly healed?      11      Q. And Ms. Bayless presented with the
       12      A. Because of a mesh exposure.                        12   history, hypertension, complaints of getting angry
       13      Q. If someone has intercourse and the wound           13   early -- "Anger easily, presented with foul odor
       14   hadn't properly healed at the apical site, could         14   with vaginal discharge." Correct?
       15   that cause spotting?                                     15      A. Correct.
       16      A. With the mesh exposure, yes.                       16      Q. "No pelvic pain or burning with
       17      Q. After that, the record -- we are going             17   urination." Right?
       18   back to this record.                                     18      A. Correct.
       19           The record notes, "Questionable erosion          19      Q. "Similar to past when treated with
       20   of mesh, she has follow-up with her Ob-Gyn."             20   Flagyl, this worked."
       21           Do you see that?                                 21           Do you see that?
       22      A. Yes.                                               22      A. Yes.
       23      Q. Your report doesn't contain any                    23      Q. And that's likely referring to bacterial
       24   reference to any follow-up by Ms. Bayless with an        24   vaginosis, isn't it?

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        1      A. Or the one episode of trichomoniasis             1       Q. And here Ms. Bayless presents to
        2   that we saw.                                           2   Dr. Francisco Garcia at the Parrish emergency room
        3      Q. Because we saw in earlier records that           3   with complaints of a rash and vaginal discharge,
        4   she treated bacterial vaginosis with Flagyl?           4   dysuria and abdominal pain, correct?
        5      A. No. We saw a record where she was                5       A. Yes.
        6   treated with Flagyl without a diagnosis.               6       Q. And Dr. Garcia wrote that Ms. Bayless
        7      Q. Okay.                                            7   reported "a two-week history of malodorous brown
        8      A. For vaginal discharge.                           8   vaginal discharge, status post unprotected sex with
        9      Q. Vaginal discharge. Okay.                         9   some associated dysuria and mild abdominal pain."
       10      A. And the --                                      10          Do you see that?
       11      Q. On page 3 this records indicates that           11       A. Yes.
       12   Ms. Bayless was still smoking at the time and still   12       Q. Now, Ms. Bayless presented with these
       13   using cocaine?                                        13   symptoms previously, at the December 10, 2012 visit
       14      A. Correct.                                        14   to the Brevard Health Department. Do you recall
       15      Q. And on the last page, under "Impression         15   that?
       16   and Recommendations," it says, "Use Flagyl as         16       A. Yes.
       17   directed." And this is for the treatment of           17       Q. Do you recall that she was diagnosed
       18   vaginal discharge, right?                             18   with trichomonas at that visit?
       19      A. Correct.                                        19       A. Correct.
       20      Q. But no specific diagnosis was given, was        20       Q. And a wet prep for trichomonas was
       21   there?                                                21   obtained?
       22      A. Correct.                                        22       A. On that prior visit.
       23      Q. So, we have no indication what the              23       Q. And she developed these symptoms after
       24   discharge was related to, do we?                      24   engaging in unprotected sex, correct?

                                                     Page 187                                                     Page 189
        1      A. Correct.                                         1       A. That was not documented.
        2      Q. We don't know whether it was related to          2       Q. All right. But in this instance she
        3   mesh or to something else, do we?                      3   reports that she had these symptoms after
        4      A. Well, a culture was not performed.               4   unprotected sex?
        5      Q. So, we don't know whether it was related         5       A. This record does state that she affirmed
        6   to mesh or something else, do we?                      6   to having had unprotected sex.
        7      A. No exam was performed and no culture was         7       Q. Right. And Dr. Garcia goes on to note
        8   taken.                                                 8   that Ms. Bayless has a history of gonorrhea and
        9      Q. So we don't know --                              9   trichomonas, doesn't he?
       10      A. Correct.                                        10       A. Correct.
       11      Q. -- what it was related to, correct?             11       Q. Now, Ms. Bayless said the symptoms are
       12      A. Correct.                                        12   similar but the odor is worse.
       13      Q. Now, let's go to Tab No. 12.                    13          Do you see that?
       14             (WHEREUPON, Rosenzweig Deposition           14       A. Yes.
       15              Exhibit No. 15 was marked for              15       Q. You agree that symptoms of gonorrhea can
       16              identification: 6/11/15 medical            16   worsen with subsequent infections?
       17              record; COL PLTF 000244 RBAYLESS -         17       A. No.
       18              COL PLTF 000250 RBAYLESS.)                 18       Q. Okay. You don't agree that the symptoms
       19   BY MR. PERSONS:                                       19   of gonorrhea can get worse with subsequent
       20      Q. And this is a record from Parrish               20   symptoms -- infections of gonorrhea, that's your
       21   Medical Center in Titusville, June the 11th, 2015,    21   testimony?
       22   and this is the last record discussed in your         22       A. Vaginal symptoms?
       23   report. Yes?                                          23       Q. Symptoms of gonorrhea can worsen with
       24      A. Correct.                                        24   subsequent infection? Yes or no.

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        1       A. Well, without a cervix, you're not going        1      A. Dr. Jones did not recommend any
        2   to have a discharge from gonorrhea or chlamydia        2   treatment for it on September 24, 2013.
        3   because there's no place for it to live.               3      Q. That's not my question.
        4       Q. Would you agree that the symptoms of            4      MR. PERSONS: And I move to strike it as
        5   trichomonas can worsen with subsequent infections?     5   unresponsive.
        6       A. No.                                             6   BY MR. PERSONS:
        7       Q. Okay. At the bottom of page 3,                  7      Q. The question was: We have no records
        8   Dr. Garcia documented performing a vaginal exam,       8   indicating that she ever was treated for the
        9   didn't he?                                             9   incisional separation that was visualized by
       10       A. Correct.                                       10   Dr. Jones on September the 24th of 2013?
       11       Q. And he noted visualizing a "surgical           11      A. And my answer is Dr. Jones did not
       12   'tack,'" quote-unquote, "from previous bladder lift   12   recommend treatment on September 24, 2013.
       13   surgery in Orlando."                                  13      Q. All right. Well, point me to a record
       14           Do you see that?                              14   that shows that she had treatment subsequent to
       15       A. Yes.                                           15   September 24 of 2013 for an incisional separation
       16       Q. He noted erythema and slight discharge         16   that was visualized in her postoperative visit.
       17   from this?                                            17   Can you point me to such a record?
       18       A. Yes.                                           18      A. No.
       19       Q. But he didn't describe what the surgical       19      Q. Okay.
       20   tack was, did he?                                     20      MR. HABERMAN: Ray.
       21       A. No.                                            21      MR. PERSONS: Yes.
       22       Q. Nor did he describe where the surgical         22      MR. HABERMAN: I'd like to take a break. We
       23   tack was visualized, did he?                          23   have been going quite a bit of time now.
       24       A. Correct.                                       24      MR. PERSONS: We have. Ma'am, how much time

                                                      Page 191                                                       Page 193
        1       Q. It's likely at the same site that the           1 have we -- can you calculate that while we're off
        2   provider visualized at Mrs. -- at Ms. Bayless'         2 the record, please, Madam Court Reporter, and then
        3   September the 5th, 2014 visit to the Parrish           3 when we come back we will have some idea how much
        4   emergency room, isn't it?                              4 time we have got and I am going to try to get
        5       A. That would be speculation.                      5 through this.
        6       Q. All right. But you don't have any basis         6      MR. HABERMAN: All right.
        7   for it being any sites other than that, do you?        7      MR. PERSONS: How much time do you need? You
        8       A. The site of the last exposure and the           8   take as much time as you need, obviously, but I
        9   site of this exposure are not well described in the    9   want to know what time to come back.
       10   medical records.                                      10      MR. HABERMAN: Understood. Doctor, are you
       11       Q. So, we haven't seen any record where           11   hungry? Have you eaten? Do you want to plow
       12   Ms. Bayless sought treatment for the slight           12   through it?
       13   exposure visualized at the September 15th -- strike   13      THE WITNESS: I just got to go to the
       14   that -- at the September 5, 2014 visit to the         14   bathroom, but then I'm fine.
       15   Parrish ER?                                           15      MR. HABERMAN: Gotcha.
       16       A. Correct.                                       16      THE WITNESS: The dogs haven't been barking.
       17       Q. And as we discussed earlier, we have no        17   That's a good sign.
       18   records indicating she ever was treated for the       18      MR. HABERMAN: Why won't we say five minutes
       19   incisional separation visualized at her               19   or so.
       20   postoperative visit to Dr. Jones on September the     20      MR. PERSONS: Sounds good.
       21   24th, 2013, correct?                                  21             (WHEREUPON, a recess was had
       22       A. We don't have any evidence that she was        22              from 1:34 to 1:45 p.m.)
       23   treated?                                              23   BY MR. PERSONS:
       24       Q. Right.                                         24      Q. Dr. Rosenzweig, you have no evidence

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        1   that Ms. Bayless' prior STD testing came back              1       Q. Well, he doesn't say -- there is nothing
        2   negative, do you?                                          2   in this record reflecting a wound dehiscence, is
        3       A. Not that I recall from the medical                  3   there?
        4   records.                                                   4       A. There is nothing in this record that
        5       Q. All right. You agree that repeated                  5   discusses a wound dehiscence, which did not occur
        6   vaginal infections, whether it's bacterial                 6   in this case.
        7   vaginitis or STDs, in the presence of a poorly             7       Q. There's nothing in this record that
        8   healed incision could explain Ms. Bayless'                 8   discusses separation at the apical incision, is
        9   recurrent infection?                                       9   there?
       10       A. The exposed mesh, yes.                             10       A. At this visit or at another visit?
       11       Q. And the mesh could have been exposed as            11       Q. In this record.
       12   a result of a poorly healed incision, couldn't it?        12       A. Are you referencing an apical separation
       13       A. Because of the mesh, yes.                          13   at this visit or at some other time in Ms. Bayless'
       14       Q. Not that the mesh caused the incision to           14   history?
       15   poorly heal, but the very presence of the mesh, the       15       Q. No. I'm talking about Dr. Garcia, in
       16   mesh wouldn't be -- without the poorly healed             16   terms of his report as reflected in this record of
       17   incision, the mesh would not have become visible.         17   June the 11th, 2015. That's what we're talking
       18   Yes?                                                      18   about.
       19       A. No, that's not correct.                            19       A. He does describe that there is a mesh
       20       Q. Well, a poorly healed incision can                 20   exposure.
       21   reveal the presence of mesh, can't it?                    21       Q. And he doesn't -- okay.
       22       A. No, the incision -- the mesh became                22           Now, Dr. Garcia also suspected bacterial
       23   exposed because of the characteristics of the mesh        23   vaginosis, didn't he?
       24   that lead, as I have -- as I state in my general          24       A. Correct.
                                                           Page 195                                                       Page 197
        1   causation report and the general causation reports         1       Q. And because of the symptoms of
        2   of Dr. Garely and Dr. Hoyte, the characteristics of        2   malodorous discharge, abdominal pain and dysuria,
        3   the mesh make the vaginal epithelium break down due        3   those are all consistent with the diagnosis of
        4   to the characteristics of the mesh that are                4   bacterial vaginosis and trichomonas, isn't it?
        5   described in my general causation report.                  5       A. That's not correct. That's not correct.
        6       Q. So, it's your testimony that in the                 6       Q. Okay. Although this complaint isn't
        7   absence of mesh, the wound would have properly             7   documented here, trichomonas can be associated with
        8   healed. Is that your testimony?                            8   dyspareunia, though, can't it?
        9       A. In this case, correct.                              9       A. Possibly.
       10       Q. All right. Now, at the bottom of                   10       Q. And we know that Dr. Garcia instructed
       11   page 6, under "Clinical Impression," Dr. Garcia           11   Ms. Bayless to undergo testing for trichomoniasis,
       12   wrote, "Vaginal erosion due to surgical mesh,             12   didn't he?
       13   bacterial vaginosis, trichomonas vaginitis."              13       A. Well, the testing would be done in the
       14           Do you see that?                                  14   office or at this visit. I don't understand why
       15       A. Yes.                                               15   the testing wasn't done at this visit.
       16       Q. Again, Dr. Garcia doesn't indicate where           16       Q. That's not my question.
       17   the mesh was exposed or visualized, does he?              17       MR. PERSONS: And I move to strike it as
       18       A. Not in that statement.                             18   unresponsive.
       19       Q. And there's no indication that                     19   BY MR. PERSONS:
       20   Dr. Garcia has seen the implant report, is there?         20       Q. He instructed her to undergo testing for
       21       A. Correct.                                           21   trichomoniasis? Yes or no.
       22       Q. There's no indication that he's aware of           22       A. Testing?
       23   the wound dehiscence, is there?                           23       Q. Under "Instructions."
       24       A. Wound never dehisced.                              24       A. Yes.

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                                           Bruce Rosenzweig, M.D.
                                                         Page 198                                                 Page 200
        1       Q. He -- here's the entry, "Sexually                 1       A. Correct.
        2   transmitted diseases, trichomoniasis."                   2       Q. And she was also negative for yeast,
        3           Do you see that?                                 3   wasn't she?
        4       A. It says, "Sexually Transmitted Diseases           4       A. Yes.
        5   (ED)," which would be the emergency department, and      5       Q. And for hematuria?
        6   "Trichomoniasis (ED)." So, I don't under- -- those       6       A. Correct. Well, there are a few red
        7   aren't instructions to be tested.                        7   blood cells seen.
        8       Q. All right. Let's cut to the chase.                8       Q. Now, this record isn't listed in your
        9           She was confirmed -- a diagnosis of              9   report. Did you review it?
       10   trichomonas was confirmed, wasn't it, Doctor?           10       A. Yes.
       11       A. No, it wasn't.                                   11       Q. Now, you'd agree that Ms. Bayless'
       12       Q. All right. Look at tab 12-A.                     12   discharge, abdominal pain, vaginal itching and
       13       A. That's the clinical impression, not a            13   burning and dysuria were all related to the
       14   diagnosis. There's nothing here. There's not a          14   trichomonas infection?
       15   wet mount. There is not a PCR test.                     15       A. No. I would agree that a vaginal
       16       Q. Let's go --                                      16   discharge was.
       17       MR. PERSONS: Strike everything because there        17       Q. All right. And based on the records
       18   is no question pending.                                 18   we've seen today, this is her second trichomonas
       19   BY MR. PERSONS:                                         19   infection since 2012?
       20       Q. I asked that we go to tab 12-A and then          20       A. Right.
       21   you started testifying.                                 21       Q. You don't have any basis on which to
       22       A. No, you asked me if there was a                  22   dispute the possibility that she had other
       23   diagnosis made of trichomoniasis and no.                23   infections too, do you?
       24       Q. You said no, and then I went on to 12-A.         24       A. Again, I do not specifically recall in
                                                        Page 199                                                  Page 201
        1      A.   Okay.                                            1   the records any other positive test.
        2      Q.   I'm on to 12-A.                                  2      Q. All right. Unprotected sex raises the
        3      A.   All right.                                       3   risk of contracting trichomonas, doesn't it?
        4      Q.   Get out 12-A.                                    4      A. Again, that's debatable.
        5             (WHEREUPON, Rosenzweig Deposition              5      Q. Okay. But we did see this in the
        6              Exhibit No. 16 was marked for                 6   June 11, 2015 visit when she presented with these
        7              identification: 6/18/15                       7   symptoms, these same symptoms, after engaging in
        8              "Cumulative Discharge Summary                 8   unprotected sex by her own report, correct?
        9              Report"; COL PLTF 000270 RBAYLESS.)           9      A. Right. But we've seen other reports
       10   BY MR. PERSONS:                                         10   where she had unprotected sex, too.
       11       Q. Do you see that?                                 11      Q. All right. Let's go to -- okay.
       12       A. Yes.                                             12           Do you have or have you seen any medical
       13       Q. This is June the 11th, 2015. It says a           13   records other than the ones we have been discussing
       14   wet prep for trichomoniasis, doesn't it?                14   thus far?
       15       A. Yes.                                             15      A. Not that I specifically recall.
       16       Q. Trichomonas. I'm sorry.                          16      Q. Do you have your file there?
       17          And this record reflects or confirms             17      A. No. I think that was electronically
       18   Ms. Bayless' trichomonas infection, doesn't it?         18   transmitted.
       19       A. This record does, correct.                       19      Q. All right. You do have your report
       20       Q. Right. It says she was positive for              20   handy?
       21   trichomonas, doesn't it, Doctor?                        21      A. Yes.
       22       A. This record, yes.                                22      Q. On pages 7 and 8 of your report you
       23       Q. And it says her urine culture was                23   describe Dr. Jones' care and treatment of
       24   negative, correct?                                      24   Ms. Bayless?

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                                            Bruce Rosenzweig, M.D.
                                                          Page 202                                                      Page 204
        1      A. Yes.                                                1       Q. You're not offering any criticism of
        2      Q. My question is: Do you agree that                   2   Dr. Jones for deciding to use the Restorelle Y
        3   Ms. Bayless was an appropriate candidate for the          3   augment as -- to augment a surgical repair of
        4   surgery that Dr. Jones performed on August the 9th        4   Ms. Bayless' pelvic organ prolapse, are you?
        5   of 2013?                                                  5       A. I do not fault her, correct.
        6      A. Yes, she was an appropriate candidate               6       Q. Nor are you criticizing Dr. Jones for
        7   for a surgery to treat her stress urinary                 7   continuing to use the Restorelle Y for hundreds of
        8   incontinence and her pelvic organ prolapse.               8   pelvic organ prolapse repair surgeries since
        9      Q. And her candidacy for surgery was based             9   Ms. Bayless' August 9, 2013 surgery as Dr. Jones
       10   on the information that Dr. Jones had available at       10   has so testified?
       11   the time she had the risk/benefit discussion with        11       MR. HABERMAN: Objection. You can answer.
       12   Ms. Bayless?                                             12   But that product, is she able to use that product
       13      A. Correct.                                           13   right now?
       14      Q. And you're aware that Dr. Jones has                14   BY MR. PERSONS:
       15   testified she was unaware of Ms. Bayless' cocaine        15       Q. That's the question.
       16   crack abuse at the time of her implantation              16       A. I do not fault her, yes.
       17   procedure. You're aware of that, right?                  17       Q. Right. Now, you're aware that she
       18      A. That's what she stated.                            18   testified that she selected the Restorelle Y to
       19      Q. And you're aware that Dr. Jones has                19   augment Ms. Bayless' pelvic organ prolapse repair
       20   further testified that if she had known of that          20   due to its very ultra light weight. Are you aware
       21   substance abuse issue, she would not have performed      21   that she testified to that?
       22   surgery on Ms. Bayless?                                  22       A. Correct.
       23      A. Well, she was actively using cocaine at            23       Q. Are you also aware that one of the
       24   the time.                                                24   reasons that she selected the Restorelle Y was its

                                                        Page 203                                                      Page 205
        1       Q. But Dr. Jones said that if she had known           1   macro pore size?
        2   of that substance abuse issue, she would not have         2       A. That's what she stated.
        3   performed surgery on Ms. Bayless. That is what            3       Q. Including the fact that Restorelle Y has
        4   Dr. Jones testified to, didn't she?                       4   one of the largest interstitial pore sizes of any
        5       A. Correct.                                           5   POP mesh on the market. Do you recall her
        6       Q. Now, you're aware that the Restorelle Y            6   testimony?
        7   is indicated for the treatment of abdominal sacral        7       A. She did state that, but that's not
        8   colpopexy?                                                8   correct.
        9       A. It's indicated to treat pelvic organ               9       Q. All right. And she also said that one
       10   prolapse. But, yes, it's used as an abdominal            10   of the characteristics of the Restorelle Y and a
       11   colposacropexy, yes.                                     11   basis for her selection of that material to augment
       12       Q. And that can be either laparoscopically           12   the surgery was its very good flexibility?
       13   or open, right?                                          13       A. Yes.
       14       A. Correct.                                          14       Q. In her words, when you look at a
       15       Q. With or without robotic assistance,               15   product, you look at its ability to stretch in a
       16   correct?                                                 16   vertical or an up-and-down fashion as well as a
       17       A. Correct.                                          17   side-to-side fashion.
       18       Q. And Ms. Bayless' pelvic organ prolapse            18       A. That's what she stated.
       19   repair with the Restorelle Y was indeed performed        19       Q. All right. You don't have any basis on
       20   as a robotic-assisted abdominal surgery, wasn't it?      20   which to dispute her understanding of the
       21       A. Yes.                                              21   properties of the Restorelle Y, do you?
       22       Q. It was not performed as a transvaginal            22       A. I do not dispute what she stated in her
       23   surgery, was it, Doctor?                                 23   deposition.
       24       A. Correct.                                          24       Q. Now, you're also a --

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                                            Bruce Rosenzweig, M.D.
                                                        Page 206                                                    Page 208
        1       A. I do dispute some of the facts about the           1   the Restorelle Y-mesh.
        2   mesh, but that is a more general causation opinion.       2           We don't know where the other exposures
        3       Q. You're also aware that Dr. Jones                   3   were noted. So, therefore, it could be either
        4   testified that she uses mesh, including the               4   product, but more likely than not it was from the
        5   Restorelle Y, to augment pelvic organ prolapse            5   Restorelle Y-mesh.
        6   repair surgeries because it achieves a, quote,            6       Q. But you don't -- in none of the pages
        7   "more permanent," end quote, repair?                      7   between 1 through 15 do you make such a
        8       A. That's what she stated.                            8   delineation, do you?
        9       Q. And you have no basis to disagree with             9       A. Specifically in the report, no.
       10   Dr. Jones' statement of her opinion to that effect,      10       Q. Okay. Now, you understand that your
       11   do you?                                                  11   litigation report should contain a complete
       12       A. The medical literature.                           12   statement of your opinions in this case, you
       13       Q. All right. But you don't dispute that             13   understand that, right?
       14   that's what she said?                                    14       MR. HABERMAN: Objection.
       15       A. I don't dispute that's what she said.             15   BY THE WITNESS:
       16   As I stated, the medical literature might dispute        16       A. And to what I testify to today at this
       17   the veracity of that statement.                          17   deposition.
       18       Q. All right. But you don't dispute that             18   BY MR. PERSONS:
       19   that is a statement of her experience with this          19       Q. Well, have you received any new
       20   material?                                                20   information since issuing your report that you
       21       A. No. That is the answer she gave to --             21   claim could enable you or would enable you to
       22   at her deposition.                                       22   attribute a specific symptom of Ms. Bayless'
       23       Q. Right. Now, on page 9, Item No. 1 of              23   complaints to one implant versus another?
       24   your report, you claim that "As a result of the          24       A. Well, again, I've reviewed Dr. Jones'
                                                          Page 207                                                  Page 209
        1   implantation of the Advantage Fit and Restorelle          1   deposition testimony and I reviewed Mrs. Bayless'
        2   Y-mesh products, Ms. Bayless experienced mesh             2   deposition testimony.
        3   erosions, exposures, vaginal bleeding and                 3           I've not reviewed the deposition
        4   infection"?                                               4   testimony of Dr. Garcia nor Dr. Magness to be able
        5       A. Yes.                                               5   to further delineate if they had any additional
        6       Q. Before we go any further, this statement           6   information that could separate the -- where they
        7   indicates that you're attributing all of                  7   found the erosion to be able to specify whether it
        8   Ms. Bayless' alleged symptoms to both the Advantage       8   was more likely than not from the Restorelle or
        9   Fit and the Restorelle Y-mesh, correct?                   9   from the Advantage Fit.
       10       A. Well, that and based on her deposition            10       Q. So, is it your testimony, then, that you
       11   testimony I would add dyspareunia.                       11   would need additional information in order to
       12       Q. But you don't differentiate between the           12   attribute specific injuries to one product or the
       13   two implants whatsoever anywhere in your litigation      13   other?
       14   report, do you?                                          14       MR. HABERMAN: Objection.
       15       A. In the medical summary, yes.                      15   BY THE WITNESS:
       16       Q. You don't attribute specific injuries to          16       A. As I stated, more likely than not the
       17   one product or the other anywhere in your report,        17   erosions, the vaginal discharge and the bleeding is
       18   do you?                                                  18   from the Restorelle Y-mesh.
       19       A. Again, in the medical summary.                    19           The painful intercourse would more
       20       Q. Let's look -- let's look in the summary.          20   likely than not be more likely associated with the
       21           Where in your report are you referring?          21   Restorelle Y-mesh and a minimal contributor from
       22       A. Well, the initial exposure that was               22   the Advantage Fit.
       23   documented at the -- on September 24, 2013, was          23   BY MR. PERSONS:
       24   the -- at the apex. More likely than not that was        24       Q. All right. Now, you didn't update your

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                                             Bruce Rosenzweig, M.D.
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        1   report to reflect what you just told us, though,           1   apical incision separated following her August 9,
        2   did you?                                                   2   2013 procedure? Did you consider that in your
        3      MR. HABERMAN: Objection.                                3   differential diagnosis?
        4   BY THE WITNESS:                                            4       A. That it healed and then the mesh eroded
        5      A. No, because --                                       5   through? Yes.
        6      MR. HABERMAN: In response to your question.             6           Did she have difficulty healing due to
        7   BY THE WITNESS:                                            7   her prior history of cocaine use and smoking? No.
        8      A. I knew I would be testifying to that                 8   In fact, Dr. Jones even testified that she did not
        9   today.                                                     9   note any poor healing in the first two months after
       10   BY MR. PERSONS:                                           10   surgery.
       11      Q. Okay. So, you're broadly claiming that              11           And it's also noted that her other
       12   because both implants contain polypropylene,              12   wounds from her robotic surgery had healed
       13   they're the cause of Ms. Bayless' injuries?               13   completely, and the only finding of separation was
       14      MR. HABERMAN: Objection.                               14   where the mesh was, which shows that she did have
       15   BY MR. PERSONS:                                           15   no problem with wound healing.
       16      Q. Yes?                                                16       Q. Now, where in Dr. Jones' records does it
       17      A. I have reviewed and relied upon my                  17   indicate that the wound had healed properly?
       18   general causation reports and my prior general            18       A. No. She was asked --
       19   causation testimony, and that is a very -- the            19       MR. HABERMAN: Objection.
       20   answer to that question is not a yes-or-no                20   BY THE WITNESS:
       21   question. It is a very broad and detailed question        21       A. No. What she was asked is did she have
       22   that is in my general causation report.                   22   any problems with wound healing, and Dr. Jones said
       23           I did do a very detailed differential             23   no.
       24   diagnosis, most of which we discussed today, on how       24   BY MR. PERSONS:

                                                          Page 211                                                      Page 213
        1   I ruled out other causes, such as her history of           1       Q. Did you -- how did you rule out poor
        2   sexual abuse, her episiotomy with a tear, her              2   wound healing as cause of the mesh becoming visible
        3   history of STDs, her smoking, her use of crack             3   at the apical site, then?
        4   cocaine, her hysterectomy and the other medical            4       A. Well, because she didn't have wound --
        5   conditions that I've described in my report, which         5       Q. The wound had healed and then later
        6   leads me to the opinion that her injuries were             6   separated?
        7   caused by the mesh implants, the Restorelle Y-mesh         7       A. More likely than not, yes, because she
        8   primarily and the Advantage Fit secondarily.               8   had no problems healing any other wound. If you
        9       MR. PERSONS: Move to strike as unresponsive.           9   have generalized wound healing problems, your
       10   BY MR. PERSONS:                                           10   wounds are not going to heal. She had no problems
       11       Q. As part of your differential diagnosis,            11   healing the site where the sling was placed, where
       12   what did you consider in regards to the cause --          12   the ports were placed for the robotic surgery. The
       13   let me strike that.                                       13   only place where she did not -- where she had mesh
       14          Did you consider that only the mesh                14   exposure on September 24, 2013 was with the
       15   visualized was localized at the site of her apical        15   Restorelle Y-mesh.
       16   incision? Did you consider that in doing a                16       Q. All right. Did you take into account
       17   differential diagnosis?                                   17   Ms. Bayless' non-compliance with the postoperative
       18       A. Yes, I did consider that finding on                18   instructions regarding sexual activity following
       19   September 24, 2013. The other -- the other                19   surgery? Did you take that into account?
       20   visualization of exposure was not described by the        20       A. Yes, and we discussed that. There is no
       21   physician in the medical records as to the exact          21   evidence that she was non-compliant with
       22   location where it was.                                    22   intravaginal intercourse.
       23       Q. And did you consider the fact that the             23           You are making the assumption that
       24   apical incision that had separated -- that the            24   saying decreased libido and orgasmic dysfunction is

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        1   a sign that she had sexual intercourse, and that's        1   intravaginal estrogen, but there's no indication
        2   not supported by the medical records or                   2   that she's estrogen-deficient and, therefore, more
        3   Ms. Bayless' deposition testimony.                        3   likely than not, that would not be effective.
        4       MR. PERSONS: Object and move to strike as             4       Q. But you don't know, do you?
        5   non-responsive.                                           5       A. It's not documented --
        6   BY MR. PERSONS:                                           6       Q. You don't know that for a fact?
        7       Q. The question was whether non-compliance            7       A. That philosophy has not been documented
        8   with instructions regarding sexual activity, which        8   in the medical records.
        9   Dr. Jones herself testified to, about that being          9       Q. And you haven't examined her, have you?
       10   one of the restrictions, whether you took that into      10       A. Correct.
       11   account in doing the differential diagnosis?             11       Q. So, you can't say it wouldn't have
       12       A. Yes, I did.                                       12   resolved the issue, the estrogen wouldn't resolve
       13       Q. All right. Now, such non-compliance               13   the issue for her?
       14   could have impacted the wound healing, couldn't it?      14       A. Well, Dr. Jones didn't think that
       15       A. If there was --                                   15   because Dr. Jones didn't prescribe it on June 24,
       16       Q. If Doctor said don't have sex for 12              16   2013.
       17   weeks and you have sex within the first six weeks,       17       Q. Now, even if Ms. Bayless is experiencing
       18   that could impact the healing of the wound, the          18   exposure, there are treatments for it, including
       19   vaginal wound, couldn't it?                              19   localized excision of exposed mesh, correct?
       20       A. Number one, Ms. Bayless testified that            20       A. Correct. But that's very difficult with
       21   she did not have intercourse prior to coming back        21   an abdominal colposacropexy.
       22   to see her, that she complied with the instructions      22       Q. But it is possible, isn't it?
       23   that Dr. Jones gave. That's the best indication          23       A. It is a very difficult surgery because
       24   that there was not intravaginal penetration prior        24   the top of the vagina is at the -- is attached to
                                                          Page 215                                                  Page 217
        1   to her visit and therefore could exclude                  1   the sacrum and trying to do a local excision puts
        2   non-compliance as a cause of poor wound healing.          2   you in close proximity to the sacral promontory,
        3      Q. All right. It's your testimony that any             3   the blood vessels, the ureters and the bowel.
        4   visible mesh that may be present in Ms. Bayless'          4       Q. Okay. It's a difficult surgery, but it
        5   vagina is permanent in nature?                            5   is a surgery that can be undertaken nevertheless?
        6      A. Yes.                                                6       A. Correct.
        7      Q. Now, wouldn't correcting the wound                  7       Q. Now, as part of your differential
        8   dehiscence that was never treated resolve the             8   diagnosis, what did you consider in regards to the
        9   visible mesh issue?                                       9   cause of the periodic spotting that Ms. Bayless is
       10      A. If she had a mesh explant, that would              10   attributing to the Restorelle and the Advantage
       11   remove the mesh and would improve the likelihood of      11   Fit?
       12   her not having a current or future mesh erosion.         12       A. Well, first, she doesn't have a uterus
       13   But to try to remove all the Y-mesh would be a very      13   and cervix. Those were removed. So, that would
       14   difficult surgical procedure.                            14   not cause spotting.
       15      Q. Well, what about not removing it and               15           The infections that she had and
       16   treating this -- the wound dehiscence?                   16   discharge that she had in her vagina, while she did
       17      A. You mean just simply oversewing it?                17   test positive on one occasion post-implant for
       18      Q. Treating the wound dehiscence.                     18   trichomoniasis, that trichomoniasis would not be
       19          Suppose -- couldn't you correct it by             19   associated with vaginal spotting.
       20   treating the wound dehiscence?                           20           So, the -- there was no cancer ever
       21      A. You mean oversewing the incisions? At              21   found in her vagina. There were no other lesions
       22   this point, no. She has a mesh erosion.                  22   found in her vagina.
       23      Q. All right.                                         23           So, the most likely remaining etiologic
       24      A. What one could -- one could try                    24   factor in the vaginal spotting is the mesh erosion.

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        1      Q. Now, did you consider whether she could            1   infections to the Board of Health and if someone
        2   have experienced postoperative bleeding with             2   did not document treatment, then the Board of
        3   intercourse with a hysterectomy alone?                   3   Health would get involved.
        4      A. Yes, but she didn't have postoperative             4       Q. But you haven't seen any record one way
        5   bleeding in this case.                                   5   or the other about the test results for any of the
        6      Q. Or spotting with intercourse?                      6   STDs for Ms. Bayless, have you?
        7      A. Or spotting. In this case in the                   7       A. Correct. And as I state, if the STDs
        8   postoperative period.                                    8   were positive, more likely than not that would have
        9      Q. I got you.                                         9   triggered a letter being sent, which she would have
       10           Now, patients who undergo pelvic organ          10   then known about.
       11   prolapse repair surgeries without mesh can also         11       Q. As part of your differential diagnosis,
       12   experience postoperative bleeding with intercourse,     12   what did you consider in regards to the cause of
       13   can't they?                                             13   Ms. Bayless' pelvic vaginal pain that she's
       14      A. In the postoperative period, they can.            14   attributing to the Restorelle Y-mesh and the
       15   However, long-term bleeding and spotting, if            15   Advantage Fit?
       16   absorbable sutures are used, would not occur.           16       A. Well, again, I considered all the
       17      Q. As part of your differential diagnosis,           17   factors, her prior surgical history. Both her
       18   what did you consider in regards to the cause of        18   tubes and ovaries at the time of her hysterectomy
       19   Ms. Bayless' recurrent bacterial vaginosis?             19   looked -- appeared normal, according to Dr. Jones'
       20      A. Well, again, we don't have an etiology            20   operative report, which would rule out pelvic
       21   except for the June 18, 2015 as an etiologic factor     21   inflammatory disease, would rule out any sequelae
       22   for her discharge. So, there were no cultures           22   from her tubal ligation.
       23   performed except for the wet prep on June 18, 2015.     23           The only finding was pelvic sidewall,
       24           So, since tests were sent off for STDs,         24   left pelvic sidewall adhesions associated with her
                                                       Page 219                                                    Page 221
        1   more likely than not those came back negative since      1   sigmoid colon and diverticulosis. She's never been
        2   there was no letter sent or Board of Health --           2   diagnosed with diverticulitis. The diverticulosis
        3   gonorrhea/chlamydia are reportable infections to         3   for the vast majority of patients is asymptomatic
        4   the Board of Health and there would be follow-up         4   and would only give abdominal pain with
        5   from the Board of Health if those had come back          5   constipation, which I do not see that she
        6   positive.                                                6   complained about in the medical records.
        7           So, more likely than not her vaginal             7          There is no finding that there was any
        8   discharge was from the exposed mesh.                     8   problem with the hysterectomy. The only finding
        9      Q. Did you even consider her pre-implant              9   was that there was mesh erosion from the Y-mesh.
       10   history of recurrent bacterial vaginosis?               10   She did not demonstrate urinary tract infections.
       11      A. Yes. And she stated in her deposition             11   She has not been diagnosed with vaginitis -- excuse
       12   that the symptoms of her discharge post-implant         12   me -- atrophic vaginitis.
       13   were different. The odor was stronger. It was           13          So, those are the conditions that I
       14   more difficult to treat.                                14   ruled out as a potential cause of her abdominal and
       15           So, this was her -- the discharge that          15   pelvic pain.
       16   she had after implant was different according to        16          She has had not a recurrence of her
       17   Ms. Jones' -- excuse me -- Ms. Bayless' testimony       17   pelvic organ prolapse. That is in the medical
       18   than it was pre-implant.                                18   records. So, I also ruled that out as a cause.
       19      Q. Now, you mentioned something about the            19      Q. Do you know whether Ms. Bayless is
       20   Board of Health sending a letter. Have you seen         20   currently experiencing dyspareunia?
       21   such a letter from the Board of Health?                 21      A. That would be based on her deposition
       22      A. In Ms. Bayless' case? No. I mean, they            22   testimony.
       23   would send a letter if there was a gonorrhea or         23      Q. So, is that yes or no, do you know?
       24   chlamydia that's positive. Those are reportable         24      A. That would -- as she stated in her

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        1   deposition, yes.                                          1   contract, deform, lead to chronic foreign body
        2       Q. Is it your opinion that her alleged                2   reaction, chronic inflammatory reaction, scar plate
        3   dyspareunia is related to the mesh implants she           3   formation, entrap nerves, correct.
        4   received back in August of 2013?                          4       Q. And let's look at -- do you have any
        5       A. Yes.                                               5   evidence that Ms. Bayless' mesh contracted?
        6       Q. And you haven't determined whether one             6       A. More likely than not, due to the chronic
        7   implant is the primary cause of any dyspareunia           7   foreign body reaction, chronic inflammatory
        8   that she might be claiming, right?                        8   reaction, we know that there was -- and I want to
        9       A. More likely than not the Restorelle                9   pull up the appropriate medical record.
       10   Y-mesh is the primary cause and the Advantage Fit        10          On June 11, 2015, there was erythema
       11   is the secondary cause.                                  11   surrounding the exposed mesh, which would show that
       12       MR. HABERMAN: Objection; form.                       12   there was a chronic foreign body reaction, chronic
       13   BY MR. PERSONS:                                          13   inflammatory reaction that was taking place, which
       14       Q. Did you consider whether Ms. Bayless had          14   would lead to mesh contraction.
       15   a shortened vagina even prior to her hysterectomy?       15       Q. Is it your testimony --
       16       A. Yes, I -- well, there is no -- you can't          16       MR. CONNOLLY: I'm sorry.
       17   consider something that is not documented in the         17   BY MR. PERSONS:
       18   records.                                                 18       Q. Going back to pelvic inflammatory
       19           So, Dr. Jones who examined her found             19   disease, is it your information that pelvic
       20   that she had a total vaginal length of                   20   inflammatory disease cannot occur following a
       21   10 centimeters based on her POP-Q on May 31, 2012.       21   hysterectomy?
       22   So, she had a normal total vaginal length of             22       A. Yes, there is -- unless there was
       23   10 centimeters prior to surgery. So, that would          23   previous evidence of a subclinical infection, which
       24   exclude a pre-surgical shortened vagina.                 24   was not noted by Dr. Jones at the time of the

                                                         Page 223                                                     Page 225
        1       Q. Okay. Well, are you aware that she                 1   hysterectomy. There is no organ in the pelvis to
        2   testified prior to her hysterectomy that sometimes        2   become inflamed. The tubes and ovaries are
        3   she would experience pain during intercourse due to       3   separated from the vagina. So, a gonorrheal or
        4   her partner hitting her cervix?                           4   chlamydial or trichomonas infection can't ascend to
        5       A. Yes, because that's -- yes, because she            5   the tubes and ovaries.
        6   had prolapse.                                             6           Now, you can have a postoperative tubal
        7       Q. Would you agree that repeated                      7   and ovarian infection in the postoperative period
        8   trichomonas, gonorrhea and chlamydia infections can       8   from the surgery, but that's not what was found in
        9   lead to pelvic inflammatory disease?                      9   Ms. Bayless' case.
       10       A. We have discussed that before. You                10       Q. All right.
       11   cannot have pelvic inflammatory disease when you         11       MR. CONNOLLY: Just one point of
       12   don't have a uterus connecting the vagina to the         12   clarification, Ray and Dr. Rosenzweig. Can you
       13   tubes and ovaries.                                       13   tell me what -- in the last response you referred
       14       Q. Okay. All right. So, your answer to               14   to a specific medical record. I just want the date
       15   that is no?                                              15   of that.
       16       A. That in Ms. Bayless' case, after her              16       THE WITNESS: June 11, 2015.
       17   hysterectomy, the answer is no.                          17       MR. CONNOLLY: Thank you.
       18       Q. Okay. Now, on page 9 of your report,              18   BY MR. PERSONS:
       19   the opinions that you have there in No. 2, they are      19       Q. Now, Restorelle Y, what evidence do you
       20   not specific to Restorelle, are they?                    20   have, I'm sorry, of the shrinkage of the
       21       A. In what respect?                                  21   Restorelle Y in Mrs. Bayless?
       22       Q. In any respect. I mean, they could be             22       A. We talked about contraction.
       23   applicable to any mesh product?                          23   Contraction and shrinkage are synonymous.
       24       A. Correct. Mesh products degrade,                   24       Q. Okay. What about degradation, do you

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        1   have any evidence of it? Specific to Ms. Bayless,      1       Q. And on what basis are you claiming that
        2   not just generally but specific to Ms. Bayless.        2   she's experiencing chronic pain?
        3      A. Yes. The erythema seen on June 11, 2015          3       A. Her deposition testimony.
        4   would show that the chronic foreign body reaction,     4       Q. But that's not explained here in the
        5   chronic inflammatory reaction is ongoing, which        5   report.
        6   leads to mesh degradation.                             6           The diagnosis symptoms isn't referenced
        7      Q. All right. What about evidence of the            7   anywhere in the medical records that you reviewed
        8   chronic inflammation?                                  8   in this case of chronic pain, correct?
        9      A. The erythema seen around the mesh                9       A. That's based on her deposition
       10   erosion.                                              10   testimony.
       11      Q. Now, Restorelle Y doesn't actually have         11       Q. Okay. And not on anything in the
       12   sharp edges, does it?                                 12   medical records?
       13      A. When it undergoes deformation and               13       A. Not that I specifically recall.
       14   degradation, yes.                                     14       Q. And you also claim that her continuum of
       15      Q. Now, on page 10 of your report, at the          15   care can range anywhere from six months to five
       16   top, you wrote that "a combination of these factors   16   years. How did you arrive on six months and five
       17   caused Ms. Bayless' injuries"?                        17   years?
       18      A. Correct.                                        18       A. That's based on my clinical experience,
       19      Q. All right. Now, but you didn't                  19   review of the literature and management of patients
       20   elaborate on which factors are present and which      20   that have had mesh complications.
       21   are not. Are you saying that all of them were         21       Q. And when are you claiming that her
       22   present in Ms. Bayless' situation?                    22   continuum of care began?
       23      A. More likely than not, yes.                      23       A. Well, when she starts to get the
       24      Q. And you're basing that on the properties        24   appropriate therapy that we have discussed, either
                                                     Page 227                                                         Page 229
        1   of polypropylene mesh?                                 1   a mesh revision procedure or the non-surgical
        2       A. And the findings in the medical records,        2   procedures, then that's when the clock would start
        3   as we just previously discussed.                       3   clicking.
        4       Q. All right. Now on pages 10 and 11 of            4           And I think she stated in her deposition
        5   your report, you claim that Ms. Bayless likely         5   that someone has recommended that she have a mesh
        6   still has mesh remaining, right?                       6   removal procedure.
        7       A. Correct.                                        7       Q. What evidence do you have that
        8       Q. Now, but she hasn't actually undergone          8   Ms. Bayless' Restorelle Y is migrating?
        9   any revision surgery whatsoever as you're aware of,    9       A. Not that I specifically recall from the
       10   has she?                                              10   medical records.
       11       A. No, she has not.                               11       Q. And since her Restorelle Y-mesh hasn't
       12       Q. So, you're not suggesting that she's had       12   been removed, to your knowledge, you certainly
       13   surgery and there's mesh remaining, are you?          13   haven't examined any pathology specimens, have you?
       14   You're just saying she still has the mesh from the    14       A. That's correct.
       15   September operation?                                  15       Q. Nor have you seen any records
       16       A. From the August operation, correct.            16   documenting any such pathology?
       17       Q. I apologize. My mistake. The                   17       A. That's correct.
       18   August 13 -- August 2013 operation. Yes?              18       Q. All right. You also claim that
       19       A. Correct.                                       19   Ms. Bayless wasn't able to make a fully informed
       20       Q. You also opined that Ms. Bayless'              20   medical decision regarding her implant procedure?
       21   chronic pain could be treated with biofeedback        21       A. Correct.
       22   therapy?                                              22       Q. But you're aware that Ms. Bayless
       23       A. That is a modality -- yes, that is a           23   testified that she reviewed the consent forms
       24   modality that can be used.                            24   before she signed them. We talked about that

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        1   earlier?                                                  1   that cause the erosion process. That is what she
        2       A. Correct. But Dr. Jones testified that              2   didn't know and, therefore, she couldn't explain
        3   there were characteristics of the mesh that she did       3   that to the patient.
        4   not know about. If I recall correctly, she did not        4       Q. But you're aware that Dr. Jones
        5   know about contraction, degradation and I think           5   testified that at the time she performed
        6   there is another. But what she stated in her              6   Ms. Bayless' surgery she, Dr. Jones, was aware of
        7   deposition is what she stated in her deposition.          7   the risks of exposure?
        8       Q. Okay. And you're claiming also that                8       A. Correct, but not -- but not the risk of
        9   Dr. Jones -- is that the basis for your contention        9   the mesh that leads to the chronic foreign body
       10   that Dr. Jones wasn't provided the necessary and         10   reaction, chronic inflammatory reaction, that leads
       11   required information to obtain Ms. Bayless'              11   to the induction of pro-inflammatory macrophages,
       12   informed consent?                                        12   that leads to the erosion or the -- that the
       13       A. Correct.                                          13   cellular effect that it has on the vaginal
       14       Q. All right. Are you aware that Dr. Jones           14   epithelium that leads to the destruction of the
       15   has testified that she's used the same technique to      15   vaginal epidemiology that I discuss in my general
       16   implant Y grafts for almost 20 years, you know           16   causation report.
       17   that, right?                                             17       MR. PERSONS: Move to strike as non-responsive
       18       A. That's what she stated, yes.                      18   and it's repetitive.
       19       Q. And are you claiming she's been                   19   BY MR. PERSONS:
       20   performing these surgeries for 20 years without          20       Q. Without engaging in that refrain, can
       21   full knowledge of the risk? Is that your                 21   you answer this question for me: Are you aware
       22   testimony?                                               22   that Dr. Jones testified that at the time she
       23       A. That's my testimony with all doctors              23   performed Ms. Bayless' surgery she was aware of the
       24   that still use polypropylene mesh, because they are      24   risks of the need for repeat surgery?

                                                          Page 231                                                     Page 233
        1   told that the only unique risk of mesh is erosion         1       A. That's what she stated.
        2   where there are -- as we talked about, there are          2       Q. And that she was aware of the risk of
        3   risks from doing the surgery itself but there are         3   dyspareunia?
        4   risks from the mesh.                                      4       A. From the surgery itself. Not from the
        5           And the risks of mesh is contraction,             5   characteristics of the mesh.
        6   deformation, degradation, chronic foreign body            6       Q. And Dr. Jones testified, did she not,
        7   reaction, chronic inflammatory reaction, that leads       7   that she didn't need Coloplast to give her
        8   to mesh contracting, trapping nerves, pain,               8   instructions or warnings to advise her of those
        9   dyspareunia, erosion and the litany of things that        9   risks to the patient?
       10   I discuss in my general causation report.                10       A. Those risks, but not to the
       11       Q. Now, where in Dr. Jones' deposition does          11   characteristics of the device that make it
       12   she state that she was unaware of the fact that          12   unreasonably dangerous.
       13   mesh could erode or become exposed or there could        13       Q. Dr. Jones also --
       14   be extrusion with mesh? Where does she say that in       14       MR. PERSONS: Move to strike as unresponsive.
       15   her deposition?                                          15   BY MR. PERSONS:
       16       A. That the cause --                                 16       Q. Dr. Jones also testified she was aware
       17       Q. Can you direct me to a page?                      17   of the FDA safety communication that issued in 2008
       18       A. That the cause of that is due to the              18   regarding the use of mesh in gynecologic surgery,
       19   chronic foreign body reaction, chronic inflammatory      19   didn't she?
       20   reaction, the induction of proinflammatory               20       A. Yes.
       21   macrophages.                                             21       Q. And that was five years before
       22           And I will refer you to the Nolfi                22   Ms. Bayless' surgery, wasn't it?
       23   report, the Feola report and the effects that mesh       23       A. Correct.
       24   has on causing -- those characteristics of the mesh      24       Q. And Dr. Jones testified she was aware of

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        1   the 2011 FDA safety communication regarding            1   treating Ms. Bayless' POP surgically.
        2   gynecologic mesh surgeries, didn't she?                2       A. Correct.
        3       A. Correct.                                        3       Q. On page 14 of your report, the seventh
        4       Q. And that, of course, was two years              4   line from the top, you say if Ms. Bayless had
        5   before Ms. Bayless' surgery, wasn't it?                5   undergone any of these safer alternatives for
        6       A. Correct.                                        6   treating her POP surgically, she would not have
        7       Q. And Dr. Jones stated, and I quote, "She         7   suffered the injuries that were caused by the
        8   didn't need Coloplast to repeat," end quote, the       8   Advantage Fit and the Restorelle Y.
        9   information contained in those communications in       9           My question is, to clarify, is it your
       10   order for her to understand the risk of surgery       10   testimony that there was a zero percent chance that
       11   with mesh, didn't she?                                11   Ms. Bayless would be experiencing any of the
       12       A. Well, that's what she stated, but then         12   symptoms that she's currently claiming had she
       13   what was not communicated to her were the             13   undergone one of the four alternatives you outline
       14   characteristics of the device that make it            14   on page 13?
       15   unreasonably dangerous, which are in the general      15       A. Yes, because there would not have been
       16   causation reports including my own.                   16   mesh placed in her vagina.
       17       Q. All right. Now, you also say in your           17       Q. All right. You first reference --
       18   report that these complications have caused a         18       A. And we are talking the injuries that she
       19   significant impact on Ms. Bayless' quality of life.   19   is suffering from from the mesh, correct?
       20           Can you describe Ms. Bayless' activities      20       Q. Well, that's not what you say here. I
       21   prior to her August 9, 2013 surgery, her activities   21   mean, in your report it says that she wouldn't be
       22   of daily living?                                      22   suffering --
       23       A. Those were described in her deposition         23       A. No, no. That was the question you
       24   testimony.                                            24   asked, and I'm clarifying the question that you
                                                      Page 235                                                  Page 237
        1       Q. But you don't have them anywhere in your        1   asked.
        2   report, do you?                                        2          I don't say in my report she would have
        3       A. Correct, because she wasn't deposed             3   a zero percent risk of not having a complication.
        4   until after I completed my report.                     4   You asked me would she have a zero percent risk of
        5       Q. Well, do you know what they were?               5   having a complication from the mesh, and that is
        6       A. They are described in her deposition            6   correct.
        7   testimony.                                             7      Q. Okay. That was my question.
        8       Q. So, you can't describe them without             8          All right. Now, you first reference the
        9   referring to what she said, without referring to       9   native tissue repair for SUI and POP, and you talk
       10   the transcript?                                       10   about the colposuspension procedure that you
       11       A. Correct.                                       11   reference here that would be for the treatment of
       12       Q. Now, what about after surgery, her             12   SUI and not POP, correct?
       13   activities of daily living, can you describe those?   13      A. Correct.
       14       A. That's in her deposition testimony also.       14      Q. So, in regards to the Restorelle Y,
       15       Q. Okay. And I assume your answer would be        15   you're claiming that a suture-based native tissue
       16   the same if you were asked can you describe all the   16   POP repair would have been a safer alternative,
       17   ways in which her activities have been, quote,        17   right?
       18   "significantly reduced and/or altered"?               18      A. Correct.
       19       A. Correct. That would be in her                  19      Q. And you don't specify what type of
       20   deposition testimony.                                 20   sutures would be used in this proposed alternative,
       21       Q. Now, on page 13 of your litigation             21   do you?
       22   report, you reference four surgical procedures that   22      A. Delayed absorbable suture.
       23   you claim would have been safer alternatives -- a     23      Q. Is that what it would be?
       24   safer alternative than the Restorelle Y for           24      A. Yes.

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                                                           Page 238                                                   Page 240
        1      Q. Okay. Now, this procedure could still                1   native tissue repair, isn't it?
        2   cause scarring, though, couldn't it?                       2      A. The surgery, correct.
        3      A. In the postoperative period, correct.                3      Q. And it's more morbid than the repair
        4      Q. And it could also result in adhesions,               4   augmented with the Restorelle Y that Ms. Bayless
        5   couldn't it?                                               5   consented to undergo, isn't it?
        6      A. There is no -- adhesions are between two             6      A. That's not correct.
        7   peritoneal surfaces. A native tissue repair would          7      Q. If the surgeon needs to -- well, strike
        8   be done extraperitoneally.                                 8   that.
        9      Q. Now, what in Ms. Bayless' medical record             9          The autologous repair is a much older
       10   supports your opinion that she was a good candidate       10   procedure, isn't it?
       11   for a native tissue repair in August of 2013?             11      A. No, it's the same procedure.
       12      A. That she was a good candidate for a                 12      Q. Well, it predates the use of mesh,
       13   pelvic organ prolapse repair.                             13   doesn't it?
       14      Q. Is that it?                                         14      A. That's correct.
       15      A. That she was a candidate for a pelvic               15      Q. And, in fact, it's fallen out of favor
       16   organ prolapse repair surgery.                            16   with most surgeons, hasn't it?
       17      Q. Okay. Now, she was actually given the               17      A. That's not correct.
       18   option, though, of having a native tissue repair,         18      Q. All right. Do you still perform
       19   wasn't she?                                               19   autologous repairs?
       20      MR. HABERMAN: Objection; asked and answered.           20      A. Yes.
       21   BY THE WITNESS:                                           21      Q. How often?
       22      A. A native tissue repair with mesh                    22      A. Not very often.
       23   augmentation.                                             23      Q. But even there you still have to use
       24   BY MR. PERSONS:                                           24   sutures to support the autologous graft, don't you?
                                                         Page 239                                                       Page 241
        1      Q. And she decided she didn't want to have              1       A. Correct.
        2   that procedure, right?                                     2       Q. And autologous grafts for POP repair
        3      A. A native tissue repair with mesh                     3   have a higher failure rate than mesh augmented
        4   augmentation.                                              4   repairs, don't they?
        5      Q. The risks and benefits of that procedure             5       A. No.
        6   were described to her. Yes?                                6       Q. All right. And what do you base that
        7      A. With mesh augmentation, yes.                         7   on?
        8      Q. And she declined that procedure to have              8       A. The medical literature.
        9   the augmentation with surgical mesh, didn't she?           9       Q. Okay. What medical literature? That's
       10      A. No. She declined the cystocele repair               10   a broad statement. What? What in the medical
       11   with cervical mesh to have an apical support with         11   literature?
       12   Coloplast Y-mesh.                                         12       A. There is the -- there have been
       13      Q. All right. And I believe the doctor                 13   meta-analysis of the Maher and Feiner meta-analysis
       14   also discussed with her an autologous POP repair,         14   on POP repair that shows a fairly equivalent
       15   correct?                                                  15   success rate.
       16      A. Correct.                                            16       Q. Is that cited anywhere in your reliance
       17      Q. And that requires harvesting a large                17   materials?
       18   piece of fascia to create the autologous graft,           18       A. In my general causation report and the
       19   doesn't it?                                               19   general causation reports of Dr. Garely and
       20      A. Large, not necessarily.                             20   Dr. Hoyte.
       21      Q. Okay. But it does require a piece of                21       Q. And the third alternative that you list
       22   fascia to create the graft?                               22   in your report --
       23      A. Correct.                                            23       MR. PERSONS: How much time have we used so
       24      Q. And that's a more morbid surgery than a             24   far? I don't want to use all of Dan's time.

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                                                             Page 242                                                         Page 244
        1       MR. HABERMAN: I have you have about an hour              1       Q. Okay. Now, Restorelle Y versus
        2   left.                                                        2   Ultrapro, both are made of polypropylene, correct?
        3       THE REPORTER: Exactly an hour.                           3       A. Correct.
        4       MR. PERSONS: Dan, is that good with you?                 4       Q. What is the pore size of Restorelle Y?
        5       MR. CONNOLLY: That works for me.                         5       A. 2.5 millimeters.
        6       MR. PERSONS: Thank you, ma'am.                           6       Q. And what's the pore size of Ultrapro?
        7   BY MR. PERSONS:                                              7       A. After the Monocryl absorbs,
        8       Q. The third alternative you list is an                  8   5 millimeters.
        9   allograft such as Repliform?                                 9       Q. What medical literature supports your
       10       A. Correct.                                             10   understanding of the pore sizes that you've just
       11       Q. And an allograft is biologic graft made              11   referred to?
       12   from donated human tissue, isn't it?                        12       A. The Shepherd, Moalli data. Also the
       13       A. Correct.                                             13   Shepherd data shows that compared with Restorelle,
       14       Q. Now, can you point me to any medical                 14   that the Ultrapro is less stiffer and the stiffness
       15   literature that supports your claim that Repliform          15   of the mesh is what leads to complications such as
       16   or other allografts are safer than Restorelle Y?            16   erosion, pain, dyspareunia, increased foreign body
       17       A. Yes, they don't have the risks that are              17   reaction, increased inflammatory reaction. That's
       18   associated with mesh. While there might be a, as            18   based on the Nolfi paper.
       19   we discussed earlier, a decrease in the short-term          19       Q. So, Shepherd data and then what paper?
       20   efficacy, there are -- there is an obviation of the         20       A. The Moalli data. There is Feola,
       21   long-term risk associated with having a                     21   Abramowitch, Liang, Brown and Nolfi.
       22   polypropylene mesh product.                                 22       Q. All right. Now, you do know -- you're
       23       Q. Now, allograft material also has a                   23   aware that the Brown and Liang studies measured the
       24   higher failure rate than synthetic graft material,          24   Ultrapro pore size after the absorbable component

                                                           Page 243                                                         Page 245
        1   doesn't it?                                                  1   had been absorbed, right?
        2       A. We just discussed that.                               2       A. Correct.
        3       Q. My apologies. Now, the allograft can                  3       Q. Now, I think you just talked about the
        4   also become exposed, though, can't it?                       4   flexibility of Restorelle Y compared to Ultrapro?
        5       A. It can.                                               5       A. That's the Shepherd study that looked at
        6       Q. Now, in Item No. 4 in your report on                  6   their stiffness, yes.
        7   page 13, you discuss pelvic organ prolapse repair            7       Q. Are you aware of the Feola study
        8   with Ultrapro?                                               8   published in 2011 that found that Ultrapro
        9       A. Yes.                                                  9   underwent in vivo contraction of 91% compared to
       10       Q. Now, Ultrapro is not indicated as a                  10   Restorelle's 43%? You're aware of that?
       11   treatment option for pelvic organ prolapse, is it?          11       A. Correct.
       12       A. As an abdominal colposacropexy, yes. As              12       Q. And you're basing your claims regarding
       13   a transvaginal mesh, there is nothing that's                13   the potential causes of Ms. Bayless' current
       14   approved for transvaginal mesh since August of              14   symptoms partially on the hypothetical contraction
       15   19 -- excuse me -- 2019.                                    15   of her Restorelle Y and her Advantage Fit, correct?
       16       Q. Now, Ultrapro was not indicated for the              16       MR. HABERMAN: Objection.
       17   treatment of pelvic organ prolapse at the time of           17   BY THE WITNESS:
       18   Ms. Bayless' surgery in August of 2013, was it?             18       A. That and the chronic foreign body
       19       A. That's not correct.                                  19   reaction, chronic inflammatory reaction.
       20       Q. All right. So, your testimony is                     20   BY MR. PERSONS:
       21   Ultrapro was FDA cleared for use in pelvic organ            21       Q. And, so, under your hypothesis, even if
       22   prolapse repair surgery in August of 2013, is that          22   the Ultrapro had been available in August of 2013,
       23   your testimony?                                             23   it would have -- and we contend that it was not.
       24       A. Yes.                                                 24       A. You've never heard of Artisyn Y-mesh?

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        1       Q. It would have been more likely to cause         1   for you.
        2   the same symptoms that you're attributing to the       2           You're not a life care planner, are you?
        3   Restorelle Y?                                          3       A. No.
        4       A. Based on the data from Brook, Shepherd          4       Q. All right. And you're not an insurance
        5   and Nolfi, no.                                         5   billing specialist?
        6       Q. But based on the Feola paper, it would          6       MR. HABERMAN: Objection.
        7   have, correct?                                         7   BY THE WITNESS:
        8       A. Well, contraction is only one of the            8       A. Again, I have been doing insurance
        9   dynamic features of the mesh. The other is the         9   billing for 18 years.
       10   inflammatory reaction and chronic foreign body        10   BY MR. PERSONS:
       11   reaction which leads to the induction of              11       Q. That's not my question.
       12   proinflammatory macrophages.                          12           Have you ever worked for an insurance
       13       Q. So, the answer to my question is yes,          13   company reviewing medical bills and approving
       14   assuming that those other traits or characteristics   14   bills?
       15   are common to all mesh?                               15       MR. HABERMAN: Objection; argumentative.
       16       A. No, based on the Shepherd that the --          16   BY THE WITNESS:
       17   there is a greater stiffness, and stiffness leads     17       A. I have not worked for an insurance
       18   to a greater inflammatory reaction, which will then   18   company, but I've submitted bills to insurance
       19   lead to tissue destruction, based on the Nolfi        19   companies for over 18 years in a private practice
       20   paper.                                                20   setting.
       21       Q. All right. Are you also aware that             21       MR. PERSONS: That's all I have for now. I
       22   Feola, that Feola 2011 study, concluded that the      22   tender the witness. Thank you.
       23   porosity of Restorelle mesh was found to be           23       THE WITNESS: Thank you, sir.
       24   significantly greater than Ultrapro? A porosity of    24       MR. PERSONS: You're welcome.
                                                     Page 247                                                          Page 249
        1   78% compared to 67%, are you aware of that?            1      MR. CONNOLLY: You guys want to take a
        2       A. Yes.                                            2   five-minute break or do you want to proceed?
        3       Q. Okay. Now, in your report on pages 13           3      THE WITNESS: We can go.
        4   and 14 you say, "Finally, I have reviewed              4      MR. PERSONS: We can do whatever you want to.
        5   Ms. Bayless' past medical bills as set forth in my     5      MR. CONNOLLY: How much time we got, about 45
        6   reliance list. It is my opinion that they were         6   minutes left or is it two hours?
        7   reasonable and necessary."                             7      MR. HABERMAN: I got you at 52 minutes and 5
        8          As you sit here today can you identify          8   seconds, 4 seconds, 3 seconds.
        9   any of Ms. Bayless' medical bills contained within     9      MR. CONNOLLY: Hey, hey, hey.
       10   the five sets of records provided on your reliance    10      MR. PERSONS: You better go ahead and take
       11   list?                                                 11   that break, Dan.
       12       A. Not that I specifically recall.                12      THE WITNESS: If we take a break, it's going
       13       Q. Okay. And you don't know whether they          13   to be an hour break so I can go walk the dogs.
       14   have been paid or not, do you?                        14   That's why we don't want to take a break.
       15       A. No, I don't.                                   15      MR. CONNOLLY: Bring back the dogs of war.
       16       Q. So, on what basis are you opining that         16   Okay.
       17   the charges are reasonable?                           17                EXAMINATION
       18       A. Based on my clinical experience.               18   BY MR. CONNOLLY:
       19       Q. Okay.                                          19      Q. Quick question, Doctor. As Mr. Persons
       20       A. And having done medical billing for my         20   indicated earlier today, at the time you prepared
       21   own practice for the last going on 20 years, they     21   your report you had not seen the deposition of
       22   looked like they are -- were standard charges for     22   Dr. Jones. True?
       23   standard procedures.                                  23      A. Correct.
       24       Q. All right. I've got two more questions         24      Q. And you had also not seen the deposition

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        1   of the Plaintiff, right?                               1   doctor that I have talked to would say six weeks of
        2       A. Correct.                                        2   restricted intercourse is ample after a repair
        3       Q. So, I'd like to ask you just a few              3   procedure.
        4   questions about Dr. Jones' testimony, which I          4      Q. Okay. I'm not -- so, what I'm asking
        5   understand you've read, correct?                       5   you, Doctor, is a little different.
        6       A. Correct.                                        6           You and I, neither one of us was present
        7       Q. So, do you agree with Dr. Jones that if         7   when Dr. Jones gave the caution to the -- to
        8   a patient provides an incomplete history, it can       8   Ms. Bayless, right?
        9   affect the warnings that she provides or the           9      A. Correct.
       10   decision regarding surgery?                           10      Q. And in her testimony she says
       11       MR. HABERMAN: Objection.                          11   restrictions are 12 weeks, right?
       12   BY THE WITNESS:                                       12      A. Correct.
       13       A. I wouldn't disagree with her statement.        13      Q. That's three months, right?
       14   BY MR. CONNOLLY:                                      14      A. Correct.
       15       Q. Okay. And you would agree with me that         15      Q. So, you're quarreling with whether or
       16   at least insofar as what the Plaintiff told           16   not it's reasonable to have a 12-week restriction.
       17   Dr. Jones, she did not admit to any cocaine use at    17   You're not disputing the fact that she may have
       18   the time that she sought treatment by Dr. Jones.      18   said 12 weeks to Ms. Bayless. Right?
       19   True?                                                 19      A. Oh, I'm --
       20       A. Correct.                                       20      MR. HABERMAN: Objection.
       21       Q. Okay. She did acknowledge that she was         21   BY THE WITNESS:
       22   smoking, right?                                       22      A. I have a three-month restriction on
       23       A. Correct.                                       23   heavy lifting on my patients when I do prolapse
       24       Q. And as you stated, she said that she had       24   surgery.
                                                      Page 251                                                   Page 253
        1   ceased smoking for a period of time during the         1   BY MR. CONNOLLY:
        2   healing process, right?                                2       Q. Okay. Okay. So, you would agree at
        3       A. Correct.                                        3   least with the three-month restriction on lifting
        4       Q. And I believe that you testified earlier        4   for the prolapse surgery that Ms. Bayless had?
        5   today that you understood that that will have been     5       A. Correct.
        6   two months, right?                                     6       Q. Okay. And the only question that you
        7       A. I think she said two to three months,           7   quarrel with is whether or not the sexual
        8   but something of that nature.                          8   limitation should be as long as three months?
        9       Q. Okay. And you'll agree that from the            9       A. Or was communicated to Ms. Bayless as
       10   discussion that we've had with Mr. Persons today      10   being 12 weeks.
       11   that there is ample record in the testimony that      11       Q. Okay. For the procedure that
       12   Dr. Jones viewed the healing period in which she      12   Ms. Bayless had, hysterectomy, a stress urinary
       13   put restrictions on the patient as 12 weeks, right?   13   incontinence sling and a prolapse repair, how long
       14       A. For lifting and those kind of things,          14   would you restrict sexual intercourse for the
       15   correct.                                              15   patient? How long would you tell them to refrain
       16       Q. Well, and you in fact stated to                16   from sexual intercourse?
       17   Mr. Persons that you understood how reading the       17       A. Six weeks.
       18   testimony, it would be reasonable to assume that      18       Q. Six weeks?
       19   that 12-week period could apply as well to the        19       A. Yes.
       20   sexual restriction. One didn't ask that               20       Q. Okay. So, now the report that we have
       21   specifically of the doctor. True?                     21   talked about at length, which is Exhibit 10, that
       22       A. I would not agree that that -- that            22   is the report where Dr. Jones discovered that there
       23   would be a reasonable assumption, because most of     23   was the incisional separation, right?
       24   us -- I think every both deposition I've read and     24       A. Correct.

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        1      Q. And she also talked about the orgasmic                1   using it at the time of surgery. There is no
        2   symptoms that Ms. Bayless is discussing, right?             2   indication that she was. She had medical
        3      A. Correct.                                              3   clearance, but medical clearance would not have
        4      Q. And the date of that report is                        4   been obtained if she was using it. Then we --
        5   September 24, 2013?                                         5      Q. Let me stop just you right there.
        6      A. Correct.                                              6          Medical clearance. Is there any
        7      Q. So, that is six weeks and three days                  7   indication that Dr. Jones gave her a drug test?
        8   post-op?                                                    8      A. Not that I specifically recall from the
        9      A. Correct.                                              9   medical records.
       10      Q. So, if one were to conclude that                     10      Q. Okay. So, when you say "medical
       11   Ms. Bayless was having sex such that she recognized        11   clearance," the only medical clearance that
       12   that she was having an orgasmic dysfunction, in            12   Dr. Jones provided was to ask her, "Are you using
       13   order not to violate your restriction, she would           13   drugs," and Ms. Bayless denied it, right?
       14   have three days in which to find that out, right?          14      A. No, that's not correct.
       15      A. You know, it would have been really good             15      Q. What other -- so, I mean, as to the
       16   to have asked that specific question of Ms. Bayless        16   issue of drugs, was there any other clearance that
       17   so we're not all speculating on whether or not she         17   was obtained other than asking her whether she was
       18   had intercourse in the first six weeks after               18   using drugs?
       19   surgery, because she said at her deposition, if I          19      A. There was a notation in her medical
       20   recall, that she complied with the instructions            20   record about sending medical clearance over to the
       21   that she was given about having intercourse.               21   surgery center where she was doing the surgery.
       22      Q. Let me ask you this, Doctor. Is it                   22      Q. Okay. So, is there any indication that
       23   possible that the incisional separation that is            23   the surgical center did any drug testing?
       24   discussed in Exhibit 10 was the result of sexual           24      A. Not that I specifically recall from the
                                                          Page 255                                                   Page 257
        1   penetration?                                                1   medical records.
        2      MR. HABERMAN: Objection.                                 2       Q. So, the only clearance relative to the
        3   BY THE WITNESS:                                             3   issue of her compliance with not taking drugs at
        4      A. If she had sexual intercourse, then                   4   the time of surgery was her statement that she
        5   there is -- I mean, it would have to be within like         5   wasn't. True?
        6   the first two weeks after surgery.                          6       A. Again, I don't -- I didn't see anything
        7   BY MR. CONNOLLY:                                            7   in the medical records that was indicative of a
        8      Q. Okay. I just asked you if it's                        8   drug test.
        9   possible. So, your answer is yes to that?                   9       Q. So, the answer to my question is "True,"
       10      A. It could be possible.                                10   right?
       11      Q. Okay. All right. So, now let me turn                 11       A. Correct.
       12   to a couple different propositions.                        12       Q. Okay. So, now, do you agree that it
       13           Now, as I understand it, from the                  13   would be reasonable for Dr. Jones to want to know
       14   records that we have, Plaintiff, Ms. Bayless, has          14   about prior cocaine use?
       15   been a regular cocaine user for a considerable             15       A. It would not be unreasonable.
       16   period of time, since 1999, right?                         16       Q. Do you ask your patients whether they
       17      A. She started using cocaine, as we know,               17   have used drugs before you do surgery?
       18   in 1999.                                                   18       A. I ask them about drug use, yes.
       19      Q. Right.                                               19       Q. Okay. And it's reasonable also for
       20      A. There was a time when she stated in her              20   patients -- I mean, for the doctor to rely on what
       21   deposition that she went into, I think in the early        21   the patient tells them, right?
       22   2000s, into a rehab program.                               22       A. Correct.
       23      Q. Right.                                               23       Q. Okay. There are studies out there that
       24      A. We don't know whether or not she was                 24   say that cocaine use, either before surgery or

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        1   during the recuperative period, is detrimental to      1   trial that looked at people using cocaine and
        2   the recuperation or detrimental to surgery. True?      2   people not using cocaine and showing a diminution
        3       MR. HABERMAN: Objection and asked and              3   in healing. There's probably anecdotal evidence
        4   answered. We went over this today.                     4   that of patients not healing well from their
        5       MR. CONNOLLY: Okay. I'm -- okay.                   5   surgery incisions who use cocaine postoperatively.
        6   BY MR. CONNOLLY:                                       6       Q. There is evidence that cocaine use
        7       Q. Do you understand the question, Doctor?         7   causes vasoconstriction, right?
        8       A. Yes.                                            8       A. Yes, I just said that.
        9       Q. Okay. Can you answer it?                        9       Q. Okay. I didn't understand it because I
       10       A. Yes.                                           10   don't speak medical as well as you do.
       11       Q. Okay.                                          11       A. Okay.
       12       A. Can you repeat the question?                   12       Q. All right. But vasoconstriction, if
       13       Q. Okay. Rather than have the Court               13   there is vasoconstriction, that would be damaging
       14   Reporter read it, I'll try it again.                  14   to the healing process. True?
       15           There are studies that say that it is         15       A. I mean --
       16   detrimental to the surgery and the healing process    16       Q. Yes or no.
       17   to be taking cocaine either before the surgery or     17       A. It's a difficult question to answer yes
       18   during recuperation period, right?                    18   or no.
       19       A. There are studies that show that cocaine       19       Q. Cigarette smoking causes
       20   use can have a detrimental effect on patients even    20   vasoconstriction, right?
       21   if they're having surgery.                            21       A. The smoking itself or the nicotine?
       22       Q. Okay. And that's both before the               22       Q. The nicotine.
       23   surgery and during the recuperation period, right?    23       A. The nicotine can.
       24       A. Well, no. Before the surgery, I mean,          24       Q. Yeah. And you recognize and even put in
                                                     Page 259                                                      Page 261
        1   somebody could have done cocaine six years before      1   your report that smoking during the recuperation
        2   the surgery. That would not have as much of an         2   period is damaging to the healing process. True?
        3   effect as if someone did cocaine the day before the    3   Generally.
        4   surgery.                                               4      A. That it can delay the healing process.
        5       Q. Fair enough. Let's keep it within the           5      Q. Right. And, so, similarly, cocaine
        6   approximate time frame 12 weeks before, 12 weeks       6   could delay the healing process. True?
        7   after. That's detrimental to the surgery, right?       7      A. Again, are you talking like every day?
        8       A. The 12 weeks before, not so much. But I         8   I mean, most smokers smoke every day. Again, you
        9   would agree with you in the 12 weeks after surgery,    9   would be talking about daily cocaine use?
       10   it would have an impact. Just like cocaine use can    10      Q. I'm talking about any cocaine use after
       11   have a detrimental impact even without surgery.       11   you've had a serious surgery like this would --
       12       Q. Detrimental impact on the recuperation         12   could delay the healing process?
       13   from the surgery due to the cocaine use, right?       13      A. Any cocaine use, no.
       14       A. Correct.                                       14      Q. Okay.
       15       Q. Okay. That is, it prevents some of the         15      A. More frequent cocaine use, probably.
       16   healing that's necessary, right?                      16      Q. Okay. And the frequent kind of cocaine
       17       A. No. You can have cardiovascular events,        17   use that Ms. Bayless admitted to a year
       18   heart attacks, strokes, those kind of things.         18   post-surgery in 2014. True?
       19       Q. Right. Okay. I understand that                 19      A. If she's using it daily, yes.
       20   detrimental effect. But there's also a detrimental    20      Q. And, in fact, we know that a year
       21   effect to the healing process itself from cocaine     21   post-surgery she was using it daily, right?
       22   use, right?                                           22      A. Was documented in the medical records.
       23       A. It does cause vasospasm. I don't think         23      Q. Okay. So, within a year of the
       24   there is any prospective randomized controlled        24   surgery -- within six months of the surgery she

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        1   admits to cocaine use and within a year she admits         1   Just so we are talking on the same term. What does
        2   to daily use of crack cocaine. True?                       2   that mean? That means the blood vessels are
        3       A. Correct.                                            3   constricted?
        4       Q. And within six weeks of the surgery, she            4       A. Yes.
        5   is found to have an incision that has -- that has          5       Q. Okay. So, it means decreased blood
        6   delayed healing, right?                                    6   flow, right?
        7       A. It has separated.                                   7       A. Yes.
        8       Q. It's a separation, an incision that has             8       Q. Okay. And blood flow is necessary to
        9   separated within six weeks, right?                         9   heal the body when it's been injured, right?
       10       A. One of her incisions.                              10       A. Correct.
       11       Q. Right.                                             11       Q. Okay. And, so, there may be some parts
       12       A. Your hypothesis saying that --                     12   of the body that need more blood than others in the
       13       Q. No, no.                                            13   healing process, right?
       14       A. -- these factors are having a delayed              14       A. No. All healing needs, you know, or
       15   healing, that should be on all of her incisions.          15   your analogy of decreasing blood flow impacting
       16   Not just one.                                             16   incisions would be the same for the -- for all the
       17          So, I mean, that's why, you know, you              17   incisions.
       18   keep going back to this and saying, well, look, she       18       Q. I'm sorry. I lost you there. It says
       19   has delayed healing in one of her incisions so it's       19   my Internet connection isn't stable. I'm glad it
       20   got to be due to these factors. No, because then          20   doesn't say that I'm unstable.
       21   it would have been in all her incisions, and we           21          So, I didn't hear the answer. Let me
       22   know that Dr. Jones said all of her other incisions       22   ask that again.
       23   were well healed.                                         23          Does vasoconstriction affect all wounds
       24       Q. We'll get back to that in a second. I              24   in the body equally?
                                                           Page 263                                                  Page 265
        1   would just point out that there wasn't a question          1       A. It should.
        2   that I asked you about that. And so I move to              2       Q. Okay. But it's possible that some parts
        3   strike your response.                                      3   of the body that are in the healing process need
        4            You can answer the questions that I ask           4   more blood, right?
        5   you. You know the process well. You have been in           5       A. No. They're all epithelial.
        6   hundreds of the deposition. Let me ask you the             6       Q. Well, let me put it to you this way.
        7   next question.                                             7   Some plants need more water than others?
        8            Here's the question I want to ask you             8       A. Right, but that's because they're a
        9   and, that is, do you know of any study, any study          9   different species.
       10   at all, that says that cocaine use will delay the         10       Q. Okay. So, you're saying, just so we're
       11   healing of only -- of every single incision in the        11   clear, that every single wound that Ms. Bayless had
       12   body as opposed to might be localized?                    12   should have been affected exactly the same way by
       13       A. No.                                                13   the vasoconstriction that may have resulted from
       14       Q. Okay. It's possible that delayed                   14   her smoking and drug use?
       15   healing could be localized. True?                         15       A. More likely than not, yes.
       16       A. No.                                                16       Q. Okay.
       17       Q. So, whenever a person injures                      17       A. If you're saying that it's a global
       18   themselves, all the healing occurs simultaneously         18   effect, it should have a global effect.
       19   across all cuts?                                          19       Q. Right. But --
       20       A. Well, no. If you're talking about due              20       A. If you're saying that it's just -- I
       21   to vasoconstriction due to a foreign substance,           21   mean, she wasn't just putting cocaine inside her
       22   that should be global, not local.                         22   vagina. Then it would have just a local effect.
       23       Q. Okay. It should be.                                23   She is smoking it.
       24            Let me ask you this. Vasoconstriction.           24       Q. But there is --

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        1       A. That's how you ingest crack cocaine.            1   that have had -- that have been using cocaine
        2       Q. I understand. But there is also the --          2   during the treatment process?
        3   there are some parts of the body that need more        3       A. I don't know an exact number. Over 30
        4   blood than others. True?                               4   years I would probably say, you know, particularly
        5       A. Your brain, yes. Your heart, yes.               5   in the obstetrical population back when I was doing
        6       Q. And your vagina. True? Right?                   6   OB, we had a number of patients that would come in
        7       A. During pregnancy.                               7   in labor, need a C-section, they were cocaine
        8       Q. And also at other times, right? No?             8   positive and, you know, they did quite well.
        9       A. I mean, if you're saying that there is a        9       Q. Okay. And as to each one of them, any
       10   diminution in blood flow, it would affect all         10   patient that you have who uses cocaine during the
       11   incisions to the same degree.                         11   healing process for any pelvic floor surgery, you
       12       Q. So, but you're not aware of any study          12   would recommend that they discontinue it
       13   that says if you're having -- if you're smoking and   13   immediately because it will affect their healing,
       14   the vasoconstriction occurs, that that would affect   14   right?
       15   all injuries of the same type. True?                  15       A. I -- if I knew about it beforehand, I
       16       A. Nor is there a study that disputes that.       16   would not have done surgery.
       17       Q. Okay. So, what you're telling me about         17       Q. Okay.
       18   that it should have a global effect is based upon a   18       A. If I find out in the postoperative
       19   guess as a doctor, but it's an educated guess?        19   period, I tell them to stop.
       20       A. A guess? It's from taking care of              20       Q. Okay. And we have seen in these
       21   patients for 30 years.                                21   records, right, that Ms. Bayless comes in six weeks
       22       Q. Okay. And are you aware of any study           22   post-surgery and she has an incision that's
       23   about the effect of cigarette smoking on delayed      23   reopening, right, and three months later she is
       24   healing?                                              24   admitting to cocaine use.

                                                      Page 267                                                        Page 269
        1      A. We've talked about this. Yes.                    1           You would agree that that cocaine use
        2      Q. Okay. But none of those studies says             2   observed to have that kind of an incisional wound
        3   one way or the other whether the vasoconstriction      3   is detrimental to the healing. True?
        4   would be localized or would be general?                4       A. Boy, we have gone back from a year to
        5      A. Well, you ingest the tobacco in your             5   six months to three months.
        6   lungs, so that you would have a primary pulmonary      6       Q. Well, let's look at the exact records,
        7   effect. So, anything that happens from cigarette       7   then.
        8   smoking would be a generalized effect.                 8           If you look at Exhibit 10, Exhibit 10 is
        9      Q. Okay. So, let me ask you a different             9   the examination where the separation was
       10   question, Doctor.                                     10   visualized, right?
       11          In connection with your work on this           11       A. Right.
       12   case, did you do any research on the effects on       12       Q. That is six weeks and three days because
       13   wounds of cocaine use?                                13   they note it post-surgery, right?
       14      A. Not specifically, no.                           14       A. Right.
       15      Q. Okay. Have you ever treated a patient           15       Q. Okay. And then the next examination --
       16   who admitted to using cocaine during the healing      16       A. Is March 2014.
       17   process after you had performed a pelvic floor        17       Q. March 2014, right?
       18   surgery on her?                                       18       A. Right.
       19      A. Unfortunately, yes.                             19       Q. And the surgery was in August, right?
       20      Q. Okay. And has any of those patients had         20       A. Right.
       21   adverse reactions to the treatment while they also    21       Q. So, March is six months post-surgery,
       22   had -- were using cocaine?                            22   right?
       23      A. No.                                             23       A. August, September, October, November,
       24      Q. Okay. How many patients have you had            24   December, January, February, March. Seven months.

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                                                     Page 270                                                      Page 272
        1       Q. Okay. Seven months. I'm sorry.                  1   she acknowledged having over 100 sexual partners,
        2       A. You keep moving me back like three              2   right?
        3   months. Then you're going to have it like, okay,       3       A. Correct.
        4   and we know from the record she did cocaine two        4       Q. And in her deposition she denied having
        5   days after surgery.                                    5   that many. True?
        6       Q. Hold, hold, hold. We'll redo it. Okay.          6       A. Not that I specifically recall.
        7   Now we have that.                                      7       Q. Okay. And, so, if -- you would agree
        8           It's seven months --                           8   with us that if that were the count, that she had a
        9       A. Okay.                                           9   different count about the number of sexual partners
       10       Q. -- post-surgery. Okay. Six months              10   between the medical records and the deposition,
       11   post-examination of the incision or less than six     11   right?
       12   months --                                             12       A. I don't think she gave an exact number
       13       A. Right.                                         13   of how many sexual partners that she had. I don't
       14       Q. -- that she is admitting to regular            14   think she said she, you know, only had five.
       15   cocaine use. True?                                    15       Q. You read the deposition, right?
       16       A. That's what the records state.                 16       A. Yes.
       17       Q. And that you would agree is detrimental        17       Q. She didn't acknowledge 100, did she?
       18   to the healing process. True?                         18       A. I don't specifically recall that she
       19       A. By that time she should have already           19   affirmed that number, but I don't think that she
       20   healed.                                               20   tried to downplay the number of sexual partners
       21       Q. Not if she is doing cocaine, though,           21   that she had.
       22   right?                                                22       Q. You don't think?
       23       A. But we don't know that she did it before       23       A. I don't specifically recall that.
       24   March.                                                24       Q. But you do remember seeing that she
                                                     Page 271                                                        Page 273
        1      Q. Okay. So, you're thinking that she just          1   acknowledged to 100 sexual partners to the
        2   does the regular use the day that she goes to see      2   medical -- to her medical provider?
        3   the doctor?                                            3       A. That is what's documented in that
        4      A. Well, again, we are speculating. And             4   medical record.
        5   this would have been a great question to have asked    5       Q. And you don't have any criticism of the
        6   her at the time of her deposition.                     6   Athena system that it adds an extra zero to the
        7      Q. Okay. Well, let me ask you this,                 7   number of sexual partners?
        8   Doctor. Would you agree that her testimony in her      8       A. No. Actually, I've seen with Athena
        9   deposition and the statements she provides to the      9   that I've looked at patients' weights and they'll
       10   doctor are different?                                 10   come back with prior weights of like 57 pounds when
       11      MR. HABERMAN: Objection; calls for                 11   it should have been 157 pounds. So, either I typed
       12   speculation.                                          12   wrong or it dropped a 1.
       13   BY THE WITNESS:                                       13       Q. Okay. But there is no indication here
       14      A. No.                                             14   that such lapse and lackadaisical typing occurred,
       15      MR. CONNOLLY: No, it doesn't.                      15   is there?
       16   BY THE WITNESS:                                       16       A. Well, that we don't know.
       17      A. I didn't see -- I thought she was fairly        17       Q. Okay. All right. Doctor, let's go back
       18   forthright in her deposition.                         18   to what Dr. Jones said.
       19   BY MR. CONNOLLY:                                      19           Would you agree with Dr. Jones that if a
       20      Q. It froze again, but I think you said you        20   patient engages in sexual activity before they're
       21   thought she was forthright?                           21   fully healed it can increase the risk of an
       22      A. Yes.                                            22   exposure along the suture line?
       23      Q. Okay. You recognize that there was one          23       A. It all depends on when the sexual
       24   medical record that Mr. Persons showed you where      24   intercourse is.

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                                                       Page 274                                                    Page 276
        1       Q. The statement -- her statement doesn't            1       A. Or the -- no, no. Now you're making --
        2   make it dependent. Her statement -- I'll read it         2   you're assuming that the patient had sexual
        3   to you again.                                            3   intercourse --
        4       A. You asked me if I agreed with it or not,          4       Q. No, no.
        5   and I put the caveat it depends on when the sexual       5       A. -- and obstructed the --
        6   intercourse is.                                          6       Q. I'm assuming that the patient wasn't
        7       Q. Well, let me just --                              7   fully healed six weeks and three days after. True?
        8       A. I wouldn't give a blank statement like            8       A. Or that she had healed and then the mesh
        9   that.                                                    9   exposed.
       10           I would say if you ask me that question,        10       Q. The incision -- so, are you saying that
       11   "Dr. Rosenzweig, does having sexual intercourse         11   the mesh caused the incision to rupture?
       12   before the six weeks, can that have impact on the       12       A. No, the mesh caused the incision -- the
       13   wound," I would say it all depends on when sexual       13   exposure.
       14   intercourse is.                                         14       Q. I understand. You can't have exposure
       15       Q. But that's -- first of all, she didn't           15   without mesh, but you can't -- she had an incision
       16   say six weeks as you know. She said 12 weeks.           16   that didn't heal, right?
       17           But the other thing is the statement            17       A. No. She had an incision that was found
       18   that I read to you was different than that. I'll        18   to be separated on September 24, 2013.
       19   read it to you again, and I'd like to have you to       19       Q. Right.
       20   tell me whether you'd change your answer.               20       A. You guys have been saying all day that
       21           Do you agree with Dr. Jones that if a           21   it was because the incision didn't fully heal. I'm
       22   patient engages in sexual activity before they're       22   saying that there was no evidence that she had poor
       23   fully healed, it can increase the risk of an            23   healing, so that there's a reasonable -- with a
       24   exposure along the suture line?                         24   reasonable degree of medical certainty, that
                                                         Page 275                                                  Page 277
        1      A. And what do you mean by "fully healed"?            1   incision healed and then opened up because of the
        2      Q. Well, that would have been -- that's               2   mesh.
        3   what Dr. Jones testified. If your -- can you             3       Q. Okay. We agree, though, that the
        4   answer that or no?                                       4   incision separated, right?
        5      A. My question would be what do you mean by           5       A. That there was mesh exposed, correct.
        6   "fully healed"?                                          6       Q. Well, the incision separated is what you
        7      Q. Okay. So, what do you mean by "fully               7   just testified to. Are you disagreeing with that
        8   healed"? What would you expect to be fully healed        8   now?
        9   such that they can engage in sexual activity and         9       A. That there was mesh exposed, correct,
       10   not risk an exposure along the suture line?             10   and the edges were separate, correct.
       11      A. Well, again, I have seen patients that            11       Q. The edges of the incision?
       12   have had sexual intercourse two weeks after surgery     12       A. Correct.
       13   that had no problems and I've had seen women that       13       Q. Okay. So, we agree that there was
       14   have sexual intercourse months after surgery and        14   exposed mesh and an incision that had separated,
       15   had problems. So, I wouldn't be able to answer          15   right?
       16   that question.                                          16       A. Well, it wouldn't -- whenever there is
       17      Q. So, what's your response? Do you just             17   exposure, the edges of the incision are not
       18   need to examine every patient to find out if they       18   together.
       19   are fully healed?                                       19       Q. Would you agree that the patient was not
       20      A. Correct.                                          20   fully healed at that period of time?
       21      Q. Okay. And in this case, six weeks and             21       MR. HABERMAN: Objection.
       22   three days after the surgery, we found that there       22   BY THE WITNESS:
       23   was an incision that wasn't healing. So, that           23       A. What is "fully healed"? I don't
       24   would indicate that the patient was --                  24   understand what you mean by "fully healed."

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                                                 Bruce Rosenzweig, M.D.
                                                         Page 278                                                       Page 280
        1 BY MR. CONNOLLY:                                           1       A. Oh. Well, that's -- well, first of all,
        2     Q.   She has an open incision. Would you               2   what exhibit from my deposition are you on?
        3 agree that that is not fully healed?                       3       Q. So, it's Exhibit 10 and I believe it was
        4       A. She's got a mesh exposure.                        4   tab 7.
        5       Q. She has an incision separation. Would             5       A. The tabs --
        6   you agree that that's fully healed or not?               6       THE WITNESS: Zach, do you know which exhibit
        7       A. In 2015 she had --                                7   he is talking about? The post-op --
        8       Q. I'm asking you about in September 2014            8       MR. BURNETT: It's Exhibit 10. Yes. It's
        9   as reflected in Exhibit 10. Is she fully healed at       9   September 24, 2013 post-op follow-up.
       10   that time or not?                                       10       THE WITNESS: That's right because we had all
       11       MR. HABERMAN: The Doctor is allowed to answer       11   the -- let me go to Exhibit 10.
       12   the way he sees fit.                                    12   BY THE WITNESS:
       13       MR. CONNOLLY: But I'd like him to answer the        13       A. Okay. So, you're saying that she
       14   question I'm asking.                                    14   prescribed Cleocin cream on September 4, 2013,
       15   BY THE WITNESS:                                         15   right?
       16       A. And I can't answer that question yes or          16   BY MR. CONNOLLY:
       17   no.                                                     17       Q. Well, it actually says September --
       18   BY MR. CONNOLLY:                                        18   "October 1, 2013," right next to it, "prescribed"?
       19       Q. Okay. All right. Well, then let's move           19       A. The Cleocin down at the bottom of the
       20   on.                                                     20   page was prescribed on October 8, 2013.
       21           So, you will agree, though, that at             21       Q. Okay. Next to it on the right-hand side
       22   particular time, so, with exposure and an incision      22   it says, "October 1, 2013 prescribed." I don't
       23   that separated, Dr. Jones recommends conservative       23   know.
       24   treatment, right?                                       24       A. Right.

                                                         Page 279                                                     Page 281
        1       A. Can you point me to the record where she          1       Q. In October. So, the beginning of the
        2   recommends conservative treatment?                       2   next month she had prescribed this cream for the
        3       Q. Well, she -- in that same exhibit, 10,            3   patient, right?
        4   rather than -- sorry. I inadvertently dialed             4       A. Right.
        5   somebody's phone.                                        5       Q. And that's --
        6           In that Exhibit 10, as you pointed out           6       A. It wasn't at that visit.
        7   to Mr. Persons a number of times, she didn't             7       Q. Right. But it's within days of the --
        8   prescribe any -- she didn't recommend any surgical       8   of this, right?
        9   procedure at that particular time, right?                9       A. And also she was given Diflucan.
       10       A. Correct.                                         10   Cleocin is to treat bacterial vaginosis and
       11       Q. And, in fact, in her deposition she              11   Diflucan is to treat Candida.
       12   testified that she recommended conservative             12       Q. Okay. Well, you --
       13   treatment for separation along the suture line as       13       A. That's not to treat the mesh erosion.
       14   reflected on page 118 of her deposition, right?         14       Q. Okay. In any event, she says she --
       15       A. Well, that's what she stated in her              15       A. That's not -- that's not conservative
       16   deposition.                                             16   treatment for mesh erosion.
       17       Q. Right. And, in fact, if you look at the          17       Q. She said in her deposition, page 118,
       18   last page of Exhibit 10, she prescribes a vaginal       18   she's recommending conservative treatment, which
       19   cream, right?                                           19   means no surgery, right?
       20       A. No.                                              20       A. No. She did not recommend surgery.
       21       Q. Well, look at it. Exhibit 10.                    21   That we can agree upon.
       22       A. Of her deposition or of the --                   22       Q. So, if you had a patient six weeks and
       23       Q. The exhibit. Exhibit 10, last page.              23   three days after a surgery, would you -- and who
       24   She says vaginal cream, Cleocin.                        24   had just had an incision that had separated and has

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        1   got exposed mesh, would you recommend that they        1   of Dr. Jones deposition.
        2   engage in sex?                                         2       A. I don't see a follow-up visit scheduled
        3       A. No.                                             3   in the medical record. So, I mean...
        4       Q. Okay. Would you recommend that they use         4       Q. Doctor, are you saying that after she
        5   cocaine?                                               5   has an incision that separated that you wouldn't
        6       A. No.                                             6   ask the patient to come back for another visit?
        7       Q. Would you recommend that they smoke?            7       A. I would, correct.
        8       A. No.                                             8       Q. Okay. And, in fact, you know from the
        9       Q. And we know that she was smoking, right?        9   deposition testimony by Dr. Jones that she did ask
       10       A. She said in her deposition that she quit       10   the patient to come back and the patient didn't
       11   for two to three months.                              11   comply. True?
       12       Q. And we know within less than six months        12       A. Correct.
       13   of this date that she is using cocaine regularly,     13       Q. Okay. So, the patient isn't doing
       14   right?                                                14   everything to advance her treatment during this
       15       A. Correct.                                       15   period of time. True? True?
       16       Q. And we also know that within six months        16       A. She was not complying with her
       17   of this time period she's engaging in sexual          17   follow-up.
       18   activity, right?                                      18       Q. Okay. And she's not --
       19       A. Six months? Correct.                           19       A. But I did not -- I don't see in the
       20       Q. Yeah. Okay. So, she is not doing               20   record where she was given a follow-up appointment.
       21   everything she can to promote her healing. True?      21       Q. But you have read Dr. Jones' deposition,
       22       A. Six months after, she should have been         22   and Dr. Jones even put forward a letter to the
       23   healed completely.                                    23   patient saying, "You didn't come," right?
       24       Q. True or not true?                              24       A. Correct.

                                                      Page 283                                                    Page 285
        1      A. Six months after her surgery she should          1      Q. So, it was clear that Dr. Jones expected
        2   be healed completely.                                  2   the patient to come back and the patient wasn't
        3      Q. I see. But as you said, she doesn't go           3   doing everything to advance her healing. True?
        4   from zero to 60 in cocaine use in one day or do you    4      A. She did not come back for follow-up.
        5   believe that?                                          5      Q. Okay. And, in fact, the letter that's
        6      A. She wasn't -- I don't -- she wasn't              6   Exhibit 4 to Dr. Jones' deposition, she says she
        7   asked that at her deposition.                          7   would have recommended continued pelvic rest?
        8      Q. And you don't have that information?             8      A. If we could put that up.
        9      A. Because she wasn't asked that at her             9      Q. I don't have it. It's Exhibit 4 to
       10   deposition.                                           10   Dr. Jones' deposition.
       11      Q. You could ask your counsel to ask her,          11      A. Okay. I'm going to assume that you're
       12   couldn't you? If that were important information,     12   reading everything that is on that.
       13   you could ask your counsel to find out from her,      13      Q. I'm reading from page 120 of her
       14   couldn't you?                                         14   deposition.
       15      MR. HABERMAN: Objection; argumentative.            15           She said she would have recommended
       16   BY THE WITNESS:                                       16   continued pelvic rest at that point in time or when
       17      A. But it would be important as a fact of          17   she returned. And you would agree with that
       18   this -- for this case for that to have been in her    18   recommendation, right?
       19   deposition.                                           19      A. I wouldn't disagree with it, correct.
       20   BY MR. CONNOLLY:                                      20      Q. She would have recommended delay in
       21      Q. Well, let me just ask you this: At that         21   sexual activity. And you would have agreed with
       22   visit in September of 2013, the doctor asked the      22   that, right?
       23   patient to come back for further evaluation because   23      A. Correct.
       24   she wants to see how she's doing, right? Page 119     24      Q. Okay. And that would be -- she would --

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        1   and continued sexual activity would have meant it      1   denied, when Mr. Haberman asked her, that mesh
        2   would be harder for the exposure to heal, right?       2   contracts?
        3       A. I don't think the exposure was going to         3       A. Well, she really needs to look at the
        4   heal whether or not she had intercourse.               4   literature and look at explant data.
        5       Q. It would have made it harder had she had        5       Q. Well, did you see that in her testimony?
        6   continued sexual activity. True?                       6       A. Yes.
        7       A. There is no data on that.                       7       Q. Okay. And, so, you would -- she said
        8       Q. Okay. So, you're disagreeing with               8   that the mesh doesn't contract. It's the scar that
        9   Dr. Jones on that?                                     9   brings the mesh together. You disagree with that?
       10       A. There is no data on that.                      10       A. The outcome is the same, that the mesh
       11       Q. Okay. Well, I'm just saying. So,               11   is narrower and more tense.
       12   Dr. Jones testified to that. Do you disagree?         12       Q. So, the question was at Dr. Jones'
       13       A. There is no data on that.                      13   deposition page 35:
       14       Q. Okay. So, I take that's a no. If she           14           "Do you know whether or not the
       15   says --                                               15        mesh shrinks or contracts after it's
       16       A. I didn't say yes or no. I said there is        16        implanted?"
       17   no data on it. So, it's hard to give an answer if     17           And then she says:
       18   there's no data.                                      18           "So, with any surgery there is
       19       Q. All right. So, you'll agree that there         19        scar tissue, et cetera."
       20   is no data. But as a doctor who has been in the       20           Then she says, "Now, does the
       21   field for 30 years, do you think that continued       21        actually physical size of the mesh
       22   sexual activity when you have that incision that's    22        shrink? No."
       23   separated is not going to help the incision heal?     23           Do you agree with her?
       24   True?                                                 24       A. No.
                                                     Page 287                                                       Page 289
        1       A. No, when you have a mesh exposure.              1      Q. Okay. You believe that she's wrong in
        2       Q. And an incision that's separated?               2   that?
        3       A. That's the mesh exposure.                       3      A. Correct.
        4       Q. Okay. Now, you stated, as I understood          4      Q. Okay. And in not knowing the same
        5   your testimony to Mr. Persons, that the Advantage      5   answer that you have about mesh contraction, is she
        6   Fit was a minimum contributor to the dyspareunia;      6   providing her patients with a deficient standard of
        7   and that's the only injury that you link to the        7   care in treatment?
        8   Advantage Fit. True?                                   8      A. Well, it's -- unfortunately, the --
        9       A. Correct.                                        9      MR. HABERMAN: The thing is you don't tell the
       10       Q. Okay. And the dyspareunia is the               10   doctor that, so she doesn't know.
       11   painful sex, right?                                   11      MR. CONNOLLY: Are you testifying,
       12       A. Correct.                                       12   Mr. Haberman?
       13       Q. And what is the evidence that the              13   BY THE WITNESS:
       14   Advantage Fit, the specific evidence that the         14      A. No. He --
       15   Advantage Fit had any connection to the painful sex   15      MR. HABERMAN: It's been a long day.
       16   that Ms. Bayless complained of?                       16   BY THE WITNESS:
       17       A. That would be based on my general              17      A. That's in my general causation report.
       18   causation report.                                     18   So, it's a well-known answer that I've given
       19       Q. Okay. So it's just the general overall         19   before.
       20   mesh is bad for you view?                             20   BY MR. CONNOLLY:
       21       A. No, it's the chronic foreign body              21      Q. I understand, but you can supply it
       22   reaction, chronic inflammatory reaction, mesh         22   yourself without his kibitzing.
       23   deformation, degradation and contraction.             23      A. Okay. That it is very difficult if this
       24       Q. And you know that Dr. Jones specifically       24   information is not passed on to doctors for them to

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        1   pass it on to the patients. This is information             1   It's not six weeks after, right, because she's not
        2   that has been known about mesh by the manufacturers         2   having sex then, right?
        3   and has not been espoused to doctors.                       3       A. I'm glad we both agree that she didn't
        4       Q. Now, you said in your answers to some of             4   have sex within the first six weeks.
        5   Mr. Persons' questions that there was no healing            5       Q. No, but that's what you said.
        6   problem where the sling was placed. Do you                  6       A. Correct.
        7   remember that?                                              7       Q. Okay. She doesn't describe dyspareunia
        8       A. The incision, correct.                               8   at that time. She just says that she has problems
        9       Q. And, so, if there was no healing problem             9   with her orgasm, right?
       10   where the sling was placed, what evidence is there         10       A. That is what's in the medical record.
       11   that the sling was even a minimum contributor to           11       Q. Okay. So, when do you -- so, you don't
       12   the pain that she had with sex?                            12   have a specific time frame in which you believe the
       13       A. Okay. So, when I said that there was                13   painful sex started being -- that she presented
       14   no -- the incision from the sling healed. That was         14   with painful sex that's related to either of the
       15   what that statement meant. I'm sorry if you had            15   mesh implants?
       16   any confusion that that was just based on the              16       A. That would be based on her deposition
       17   September 28, 2013 office visit.                           17   testimony.
       18           So, the mesh is going to continue to               18       Q. But right now as you sit here you don't
       19   undergo contraction, deformation and degradation,          19   have a specific date?
       20   which traps nerves and leads to pain.                      20       A. That would be based on her deposition
       21       Q. By what point in time did -- at what                21   testimony.
       22   point in time and in which medical record did              22       Q. Now, you indicated that contraction was
       23   Plaintiff complain of painful sex that you                 23   evidenced by the June 11, 2015 medical record with
       24   attribute to the Advantage Fit even as a minimum           24   the arrhythmia, right?
                                                          Page 291                                                   Page 293
        1   contributor?                                                1      A.    With the arrhythmia?
        2       A. That would be based on her deposition                2      Q.    Yeah.
        3   testimony.                                                  3      A.    The erythema.
        4       Q. And I mean what visit? Because, as you               4      Q.    Excuse me. Erythema.
        5   know, she complains about painful sex before she            5           You said that that was an indication of
        6   ever has the surgery.                                       6   contraction in response to some questions that
        7       A. That was due to her -- the penis hitting             7   Mr. Persons asked, correct?
        8   the cervix.                                                 8      A. The chronic foreign body reaction,
        9       Q. Okay.                                                9   chronic inflammatory reaction that leads to
       10       A. That was treated with her hysterectomy.             10   scar-plating and mesh contraction, yes.
       11       Q. And, so, when -- the question that I'm              11      Q. I understood that you were specifically
       12   asking you is when does the -- when does the part          12   saying contraction. Right? Wrong?
       13   of the painful sex that -- when does -- sorry. I           13      A. That that was the process that we used
       14   was just looking at the time I had left.                   14   to contraction, correct.
       15          When is -- when do you say that the                 15      Q. And the erythema that's reflected in
       16   Advantage Fit begins to cause her, even as a               16   that exhibit is at the site of the surgical tack,
       17   minimal contributor, painful sex?                          17   right?
       18       A. That's based on Ms. Bayless' deposition             18      A. Correct.
       19   testimony.                                                 19      Q. And the surgical tack, as I understood
       20       Q. Yeah. But when?                                     20   your testimony, is located in the area where the
       21       A. When she stated that her dyspareunia                21   Restorelle Y was, right?
       22   started post-op. I don't recall the specific               22      A. More likely than not, yes. But, again,
       23   answer she gave.                                           23   that is not a question that has been asked of the
       24       Q. Okay. So, it's not in the first visit.              24   provider either on that visit, I think that was

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                                                       Page 294                                                    Page 296
        1   Dr. Garcia, or the prior examiner where exactly          1   some additional material that she presents to the
        2   that was found, whether it was at the apex, the          2   patient which was attached to one of the consent
        3   upper anterior, upper posterior wall or on the           3   forms, she actually shows the patient the material
        4   anterior wall 2 centimeters in from the introitus.       4   that she plans to implant, right?
        5       Q. So, you would agree with me, Doctor,              5      A. Yes.
        6   that more likely than not that erythema is related       6      Q. And that's more likely than not the
        7   to the Restorelle Y and not the Advantage Fit,           7   document that is referred to in that consent
        8   right?                                                   8   document, right?
        9       A. Well, that same process would be going            9      A. That's a possibility, but I think she
       10   on with the Advantage Fit. The Advantage Fit is         10   also stated that she gave out brochures.
       11   smaller pore, heavier weight than the Restorelle,       11      Q. Right. Sure. She shows them brochures
       12   so it's more likely than not undergoing a chronic       12   and presents them the actual implanting device that
       13   foreign body reaction, chronic inflammatory             13   she plans to implant, right?
       14   reaction.                                               14      A. I have a general recollection of that,
       15       Q. But no doctor, no doctor has examined            15   correct.
       16   and found any swelling of any type in relation to       16      Q. And it's unambiguous that she warns the
       17   the Advantage Fit, have they?                           17   patient that there is a possibility of erosion,
       18       A. Well, we don't know where the -- exactly         18   right?
       19   where Dr. Garcia and Dr. Magness, I think it was,       19      A. Correct.
       20   the prior doctor, where they found the erosion.         20      Q. It is unambiguous that she tells the
       21       Q. Well, and the patient doesn't describe           21   patient that the implants are permanent, right?
       22   any difficulty with urination. In fact, she's           22      MR. HABERMAN: Objection.
       23   quite satisfied with the sling surgery, right?          23   BY THE WITNESS:
       24       A. Correct.                                         24      A. To the best of my recollection.
                                                         Page 295                                            Page 297
        1      Q. Okay. So, there's no indication by the             1      MR. HABERMAN: By my stopwatch, your time is
        2   patient or by any doctor that there has been any         2   up.
        3   adverse effect by the sling. True?                       3       MR. CONNOLLY: If you give me two minutes, I
        4      A. The dyspareunia.                                   4   will be done on my own. Is that all right?
        5      Q. The dyspareunia. But the dyspareunia               5       MR. HABERMAN: That's fine.
        6   you say is related to the general causation report.      6       MR. CONNOLLY: Okay.
        7   There is no specific medical record or testimony         7   BY MR. CONNOLLY:
        8   that links the dyspareunia to the Advantage Fit.         8       Q. I didn't hear the answer to the last
        9   True?                                                    9   question. Maybe I was just -- go ahead.
       10      A. Not that I specifically recall from the           10       A. Can you repeat the question again?
       11   medical records.                                        11       MR. CONNOLLY: Madam Court Reporter.
       12      Q. Okay. So, just a quick couple of                  12              (WHEREUPON, the record was read
       13   questions here on Dr. Jones.                            13               by the reporter as requested as
       14           We went through a number of her                 14               follows: Q. It is unambiguous
       15   exhibits, and she provides a very extensive             15               that she tells the patient that the
       16   category of consent, doesn't she?                       16               implants are permanent, right?
       17      A. Yes.                                              17                   A. To the best of my
       18      Q. Okay. And, in fact, the one -- she goes           18               recollection.)
       19   through consent documents, and Mr. Persons marked       19   BY MR. CONNOLLY:
       20   them all, relative to each one of the procedures,       20       Q. And she fully informs the patient of the
       21   right?                                                  21   risks of the surgery other than what's in your
       22      A. Yes.                                              22   general causation report. True?
       23      Q. And, in fact, you'll recall from her              23       A. She informs the patient of the risks
       24   deposition testimony that when she talked about         24   that we saw in the consent forms.

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                                           Bruce Rosenzweig, M.D.
                                                      Page 298                                                      Page 300
        1      Q. Okay. And you know that Dr. Jones has            1   you?
        2   been performing these procedures for many years,       2        MR. HABERMAN: Objection.
        3   right?                                                 3   BY THE WITNESS:
        4      A. That's what she stated.                          4        A. Yes.
        5      Q. And she's testified as an expert, right?         5   BY MR. CONNOLLY:
        6      A. I think that was brought up in her               6        Q. Okay. So, would that be below the
        7   deposition.                                            7   standard of care for them not to inform a patient
        8      Q. Right. Or she's been hired as an                 8   of your particular views?
        9   expert, right?                                         9        MR. HABERMAN: Objection.
       10      A. I think that was brought up in her              10   BY THE WITNESS:
       11   deposition.                                           11        A. Again, if they are not informed about
       12      Q. And she's acted as a proctor for                12   it, they can't inform a patient about something
       13   companies, right?                                     13   they don't know about.
       14      A. I think that was brought up in her              14        MR. HABERMAN: All right. I think we have
       15   deposition.                                           15   gone above and beyond.
       16      Q. And so you don't specifically know that         16   BY MR. CONNOLLY:
       17   she is not aware of your views on degradation and     17        Q. You're aware that there are reasonable
       18   contraction, are you?                                 18   experts who don't agree with you on deformation --
       19      A. I think she stated that in her                  19   on your general causation reports, right?
       20   deposition.                                           20        MR. HABERMAN: Objection. This is a general
       21      Q. She stated what in her deposition, that         21   causation deposition which he's been deposed on
       22   she's unaware of your views?                          22   numerous times?
       23      A. Well, she's probably unaware of my              23        MR. CONNOLLY: I'm just asking just two
       24   views, but the fact that mesh contracts, degrades     24   questions and then I'm done.

                                                      Page 299                                                    Page 301
        1   and deforms.                                           1      MR. HABERMAN: This is your second two
        2      Q. The word "degrade" never came up in her          2   questions. You guys never let me go over my time.
        3   deposition.                                            3   BY THE WITNESS:
        4      A. Okay.                                            4      A. You're asking me if there are --
        5      Q. The word "deformed" didn't either.               5   BY MR. CONNOLLY:
        6           The only word that came up was                 6      Q. There are credentialed experts who don't
        7   "contract" and she said it didn't, and we've talked    7   agree with your general causation reports?
        8   about that?                                            8      MR. HABERMAN: Objection.
        9      A. Right, but that doesn't mean that she            9   BY THE WITNESS:
       10   knows about degradation and deformation.              10      A. The simple answer would be more likely
       11      Q. But you don't know that she doesn't             11   than not, yes.
       12   know, do you?                                         12      MR. CONNOLLY: Okay. That's it. I did it in
       13      A. That, as you say, wasn't asked at her           13   one.
       14   deposition.                                           14      MR. HABERMAN: I have some follow-up
       15      Q. So, she may be aware of your views and          15   questions, Doctor.
       16   just feels that they are unimportant as far as        16      THE WITNESS: Okay.
       17   getting a consent from a patient to share your        17                EXAMINATION
       18   specific views about degradation and deformation,     18   BY MR. HABERMAN:
       19   right?                                                19      Q. The opinions that you expressed in your
       20      A. That would be speculation.                      20   report and the opinions that you expressed here
       21      Q. Okay. But you're not saying that a              21   today, are those held within a reasonable degree of
       22   doctor, in order to get meaningful consent from a     22   medical probability?
       23   patient, has to inform them, quote, "your specific    23      A. Yes.
       24   views" relative to degradation and deformation, are   24      Q. And scientific certainty?

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                                             Bruce Rosenzweig, M.D.
                                                            Page 302                                                  Page 304
        1      A. Yes.                                                  1      MR. HABERMAN: Dr. Rosenzweig will read.
        2      Q. Can you describe what you did, what                   2          (Time Noted: 3:58 p.m.)
        3   methodology you employed to reach the opinions that         3        FURTHER DEPONENT SAITH NAUGHT.
        4   you have in this case?                                      4
        5      A. Well, I used my clinical experience. I                5
        6   used the medical literature. I used the internal            6
        7   documents from the company and the deposition               7
        8   testimony.                                                  8
        9           The differential diagnosis that I did is            9
       10   the same differential diagnosis that I do for              10
       11   patients that I treat.                                     11
       12           I consider their medical history, their            12
       13   physical findings, this would be based on their            13
       14   medical records and their testimony that was given,        14
       15   to arrive at the more likely causes of the                 15
       16   complaints that they have and then rule out the            16
       17   other causes to come up with the most likely cause.        17
       18           Again, there is no absolute test that              18
       19   can be done to prove or disprove complaints of pain        19
       20   and painful intercourse, but one can use the things        20
       21   that I've been discussing today to make the                21
       22   etiology that's the most likely.                           22
       23      Q. And in this case, can you tell us what               23
       24   etiology is the most likely cause of the symptoms          24

                                                         Page 303                                                     Page 305
        1   that Ms. Bayless alleges in her Complaint?                  1
                                                                                I, CORINNE T. MARUT, C.S.R. No. 84-1968,
        2      A. The characteristics of the mesh that                  2   Registered Professional Reporter and Certified
        3   makes it unreasonably dangerous.                                Shorthand Reporter, do hereby certify:
                                                                        3           That previous to the commencement of the
        4      Q. Okay. And I think this afternoon we                       examination of the witness, the witness was duly
        5   spent a long time considering alternative causes of
                                                                        4   sworn to testify the whole truth concerning the
                                                                            matters herein;
        6   those symptoms, did we not, Doctor?                         5           That the foregoing deposition transcript
                                                                            was reported stenographically by me, was thereafter
        7      A. Yes.                                                  6   reduced to typewriting under my personal direction
        8      Q. And do you feel like you explained why                    and constitutes a true record of the testimony
                                                                        7   given and the proceedings had;
        9   those alternative causes were not the most likely                       That the said deposition was taken
                                                                        8   before me at the time and place specified;
       10   cause of the symptoms that Ms. Bayless complains of                     That the reading and signing by the
       11   in her Complaint?                                           9   witness of the deposition transcript was agreed
                                                                            upon as stated herein;
       12      MR. CONNOLLY: Leading.                                  10           That I am not a relative or employee or
       13   BY THE WITNESS:                                                 attorney or counsel, nor a relative or employee of
                                                                       11   such attorney or counsel for any of the parties
       14      A. Yes.                                                      hereto, nor interested directly or indirectly in
                                                                       12   the outcome of this action.
       15      MR. CONNOLLY: Leading question. But go                  13
       16   ahead.                                                                __________________________________
                                                                       14         CORINNE T. MARUT, Certified Reporter
       17   BY MR. HABERMAN:                                           15
                                                                                     (The foregoing certification of this
       18      Q. Were there any alternative causes that               16   transcript does not apply to any
       19   you feel were not discussed by Mr. Persons earlier              reproduction of the same by any means, unless under
                                                                       17   the direct control and/or supervision of the
       20   today?                                                          certifying reporter.)
                                                                       18
       21      A. No.                                                  19
       22      MR. HABERMAN: Okay. That's all I have.                  20
                                                                       21
       23   Thank you.                                                 22
                                                                       23
       24      MR. PERSONS: Okay.                                      24

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                                          Bruce Rosenzweig, M.D.
                                                      Page 306                                                           Page 308
        1           INSTRUCTIONS TO WITNESS                        1
        2                                                          2          ACKNOWLEDGMENT OF DEPONENT
        3            Please read your deposition over              3
        4   carefully and make any necessary corrections. You      4          I, BRUCE ROSENZWEIG, M.D., do hereby
                                                                   5 certify under oath that I have read the foregoing
        5   should state the reason in the appropriate space on
                                                                   6 pages, and that the same is a correct transcription
        6   the errata sheet for any corrections that are made.
                                                                   7 of the answers given by me to the questions therein
        7            After doing so, please sign the errata        8 propounded, except for the corrections or changes
        8   sheet and date it.                                     9 in form or substance, if any, noted in the attached
        9            You are signing same subject to the          10 Errata Sheet.
       10   changes you have noted on the errata sheet, which     11
       11   will be attached to your deposition.                  12
       12            It is imperative that you return the         13      _______________________________________
       13   original errata sheet to the deposing attorney        14      BRUCE ROSENZWEIG, M.D.          DATE
       14   within thirty (30) days of receipt of the             15
       15   deposition transcript by you. If you fail to do       16
                                                                  17 Subscribed and sworn
       16   so, the deposition transcript may be deemed to be
                                                                     to before me this
       17   accurate and may be used in court.
                                                                  18 _____ day of ______________, 20____.
       18
                                                                  19 My commission expires:______________
       19
                                                                  20
       20
                                                                       ____________________________________ Notary Public
       21
                                                                  21
       22                                                         22
       23                                                         23
       24                                                         24

                                                      Page 307                                                           Page 309
        1             - - - - - -                                  1            LAWYER'S NOTES
                       ERRATA                                      2   PAGE LINE
        2             - - - - - -                                  3   ____ ____ ____________________________
        3                                                          4   ____ ____ ____________________________
        4   PAGE LINE CHANGE                                       5   ____ ____ ____________________________
        5   ____ ____ ____________________________                 6   ____ ____ ____________________________
        6         REASON: ____________________________             7   ____ ____ ____________________________
        7   ____ ____ ____________________________                 8   ____ ____ ____________________________
        8         REASON: ____________________________             9   ____ ____ ____________________________
        9   ____ ____ ____________________________                10   ____ ____ ____________________________
       10         REASON: ____________________________            11   ____ ____ ____________________________
       11   ____ ____ ____________________________                12   ____ ____ ____________________________
       12         REASON: ____________________________
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                                                                  20   ____ ____ ____________________________
       20         REASON: ____________________________
       21   ____ ____ ____________________________                21   ____ ____ ____________________________
       22         REASON: ____________________________            22   ____ ____ ____________________________
       23   ____ ____ ____________________________                23   ____ ____ ____________________________
       24         REASON: ____________________________            24   ____ ____ ____________________________

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